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· · · · · · · · · UNITED STATES DISTRICT COURT

· · · · · · · · · MIDDLE DISTRICT OF LOUISIANA

·

· · ·DR. DOROTHY NAIRNE, ET AL.,

· · · · · · · ·Plaintiffs,

· · ·v.· · · · · · · · · · · · · · CIVIL ACTION NO.
· · · · · · · · · · · · · · · · · ·3:22-cv-00178 SDD-SDJ
· · ·R. KYLE ARDOIN, in his
· · ·official capacity as
· · ·Secretary of State of
· · ·Louisiana,
·
· · · · · · · ·Defendant.
·

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· · · · · · · ·TRANSCRIPT OF THE 30(B)(6) DEPOSITION

· · · · · · · · · · · BY VIDEOCONFERENCE OF:

· · · · · · · · · ·LOUISIANA SECRETARY OF STATE

· · · · · · · · · · · · · BY AND THROUGH:

· · · · · · · · · · · SHERRI WHARTON HADSKEY

· · ·TAKEN ON BEHALF OF PLAINTIFFS, REPORTED IN THE ABOVE

· · ·ENTITLED AND NUMBERED CAUSE BY YOLANDA J. PENA,

· · ·CERTIFIED COURT REPORTER FOR THE STATE OF LOUISIANA.

· · ·* * * * * * * * * * * * * * * * * * * * * * * * * * *

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· · · · ·COMMENCING AT 9:09 A.M. CST, ON AUGUST 19, 2023


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·1· · · · · · · · · · ·A P P E A R A N C E S

·2

·3· ·FOR THE PLAINTIFFS:

·4· · · ·T. ALORA THOMAS-LUNDBORG, ESQ.
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· · · · ·New Orleans, LA 70119
23· · · ·jnadcock@gmail.com

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·2

·3· ·FOR LOUISIANA SECRETARY OF STATE:

·4· · · ·PHILLIP STRACH, ESQ.
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11
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12· ·PATRICK PAGE CORTEZ AND SPEAKER CLAY SCHEXNAYDER,
· · ·IN THEIR OFFICIAL CAPACITIES:
13
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16

17· ·ALSO PRESENT:

18· · · ·JEFFREY WALE, ESQ.
· · · · ·Office of Attorney General Jeff Landry
19
· · · · ·JENNIFER BOLLINGER, ESQ.
20· · · ·Louisiana Secretary of State

21· · · ·MOLLY GARYANTES

22
· · ·REPORTED BY:
23
· · · · ·YOLANDA J. PENA
24· · · ·CCR NO. 2017002, RPR
· · · · ·STATE OF LOUISIANA
25


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·1· · · · · · · · · · ·S T I P U L A T I O N
·2
·3· · · · · · ·IT IS STIPULATED AND AGREED by and among the
·4· ·parties that this deposition is hereby being taken
·5· ·pursuant to the Federal Rules of Civil Procedure.
·6· · · · · · ·All formalities, excluding the reading and
·7· ·signing of the transcript by the witness, are hereby
·8· ·waived.
·9· · · · · · ·All objections, except as to the form of the
10· ·question and responsiveness of the answer, are
11· ·considered reserved until trial or other use of the
12· ·deposition.
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·1· · · · · · · · · · SHERRI WHARTON HADSKEY,
·2· ·having been first duly sworn, was examined and
·3· ·testified as follows:
·4· · · · · · · · · · · · ·EXAMINATION
·5· ·BY MS. THOMAS-LUNDBORG:
·6· · · · Q.· ·Good morning, Ms. Hadskey.· Could you please
·7· ·state your full name for the record?
·8· · · · A.· ·Sure.· Sherri Wharton Hadskey.
·9· · · · Q.· ·And your address, please.· It could be your
10· ·business address.
11· · · · A.· ·8585 Archives Avenue, Suite 110, Baton Rouge,
12· ·Louisiana 70809.
13· · · · Q.· ·And you understand that today you're under
14· ·oath, correct?
15· · · · A.· ·Yes.
16· · · · Q.· ·And that's the same oath that you would take
17· ·in a court of law if you were doing this in person,
18· ·correct?
19· · · · A.· ·Correct.
20· · · · Q.· ·My name is Alora Thomas.· I work at the
21· ·Election Law Clinic at Harvard Law School.· I'm one of
22· ·the attorneys for the plaintiff in the case Nairne v.
23· ·Ardoin.· Thank you for taking time to talk with me
24· ·today.· I'm going to ask you some preliminary
25· ·questions.


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·1· · · · · · ·Have you ever been deposed before?
·2· · · · A.· ·No.· This is my first time.
·3· · · · Q.· ·So I'm going to go through a few ground rules
·4· ·for depositions.· So we talked about this a little bit
·5· ·before we got on the record, but so that the record is
·6· ·clear, it's really important for us not to talk over
·7· ·one another.· So please let me finish my questions, and
·8· ·I will let you finish your answers.· Okay?
·9· · · · A.· ·Okay.
10· · · · Q.· ·If you don't hear a question or you don't hear
11· ·all of the question, you may ask me to repeat it.
12· · · · · · ·Do you understand that?
13· · · · A.· ·Yes.
14· · · · Q.· ·If you don't understand a question, you hear
15· ·it but it's not clear to you what I mean, you can
16· ·always ask me to rephrase the question and make it
17· ·clear that you did not understand the question that I
18· ·asked.
19· · · · A.· ·Okay.
20· · · · Q.· ·We will be taking periodic breaks throughout
21· ·the day.· If you need a break, just let me know.· I may
22· ·ask for us not to take a break when a question is
23· ·pending, and if I'm near an end of a section, I may ask
24· ·you to wait.· You can always let us know if you need to
25· ·take a break.


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·1· · · · A.· ·Okay.
·2· · · · Q.· ·If you need a break to consult with counsel
·3· ·regarding disclosure of privileged information, please
·4· ·state that on the record, and then we can allow a break
·5· ·for that consultation.
·6· · · · · · ·Do you understand that?
·7· · · · A.· ·Yes.
·8· · · · Q.· ·Okay.· Your counsel or other counsel on the
·9· ·line may object to a certain question that I ask you
10· ·today.· Unless your counsel instructs you not to answer
11· ·the question, you still answer the question after the
12· ·objection.
13· · · · A.· ·Okay.
14· · · · Q.· ·Is there anything -- we talked a little bit
15· ·about you being under oath.· Is there anything that
16· ·would prevent you from answering my questions honestly
17· ·and accurately today?
18· · · · A.· ·No, ma'am.
19· · · · Q.· ·Are you taking any medication that might
20· ·impede your ability to answer my questions truthfully?
21· · · · A.· ·No.
22· · · · Q.· ·So I'm first going to go over some terms of
23· ·art with you that I'll be using throughout the
24· ·deposition.· And again, if I use one of these terms and
25· ·it's unclear to you what I mean, you can always ask me.


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·1· · · · · · ·But throughout the deposition, I'm going to be
·2· ·using the term "special election."· When I refer to
·3· ·"special election," I'm referring to an election that
·4· ·occurs when there's a vacancy in elected office that
·5· ·needs to be filled outside of the regular election
·6· ·schedule.
·7· · · · A.· ·Okay.
·8· · · · Q.· ·I will also be using the term "regular
·9· ·election," and by that, I'm primarily meaning elections
10· ·that occur on the election schedule and in the case of
11· ·the Louisiana State House and Louisiana State
12· ·Legislature, those elections that occur every four
13· ·years.· Do you understand that?
14· · · · A.· ·Yes.
15· · · · Q.· ·Okay.· I may sometimes just refer to
16· ·"the House" or "House election."· If I do that, unless
17· ·I specify otherwise, I'm referring to the Louisiana
18· ·State House election.· Okay?
19· · · · A.· ·The Louisiana State House of Representative
20· ·elections?
21· · · · Q.· ·Exactly.
22· · · · A.· ·Okay.· Okay.
23· · · · Q.· ·I may also refer to "the Senate."· When I
24· ·refer to "the Senate," unless I specify otherwise, I'm
25· ·referring to the Louisiana Senate?


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·1· · · · A.· ·Okay.
·2· · · · Q.· ·And then in contrast, I may sometimes refer
·3· ·to "congressional elections."· When I refer to
·4· ·"congressional elections," I'm referring to the U.S.
·5· ·House of Representatives elections.
·6· · · · A.· ·Okay.
·7· · · · Q.· ·And at any point if it's confusing which type
·8· ·of election I'm referring to and it's important to your
·9· ·answer, please let me know, and we can make sure the
10· ·record is clear.
11· · · · A.· ·Okay.
12· · · ·(Exhibit No. 1 was marked for identification.)
13· ·BY MS. THOMAS-LUNDBORG:
14· · · · Q.· ·I'm going to -- I've already premarked what
15· ·has been premarked as Exhibit 1.· It is the 30(b)(6)
16· ·notice.· So if we could, pull that up.· And it should
17· ·be a marked exhibit folder.
18· · · · A.· ·It's loading.· I'm sorry.· Okay.· It's up.
19· ·Okay.
20· · · · Q.· ·All right.· You can take a minute to scroll
21· ·through this document.
22· · · · A.· ·Okay.· Okay.
23· · · · Q.· ·Do you recognize this document?
24· · · · A.· ·I do.
25· · · · Q.· ·And if we look at the first page of this


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·1· ·document, what is this document titled?
·2· · · · A.· ·"Notice of Deposition Under Fed. R. Civ. P.
·3· ·30(b)(6)."
·4· · · · Q.· ·Correct.· Thank you.
·5· · · · A.· ·You're welcome.
·6· · · · Q.· ·And do you know what a 30(b)(6) deposition is?
·7· · · · A.· ·No, I do not.
·8· · · · Q.· ·A 30(b)(6) deposition is a deposition on
·9· ·behalf of the entity represented in the notice.· In
10· ·this case, it is the Secretary of State's office.
11· · · · · · ·Do you understand that?
12· · · · A.· ·I do.
13· · · · Q.· ·And does that comport with what you thought
14· ·today's deposition was going to be?
15· · · · A.· ·Yes, it does.
16· · · · Q.· ·And what was your understanding of what was
17· ·required for today's deposition?
18· · · · A.· ·For me to answer the questions that are in
19· ·this notice to the best of my knowledge and to -- well,
20· ·yeah, that's it.· Just to answer to the best of my
21· ·knowledge.
22· · · · Q.· ·Did you do anything to prepare for today's
23· ·deposition?
24· · · · A.· ·Yes.· I reviewed election dates, and I
25· ·reviewed the election schedules and things like that.


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·1· · · · Q.· ·Did you review any other documents?
·2· · · · A.· ·The election schedules.· And then I -- a few
·3· ·of our timelines for calendar years of election cycles
·4· ·and what we have during those times during the election
·5· ·cycle and then between the election cycles.
·6· · · · Q.· ·And did you review any documents other than
·7· ·this notice that's been provided to you by counsel?
·8· · · · A.· ·No.
·9· · · · Q.· ·Do you have any documents in the room with you
10· ·today that you intend to reference?
11· · · · A.· ·No, I do not.
12· · · · Q.· ·And I think we saw that Mr. Strach is in the
13· ·room with you.· Is there anyone else in the room with
14· ·you-all today?
15· · · · A.· ·Yes.· So John Walsh and Jennifer Bollinger.
16· ·Do you need me to spell her last name?
17· · · · Q.· ·I would assume the court reporter might want
18· ·that.
19· · · · A.· ·It's B-o-l-l-i-n-g-e-r.
20· · · · Q.· ·And I believe Mr. Walsh is counsel.· Is
21· ·Ms. Bollinger also counsel in the case?
22· · · · A.· ·She's executive counsel for the Secretary of
23· ·State.
24· · · · Q.· ·Is anyone else in the room?
25· · · · A.· ·No, ma'am.


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·1· · · · Q.· ·Did you meet with anyone to prepare for
·2· ·today's deposition?
·3· · · · A.· ·I spoke with my administrative managers over
·4· ·the business and service area of elections and the
·5· ·operations area of elections.
·6· · · · Q.· ·I may ask you some more questions about that
·7· ·later.· And if I --
·8· · · · A.· ·Sure.
·9· · · · Q.· ·-- get the designation wrong, you can always
10· ·correct me.
11· · · · · · ·Did you meet with anyone else to prepare for
12· ·today's deposition?
13· · · · A.· ·No.
14· · · · Q.· ·Did you have any meetings with counsel?
15· · · · A.· ·Yes.
16· · · · Q.· ·And how many meetings did you have?· Don't
17· ·tell me --
18· · · · A.· ·Two.
19· · · · Q.· ·-- what you said.· I just want to know kind of
20· ·when, how long.
21· · · · A.· ·Okay.· Two meetings.· One was -- I'd have to
22· ·get you the exact date, but it was a week ago, and one
23· ·yesterday.· And the one that was a week ago was
24· ·approximately three hours, and the one that was
25· ·yesterday was approximately three hours.


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·1· · · · Q.· ·And the meetings that you had with folks in
·2· ·your office, the manager of business services and
·3· ·operations, how long were those meetings?
·4· · · · A.· ·The business service meeting was two hours,
·5· ·approximately.· And the operations meeting was an hour.
·6· · · · Q.· ·Was counsel present at those meetings?
·7· · · · A.· ·No.
·8· · · · Q.· ·What did you discuss at the administrative
·9· ·business -- what is the title of that group?
10· · · · A.· ·It's Business and Services.
11· · · · Q.· ·Okay.· What was the discussed at the Business
12· ·and Services meeting?
13· · · · A.· ·So I understand their procedures and how the
14· ·operation works as far as implementing redistricting
15· ·plans.· What I did not know was the time frames that
16· ·included -- so there's different portions of entering
17· ·redistricting information, and there's a portion where
18· ·you are creating spreadsheets, you are proofing
19· ·spreadsheets.· Then you're getting changes and proofing
20· ·more spreadsheets, and then there's the part where you
21· ·actually are physically doing the implementation; and I
22· ·needed the time frame that it took for both.
23· · · · Q.· ·I think we'll discuss that some more later.
24· ·That's very helpful.
25· · · · · · ·What did you discuss with the operations


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·1· ·folks?
·2· · · · A.· ·We looked at the ballot building process,
·3· ·especially for UOCAVA.· I -- for -- prior to 2017 --
·4· ·I'm the -- I've been the commissioner of elections
·5· ·since 2017.· But prior to 2017, I was the elections
·6· ·operations manager.· And it's been a while since I've
·7· ·had my hands in the actual -- in the weeds of the
·8· ·process, so I needed them to tell me what had changed
·9· ·or been effected, if there was anything to make a
10· ·difference in my testimony today, because I would have
11· ·been basing it off of my information from five years
12· ·ago rather than the information currently at hand.
13· · · · Q.· ·Thank you.· We will also get back to the
14· ·question of ballot, ballot design, timelines, but I'd
15· ·like to move to something that you just touched on,
16· ·which is your background.· So if we could start your
17· ·educational background.
18· · · · · · ·What is your educational background?
19· · · · A.· ·I went to Louisiana State University, and I
20· ·studied special education.· And while I was studying
21· ·special education, I took a student job at the
22· ·Department of Elections.· At that time, the Department
23· ·of Elections was a separate entity than the Louisiana
24· ·Secretary of State.· It was two separate offices.
25· · · · · · ·And the elections division was in charge of


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·1· ·all of the machines and the tabulation and the early
·2· ·voting tabulation, et cetera.· And the Secretary of
·3· ·State's office was in charge of the ballot building and
·4· ·assembling of the ballots to provide to the elections
·5· ·division that did the balloting.
·6· · · · Q.· ·And when -- do you recall when those two
·7· ·things were joined?
·8· · · · A.· ·Yes.· In the year 2002, we began the process
·9· ·of merging those offices into one office.· So they did
10· ·away with the elections commissioner as an elected
11· ·official.· It used to be the elections commissioner
12· ·was elected and the secretary of state was elected.
13· ·They merged the offices together, and the elections
14· ·commissioner became appointed by the secretary of
15· ·state.· And that merger took approximately a year to
16· ·complete.
17· · · · Q.· ·Just going back to your background, you said
18· ·that you started as a student working in the elections
19· ·office.· Can you just walk through, then, your
20· ·progression in your -- to your current position?
21· · · · A.· ·Sure.· So when I was a student worker, I
22· ·wanted to learn as much as I could about the job, so as
23· ·a student, I worked in answering the phones, doing the
24· ·mail, things like that.· Then I went into elections
25· ·purchasing, and I worked as a student for the


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·1· ·administrator there.
·2· · · · · · ·I worked in elections registration for a
·3· ·period of time, worked for the administrator there.                  I
·4· ·worked in elections accounting for a span of time and
·5· ·learned about elections accounting.· And then my title
·6· ·changed from student to part-time employee because I
·7· ·was still in school.· And when I became a part-time
·8· ·employee, I went to work in elections balloting and
·9· ·worked in that area for a while.
10· · · · · · ·And once the departments merged, I became the
11· ·elections director over balloting, absentee balloting.
12· ·And at that point in time, the state was migrating over
13· ·to electronic voting machines.· The electronic voting
14· ·machines first came into the state in 1991, but it took
15· ·until 2005 until every single parish -- 2006, I'm
16· ·sorry -- until every single parish in the state had
17· ·migrated over to an electronic voting machine rather
18· ·than the lever machines.· And that process was
19· ·finalized in 2006 -- middle of 2006, and I remained the
20· ·elections director at that time until approximately
21· ·2008 or 2009.
22· · · · · · ·At that point, the secretary of state, who was
23· ·Fox McKeithen, he assigned me to be over elections
24· ·operations and elections field operations, so
25· ·programming of all of the voting systems and


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·1· ·administering the elections in the parishes, training
·2· ·the parish board members and the registrars and the
·3· ·clerks, the movement of the voting machines, the
·4· ·storage of the voting machines, that type of work.
·5· ·And I remained in that position until 2017 when I
·6· ·became commissioner of elections.
·7· · · · Q.· ·Thank you.· Very helpful.
·8· · · · A.· ·Sure.
·9· · · · Q.· ·So your current position is as commissioner of
10· ·elections.· Does this position have a term?
11· · · · A.· ·I know I have to be -- if a new secretary of
12· ·state comes in, they have to reappoint me, if they so
13· ·choose.· And then I go through a confirmation hearing
14· ·with the Senate in order to be confirmed for the
15· ·position.
16· · · · Q.· ·And if the secretary of state stays the same,
17· ·then you would be able to stay on in your position?
18· · · · A.· ·That's correct, if he -- if he chooses.
19· · · · Q.· ·Okay.
20· · · · A.· ·Or she.· I'm sorry.
21· · · · Q.· ·Would it be necessary for you to go through
22· ·the Senate confirmation process again?
23· · · · A.· ·No.
24· · · · Q.· ·So if you could now tell us, what are the
25· ·responsibilities of the commissioner of elections?


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·1· · · · A.· ·So as commissioner of elections with the
·2· ·State, what I told you before when I was managing with
·3· ·elections operations and field operations, that end of
·4· ·it is all about the physical aspects of the election,
·5· ·election day, early voting, the conduct of the
·6· ·election, that type of thing.
·7· · · · · · ·As commissioner of elections, I gained the
·8· ·ballot -- I'm sorry, I gained the business and service
·9· ·area as well.· The business and service area is the
10· ·group that does more of the qualifying for the
11· ·elections, redistricting for the elections, a lot of
12· ·the legal matters.· They manage the hotline for calls
13· ·that come in with people questioning their
14· ·registration.· Registration actually falls in that
15· ·area as well.
16· · · · · · ·And then, of course, I offer my input to
17· ·executive on all elections matters.· It also involves
18· ·the warehouse and drainage contracts, management of
19· ·that.· And then, of course, the State of Louisiana
20· ·currently is looking at a new voting system.· So
21· ·advising the secretary on matters with the RFP process
22· ·and the search for a new voting system for the State of
23· ·Louisiana overall.
24· · · · · · ·We also have an outreach division, and that
25· ·outreach division conducts private elections around the


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·1· ·state to educate voters and to work with not only
·2· ·elementary and secondary education elections, but also
·3· ·unions, et cetera, to try and get as many people to get
·4· ·hands on with the equipment and the elections process,
·5· ·encouraging people to vote.
·6· · · · · · ·Now, one of the divisions that was under the
·7· ·previous commissioner that is no longer under me is the
·8· ·Elections Compliance Unit.· Our Elections Compliance
·9· ·Unit falls under executive now.· It doesn't fall under
10· ·my leadership.
11· · · · Q.· ·I think you used the term "executive" twice in
12· ·your answer.· By "executive," do you mean the secretary
13· ·of state, or are you referring to something else?
14· · · · A.· ·I'm referring to the secretary of state first
15· ·assistant and the chief financial officer for
16· ·management and finance and the secretary's confidential
17· ·assistant.
18· · · · Q.· ·And then --
19· · · · A.· ·And I also work -- I'm so sorry.
20· · · · Q.· ·Go ahead.
21· · · · A.· ·I also work with executive counsel.
22· · · · Q.· ·So you mean the lawyers for the secretary and
23· ·the other folks in the kind of executive wing of the
24· ·office?
25· · · · A.· ·Correct.


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·1· · · · Q.· ·And what is your relationship, generally, with
·2· ·the secretary and the other members of the executive?
·3· · · · A.· ·So the secretary of state ultimately makes the
·4· ·decisions that are brought to his attention that need
·5· ·to have an answer right away.· It needs to fall under
·6· ·what he would like to be done.· So, for example, if a
·7· ·parish is asking for a new early voting site, I would
·8· ·do all the research on, you know, how many voters are
·9· ·in the area, where they're looking for that, is it
10· ·close to another voting site, or is it way far away,
11· ·does it help the voters to be able to not have to drive
12· ·so far, et cetera, et cetera.
13· · · · · · ·So I would bring that information to him and
14· ·to the executive staff, and then based on that
15· ·information, they would ask me questions, but
16· ·ultimately, he would make the decision.· So that's a
17· ·good example of the relationship.
18· · · · Q.· ·And are there things -- what types of things
19· ·are in his purview where you need to get his signoff,
20· ·and what types of things do you have the ability to
21· ·sign off on on your own?
22· · · · A.· ·So I am able to -- if he designates me as his
23· ·representative, I am able to approve the elections
24· ·requests coming from the parishes, such as, if they
25· ·need deputies to work early voting, I'm able to approve


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·1· ·the work -- the pay that they're going to receive and
·2· ·the hours that they're going to work.
·3· · · · · · ·I am able to sign off on elections matters
·4· ·that are related to the number of commissioners
·5· ·somebody may want to have, decisions that are made by
·6· ·the locals that have to be approved that involve the
·7· ·actual function of the election.
·8· · · · · · ·And then we do a lot of printed materials,
·9· ·such as the ballot box and various guides and
10· ·informational pamphlet for the commissioners and things
11· ·like that.· I am able to sign off on those, but I
12· ·absolutely run everything through executive to confirm
13· ·that they agree before signing off.
14· · · · Q.· ·Thank you.
15· · · · · · ·And what is your relationship like between
16· ·your office and the secretary of state's office in
17· ·general and local parish government?
18· · · · A.· ·So we're a top-down state, and every parish in
19· ·the state uses the same voting equipment, voting
20· ·procedures, the same registration procedures.· Each
21· ·parish has the same guidelines that they follow.· So
22· ·the locals that are trained -- my staff trains the
23· ·clerks of court, the registrar of voters.· They train
24· ·the parish board members.· The technicians are
25· ·certified by our current vendor, and we work with --


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·1· ·hand in hand with the trainings involved in that.· And
·2· ·so basically, the locals look to us for that type of
·3· ·training.
·4· · · · · · ·Now, we are not the legal advisers to the
·5· ·registrar or to the parish board.· That falls under the
·6· ·attorney general's office.· So if they have a legal
·7· ·question, they have to go to the AG's office to get
·8· ·legal advisement, or they have to request an opinion,
·9· ·something like that.
10· · · · Q.· ·And --
11· · · · A.· ·That's it.
12· · · · Q.· ·Okay.· I wanted to make sure you had finished
13· ·your answer before I ask another question.
14· · · · A.· ·Yeah.· Yeah.
15· · · · Q.· ·And does your relationship with the parish
16· ·government change depending on whether you're dealing
17· ·with a clerk of court, a registrar of voters, or parish
18· ·president?
19· · · · A.· ·We don't have -- it's very limited interaction
20· ·that we have with the parish president.· The parish
21· ·governing authorities are their own entity, and we just
22· ·don't have -- there's -- I can only think of one or two
23· ·things that we do with the parish governing authority.
24· · · · · · ·The clerks of court and the registrar of
25· ·voters, our interaction with them is primarily the same


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·1· ·in that the clerks manage qualifying, so we train them
·2· ·on qualifying, and we help them with the qualifying
·3· ·process.· The registrars work in registration, and
·4· ·so -- and in early voting, which is real-time.· And
·5· ·they're involved in -- so we work training them on
·6· ·their processes.· When it comes to the early voting
·7· ·tabulation process, we train them on that, and they
·8· ·understand the equipment, and we support them each
·9· ·election with having a support team for a group of
10· ·parishes.
11· · · · · · ·And as you know, the -- or I'm sorry.· You may
12· ·not know.· The parish board of election supervisors
13· ·consists of the clerk, the registrar, a Republican
14· ·member, a Democratic member, and a governor's
15· ·appointee.· And so that training for those procedures
16· ·is the same because they're working on the same
17· ·process.· The clerks of court read cartridges for
18· ·election night.· That's a separate training.· But all
19· ·in all, what we're doing with them is training and
20· ·supporting for the elections process.
21· · · · Q.· ·And we talked a little bit about the different
22· ·subgroups under your supervision.· How many folks do
23· ·you supervise?
24· · · · A.· ·So in the elections division at the Secretary
25· ·of State's office right now, there's 259 employees.


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·1· ·What that consists of is each parish in the state has a
·2· ·voting machine warehouse.· And in those warehouses, if
·3· ·it's a small parish -- let's say it's Tensas, and
·4· ·there's 18 machines, and it's a smaller area.· There
·5· ·may be one warehouse employee.· But if you're in a
·6· ·larger parish, such as East Baton Rouge or Orleans or
·7· ·St. Tammany, of course you're going to have more.
·8· ·You're going to have 15 employees or more.· It just
·9· ·depends on the layout of the parish.
10· · · · · · ·And so what I mean by that is I think -- if
11· ·you're familiar with Louisiana, St. Tammany Parish has
12· ·Covington, Slidell, Madisonville.· If you have machines
13· ·in all of those areas, you have to have the staff
14· ·members to be able to support that.· So of course you
15· ·can't do that with one warehouse employee.
16· · · · · · ·In-house, we have the programming division,
17· ·and that division actually is tasked with supporting
18· ·all of the parishes.· They are the ones that are boots
19· ·on the ground in the parishes to support the elections.
20· ·The programming, the paper ballots, the ICX early
21· ·voting ballots, the ABC ballots, they manage that
22· ·information and getting the information onto the
23· ·machines and then tabulating after the election is
24· ·over.
25· · · · · · ·The field operations section that's in-house,


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·1· ·they are managing all 64 warehouses and the tasks that
·2· ·they have.· So they program in a laptop the cartridges
·3· ·that go into the voting machines.· They're responsible
·4· ·for working with the drayman who delivers and picks up
·5· ·the machines.· They're responsible for, as far as the
·6· ·field goes, the warehousing.· Are there problems with
·7· ·the warehouse?· Do they not have enough space?· Did the
·8· ·person sell the warehouse and the lease is up,
·9· ·et cetera.
10· · · · · · ·The operations section is divided into two,
11· ·programming and field operations, but they work in
12· ·unison.· And many of their job descriptions have --
13· ·they share similar components.· The business and
14· ·service division is more about the front end of the
15· ·election, so they're qualifying processes and
16· ·procedures are completed for the clerks, and they work
17· ·with the clerks to support them on that process.
18· · · · · · ·And they also work with the registration.
19· ·They're responsible for all the legislative changes
20· ·that come about, meaning forms or informational
21· ·pamphlets or a change in -- in something that's on one
22· ·of the forms.· We have quite a number of forms that
23· ·they have to keep up with that are legal forms required
24· ·to operate an election.
25· · · · · · ·And then, of course, they have the


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·1· ·registration end of it.· And that group, the business
·2· ·and service division, works hand in hand with our legal
·3· ·division a lot on the front end of the election.· The
·4· ·operations group works with the legal division more on
·5· ·the back end of the elections process.
·6· · · · Q.· ·So focusing on the in-house folks, it sounds
·7· ·like there's three primary groups.· There's the
·8· ·programming folks, the operations folks, and Business
·9· ·and Services folks.· Correct?
10· · · · A.· ·That's correct.
11· · · · Q.· ·And how many folks work in the programming
12· ·division?
13· · · · A.· ·In the programming division currently, there
14· ·are, I believe, 45.· That includes --
15· · · · Q.· ·And how many folks work --
16· · · · A.· ·I'm sorry.· The in-house operations and field
17· ·operations is considered one.· There's 45 total in
18· ·those two groups.· And then the business and service
19· ·division, there's 15.
20· · · · · · ·Now, we have some positions that we are
21· ·currently filling because either people have retired,
22· ·they've moved away.· But we had some new positions
23· ·created to help us with -- with management of the
24· ·elections process because we're getting ready to go
25· ·into having to manage two separate systems at the same


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·1· ·time.· And so right now, I believe we have 18 positions
·2· ·that are about to be filled.
·3· · · · Q.· ·And those would be in the Business and
·4· ·Services division?
·5· · · · A.· ·Two of them will be in business service.· The
·6· ·rest of them will be operations and field operations.
·7· · · · Q.· ·And so of the 269 overall employees in the
·8· ·elections division, it sounds like around 60 of them
·9· ·are in-house.· And are the rest of them in the
10· ·warehouses, or do the 199 work somewhere else?
11· · · · A.· ·They're in the -- they're in the warehouses.
12· ·And I should mention that 100 of the employees are full
13· ·time.· The 139 -- or 159, I'm sorry.· 100 are full
14· ·time; 159 are considered part-time WAEs.
15· · · · Q.· ·Of the folks who are in-house -- so the
16· ·operations and the business services folks -- are the
17· ·majority of them full time or part time?
18· · · · A.· ·I believe there are currently 14 part time.
19· ·All the rest, full time.· But that is going to change
20· ·within the next month or so because the -- a lot of
21· ·those employees are going to move into those full-time
22· ·positions.· If they apply and they are interviewed and
23· ·they are able to take the position, then they'll move
24· ·into a full-time position.
25· · · · Q.· ·All right.· I want to ask you some questions


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·1· ·just generally related to this litigation and your
·2· ·knowledge of the litigation, and then we're going to
·3· ·get into some more specifics in the notice.· Okay?
·4· · · · · · ·When did you first learn about this particular
·5· ·litigation?
·6· · · · A.· ·When I was contacted by the attorneys about
·7· ·doing the deposition.
·8· · · · Q.· ·And I think you've mentioned a number of
·9· ·policies and procedures and trainings that you-all are
10· ·responsible for.· Is that correct?
11· · · · A.· ·That's correct.
12· · · · Q.· ·And are those saved as written documents?
13· · · · A.· ·Yes.· We have policies and procedures that are
14· ·in writing.
15· · · · Q.· ·And do you save your trainings?· Do those
16· ·include PowerPoint?
17· · · · A.· ·More like elections binders that include
18· ·everything that they would work on from end to end,
19· ·let's say, for tabulation.· It's an elections binder.
20· ·It talks about their credentials.· It has a lot of
21· ·confidential information in it because it's related to
22· ·our ERIN system, or it's related to our voting system.
23· ·And it steps them -- walks them through the entire
24· ·process of how to set all of the equipment up, how to
25· ·tabulate the election, how to put the elections results


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·1· ·together, whether it's an UOCAVA tally or a fax tally
·2· ·or that type of thing.
·3· · · · · · ·In the front, we have -- for business
·4· ·services, the informational pamphlet is put together
·5· ·for the commissioners to use on election day.· That
·6· ·is a manual.· It's a pamphlet.· And it's updated
·7· ·legislatively every year, and we have copies of that
·8· ·for the commissioner trainings, which are conducted by
·9· ·the clerks of court.
10· · · · · · ·So we're responsible to advise them of any
11· ·changes that the legislature decides to make to the
12· ·informational pamphlet or the ballot box or any of the
13· ·other guideline documents that are offered.· And of
14· ·course, there's an ERIN manual.· The ERIN manual is our
15· ·elections and registration information network manual
16· ·that tells them how to enter a registrant, how to enter
17· ·a mail ballot once it comes in, how to -- it -- it's
18· ·everything about the entire system.
19· · · · Q.· ·I wanted to follow up on something that you
20· ·mentioned a few times.· I think you referred to the
21· ·ERIN system.· And I did see that in the few documents
22· ·that we received from the Secretary of State.
23· · · · · · ·What is ERIN?
24· · · · A.· ·ERIN is the elections and registration
25· ·information network.· When I first started with the


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·1· ·Department of Elections, the ERIN system was a green
·2· ·screen, old computer database system that was specific
·3· ·to parishes, so it wasn't a statewide system in that
·4· ·it -- you had just a database for Acadia and just a
·5· ·database for Allen, et cetera, et cetera.
·6· · · · · · ·So in 2008, they moved it to a different -- or
·7· ·IT division moved it to a different platform where it
·8· ·would be statewide.· And it's utilized by everyone that
·9· ·is involved in the elections process, so the clerks use
10· ·it.· You qualify candidates in ERIN.· The registrar of
11· ·voters register people in ERIN.· You're giving -- you
12· ·give credit to voters for voting in ERIN.
13· · · · · · ·Most of the tasks that are involved in
14· ·elections are all in the ERIN document.· And each
15· ·individual that works in ERIN -- if it's a clerk or a
16· ·clerk staff member, a registrar or register staff
17· ·member, et cetera -- they are required to sign a
18· ·nondisclosure agreement, and they are provided with
19· ·credentials and security information for them to be
20· ·able to do their job in this overall process.· Most
21· ·states do not have a statewide system.· It's county to
22· ·county.· Our state is statewide.
23· · · · Q.· ·You mentioned that ERIN is confidential and
24· ·that you have to sign an NDA to see it.· What is your
25· ·understanding of why ERIN is confidential, or what


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·1· ·about ERIN is particularly confidential?
·2· · · · A.· ·When you are in voter registration or you're
·3· ·qualifying somebody or anything like that, when you
·4· ·pull the screens up to work in the screen in the
·5· ·database, your name, your address, your mother's maiden
·6· ·name, your date of birth, your phone number, your email
·7· ·address, there's a lot of confidential information that
·8· ·the Louisiana legislature recognizes as PII, private
·9· ·information, and so under no circumstances would you
10· ·ever want that information shared.
11· · · · · · ·And then on top of that, in this day and time
12· ·where you have to worry about hacking and scams and
13· ·that type of thing, you would never want anyone to have
14· ·the procedure of how to remove a registrant or how to
15· ·add a registrant or how to tabulate, you know, the
16· ·process or -- you can't afford to have the security
17· ·breached by just letting anybody have access to that.
18· ·I consider it similar to banking.· Your banking
19· ·information is very confidential, and you just wouldn't
20· ·want anybody having that.
21· · · · Q.· ·That's helpful.· Thank you.
22· · · · · · · · · MS. THOMAS-LUNDBORG:· I'm going to
23· · · · · · ·have -- mark a new exhibit.· And we hopefully
24· · · · · · ·have -- Molly, here is going to help me.
25· · · · · · · · · Molly, could you pull up exhibit --


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·1· · · · · · ·what's marked in my files Exhibit B that we're
·2· · · · · · ·going to have marked as Exhibit 2.
·3· · · · · · · · · MS. GARYANTES:· Absolutely.· It should
·4· · · · · · ·be introduced.
·5· · · · (Exhibit No. 2 was marked for identification.)
·6· · · · · · · · · MS. THOMAS-LUNDBORG:· Okay.· I see it.
·7· · · · · · ·I had to refresh my -- my browser, so if you
·8· · · · · · ·don't see it, try refreshing.
·9· · · · · · · · · THE WITNESS:· Okay.
10· ·BY MS. THOMAS-LUNDBORG:
11· · · · Q.· ·Can you read the --
12· · · · · · · · · MR. STRACH:· It's trying to -- it's
13· · · · · · ·trying to load, Alora.
14· · · · · · · · · THE WITNESS:· It says, "Generating file
15· · · · · · ·preview."· May take a while.· Okay.· It just
16· · · · · · ·came up.
17· · · · · · · · · MS. THOMAS-LUNDBORG:· I'm glad "it may
18· · · · · · ·take a while" was not correct.
19· · · · · · · · · THE WITNESS:· Yeah.
20· ·BY MS. THOMAS-LUNDBORG:
21· · · · Q.· ·I also have marked as Exhibit 2 a document
22· ·titled "Plaintiffs' First Request for Production of
23· ·Documents of the Secretary of State."
24· · · · · · ·Do you see that?
25· · · · A.· ·I'm looking at Exhibit 2.


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·1· · · · Q.· ·And do you see the title is "Plaintiffs' First
·2· ·Request for Production of Documents of the Secretary of
·3· ·State"?
·4· · · · A.· ·"Plaintiffs' First Request for Production of
·5· ·Documents of the Secretary of State."· Yes, I see that.
·6· · · · Q.· ·Okay.· And you can just take a minute to
·7· ·scroll through this document.
·8· · · · A.· ·Okay.· Okay.
·9· · · · Q.· ·And once you scroll through it, you can just
10· ·let me know.· I'm not going to ask too many questions
11· ·about this.· I just want to get some general
12· ·information.
13· · · · A.· ·Okay.· I was trying to read it word for word.
14· ·I'm sorry.
15· · · · Q.· ·No, no, no, not necessary.· I just want you to
16· ·scroll through.· And my question, I'll tell you as
17· ·you're scrolling through, is whether you've seen this
18· ·document before or whether you're aware that plaintiffs
19· ·had sent a document request to the Secretary of State.
20· · · · A.· ·No, I have never seen this document before,
21· ·and no, I did not know.· Usually requests such as this
22· ·go through our legal division, and if it requires files
23· ·or information, that's pulled by our IT division.
24· · · · Q.· ·I'd like to go back to what has been marked as
25· ·Exhibit 1 already.


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·1· · · · A.· ·Okay.· Okay.· I'm here.
·2· · · · Q.· ·And this document you said you have seen
·3· ·before, correct?
·4· · · · A.· ·Yes, absolutely.
·5· · · · Q.· ·And I'm going to ask now a series of questions
·6· ·related to this document.
·7· · · · A.· ·Okay.
·8· · · · Q.· ·When I wrote my outline, some of the kind of
·9· ·areas are -- some of the subareas are now combined, so
10· ·it won't be in this exact order, but it will be
11· ·questions related to this document.
12· · · · A.· ·Okay.
13· · · · Q.· ·So the first question here is about all steps
14· ·or activities required by you and steps or activities
15· ·required of other state officials related to
16· ·redistricting.· I'm not going to read it verbatim, but
17· ·it's generally about the redistricting process.
18· · · · · · ·And you've mentioned some work that you-all
19· ·are engaged in with the redistricting process, and I'd
20· ·like to walk through kind of step by step what your
21· ·office involvement is with redistricting.· Okay?
22· · · · A.· ·Okay.
23· · · · Q.· ·When did you start thinking about the
24· ·redistricting process?· And let's focus our discussion
25· ·on the most recent redistricting process that happened


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·1· ·in the 2019 through 2021 period.· When did you start
·2· ·thinking about that process?
·3· · · · A.· ·So just before the census information was
·4· ·about to come out, the Business and Service division
·5· ·began looking at all of the procedures necessary for
·6· ·redistricting in our office.
·7· · · · · · ·So basically, our office is ministerial when
·8· ·it comes to parts of the redistricting process, meaning
·9· ·that we have legal deadlines that the parish governing
10· ·authority, the demographers, the House and Senate,
11· ·et cetera, have to meet.· They have to provide
12· ·information to our office by a certain date.· And the
13· ·reason for that is that if they don't meet those legal
14· ·deadlines, then the registrar of voters or the Business
15· ·and Service division cannot, in the ERIN system, make
16· ·the changes necessary for the voters to get the correct
17· ·ballots.
18· · · · · · ·So the process of redistricting is on the
19· ·parish itself, whether it's school board redistricting,
20· ·council redistricting.· Any type of redistricting
21· ·locally, the parish governing authority works with the
22· ·demographer, and those two entities approve ordinances
23· ·and submit them for the information to be updated in
24· ·ERIN to allow those voters to be in the districts that
25· ·they selected, they approved, et cetera.


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·1· · · · · · ·Then as far as the House and Senate, they
·2· ·provide the information to us.· And as they provide
·3· ·that information to us, of course HV14 had to pass, and
·4· ·then our Business and Service division creates a
·5· ·spreadsheet for the House and a spreadsheet for the
·6· ·Senate.· And they begin, parish by parish, going
·7· ·through the changes that are made and trying to make
·8· ·certain that the information is accurate.
·9· · · · · · ·In 2019 through 2023, all precincts are
10· ·frozen, meaning that the -- when we run canvass every
11· ·year, the parishes are required to -- if you have a
12· ·precinct under 300, you have to merge it with another
13· ·precinct.· Or if you have a precinct that's over 2,200,
14· ·you may have to split that.· And for those three years,
15· ·those -- those processes are frozen until January 1st
16· ·of 2023.
17· · · · · · ·So this year, in January 1st, it opened up
18· ·the ability for all of them to go ahead and start
19· ·correcting all of their precincts.· And what happens
20· ·with that is you may have precinct 16 and precinct 15,
21· ·and precinct 15 has 200-something voters, so they merge
22· ·those two.· And then they rename it precinct 17, and it
23· ·may have different boundaries, et cetera.· That's what
24· ·they're tasked with doing after the freeze is
25· ·completed.


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·1· · · · · · ·So our department, we are -- the registrar of
·2· ·voters for all the local information, they're trying to
·3· ·put the voters into the right precincts, whether it's a
·4· ·new precinct or not, and proof and make certain
·5· ·everything is okay.· And then from our office, if it is
·6· ·whole precincts -- if all that you're moving is whole
·7· ·precincts, then our department is able to move the
·8· ·voters into those whole precincts.· But if the parishes
·9· ·are renumbering and splitting and merging, it makes it
10· ·very complicated.
11· · · · · · ·And so it takes quite a bit of time for them
12· ·to look at all of the changes.· It goes through a
13· ·three-level proofing process, and then after that
14· ·process, when we don't have an election -- so it can't
15· ·be in the middle of a election cycle because you can't
16· ·move voters during an election cycle.· So that is --
17· ·basically when we do that process, the Business and
18· ·Service division proofs it, makes sure it's okay,
19· ·you're not in an election cycle, and you are completing
20· ·the process for the voters.
21· · · · · · ·And the importance for that is that you never
22· ·in a million years want to provide a voter with an
23· ·incorrect ballot.· That -- in other words, you don't
24· ·want them to be in the wrong council district or the
25· ·wrong rep district or anything like that.· It's quite a


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·1· ·bit a proofing.
·2· · · · Q.· ·So I think I want to ask you some follow-up
·3· ·questions about your answer.· And if I get anything
·4· ·wrong, please feel free to correct me.
·5· · · · · · ·So focusing now on the House and Senate
·6· ·proofing process, what does that involve exactly?· You
·7· ·said that they're looking at Excel spreadsheets.· Are
·8· ·they making sure that voters are in the right districts
·9· ·and precincts?
10· · · · A.· ·They are lining out the precincts, looking at
11· ·are there any precinct changes, and then they are
12· ·trying to confirm that the right voters are in the
13· ·right areas.
14· · · · Q.· ·And how long does that process take?
15· · · · A.· ·The proofing process and the implementation
16· ·process both takes anywhere from four -- about four to
17· ·four and a half months.
18· · · · Q.· ·So it takes four to four and a half months to
19· ·line folks up to make sure folks are in the right
20· ·precincts and districts just for the Louisiana State
21· ·House and Senate?
22· · · · A.· ·That's correct.
23· · · · Q.· ·And how many folks are doing that process over
24· ·the four months, and how many hours a day are they
25· ·involved in that process?


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·1· · · · A.· ·So they work eight-hour days, and our Business
·2· ·and Service division is not -- they have to keep their
·3· ·business going.· They have to answer the hotlines.
·4· ·They have to conduct the elections.· They have to, you
·5· ·know, conduct qualifying, et cetera.· So they have six
·6· ·people trained to be able to do that process.
·7· · · · Q.· ·And do you have any sense of over that
·8· ·four-month period, how much time folks are spending
·9· ·specifically on the proofing the Senate House and the
10· ·Senate -- the House and Senate districts?
11· · · · A.· ·It's my understanding that those six people --
12· ·once they start the process, they dedicate their time
13· ·to that unless we have something that is --
14· ·emergency-wise that pulls them away.· And when I say
15· ·"emergency-wise," that would mean election days.                 I
16· ·mean, priority-wise, election day takes priority over
17· ·anything.· That's the whole purpose for our division.
18· · · · Q.· ·And so your testimony is that in 2021, it took
19· ·those six folks four and a half months to proof the
20· ·Senate and House districts?
21· · · · A.· ·In 2021?· The Senate and House districts were
22· ·given to them in 2022.
23· · · · Q.· ·I'm sorry, 2022.
24· · · · A.· ·Yeah, there wasn't anything submitted in '21
25· ·with that.· Now, there was local redistricting going on


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·1· ·but not the House and Senate.
·2· · · · Q.· ·Okay.· And in 2022, it took them four and a
·3· ·half months to proof the House and Senate districts?
·4· · · · A.· ·Yes, and conduct elections.
·5· · · · · · · · · MR. STRACH:· Alora, whenever you're
·6· · · · · · ·ready, it might be a good time to take a
·7· · · · · · ·break.
·8· · · · · · · · · MS. THOMAS-LUNDBORG:· Yeah, if you can
·9· · · · · · ·just give me a few more minutes.
10· · · · · · · · · MR. STRACH:· Sure.
11· · · · · · · · · MS. THOMAS-LUNDBORG:· I want to ask some
12· · · · · · ·questions about her previous answer, and once
13· · · · · · ·we're done, we can then take a break.
14· · · · · · · · · MR. STRACH:· Sure thing.
15· ·BY MS. THOMAS-LUNDBORG:
16· · · · Q.· ·Okay.
17· · · · A.· ·And I do -- I'm sorry.
18· · · · Q.· ·Yes.· Go ahead.
19· · · · A.· ·I just wanted to add one thing to that.· If --
20· ·for House and Senate, four and a half months, and I
21· ·said unless something else is in play.· So I think you
22· ·brought it up in the beginning.· If we do have special
23· ·elections that are put into that time frame, that
24· ·affects that as well.· I didn't want you to think it
25· ·was only regularly scheduled elections.· It's whatever


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·1· ·the legislature puts into play with an elections
·2· ·process.
·3· · · · Q.· ·Okay.· And you also mentioned in your previous
·4· ·answer that the precincts are frozen from 2019 to 2023.
·5· ·Is that correct?
·6· · · · A.· ·That's correct.
·7· · · · Q.· ·Okay.· Do you know if there is a law or is it
·8· ·policy and procedure that requires the precinct lines
·9· ·to be frozen from 2019 to 2023?
10· · · · A.· ·It's a law.· I believe it's 531.1, but I can't
11· ·swear to that.· I'd have to look it up for you.· Or
12· ·531.2.
13· · · · Q.· ·And do you have any understanding behind why
14· ·precincts are frozen in this period?
15· · · · A.· ·I don't know why --
16· · · · Q.· ·If you know.
17· · · · A.· ·-- the legislature -- the -- I can only make
18· ·an assumption.
19· · · · · · · · · MS. THOMAS-LUNDBORG:· Okay.· I think
20· · · · · · ·that those are all the questions that I have
21· · · · · · ·around that answer.· I'm going to come back
22· · · · · · ·and have more questions about redistricting
23· · · · · · ·when we get off the break.
24· · · · · · · · · · · ·(Recess taken.)
25· ·BY MS. THOMAS-LUNDBORG:


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·1· · · · Q.· ·So starting from where we left off, I think
·2· ·you mentioned before that some of your work -- well,
·3· ·strike that.· I'd like to ask another question.
·4· · · · · · ·Related to the answer that you gave me just
·5· ·before we went on break, you said that your office
·6· ·received the Excel files from the State House and State
·7· ·Senate after the map had been implemented; is that
·8· ·correct -- or enacted?· Not implemented.
·9· · · · A.· ·Meaning -- meaning House Bill 14?
10· · · · Q.· ·Yes.
11· · · · A.· ·Okay.· I believe -- so they didn't get an
12· ·Excel file; we created an Excel file.· But they
13· ·provided the information sometime prior to it -- the
14· ·act coming in through with the other acts of
15· ·legislation.· It was sometime within the months right
16· ·prior to that, I believe, but I'd have to confirm that
17· ·on the date.
18· · · · Q.· ·Okay.· Other than receiving information about
19· ·the enacted -- the enacted Senate and House map, are
20· ·there any other communications between anyone in the
21· ·Secretary of State's office and anyone in the State
22· ·Legislature about the map?
23· · · · · · ·And I see Ms. Prouty has come on.· I'm
24· ·assuming she's going to object.
25· · · · · · · · · MS. PROUTY:· And I -- I just want to


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·1· · · · · · ·object to the extent that this question would
·2· · · · · · ·call for information that's protected by the
·3· · · · · · ·legislative privilege of members who have not
·4· · · · · · ·waived that privilege here.· I'm not sure of
·5· · · · · · ·the extent of Ms. Hadskey's answer, but I did
·6· · · · · · ·want to raise that issue.
·7· · · · · · · · · MS. THOMAS-LUNDBORG:· And my short
·8· · · · · · ·response would be that Ms. Hadskey does not
·9· · · · · · ·fit in the legislature.· So any communication
10· · · · · · ·between her and that body are not covered in
11· · · · · · ·the legislative privilege.· That applies to
12· · · · · · ·conversations within the legislature.
13· · · · · · · · · MS. PROUTY:· Alora, actually, under the
14· · · · · · ·Fifth Circuit's recent decision, I think we
15· · · · · · ·referenced this extensively with counsel for
16· · · · · · ·plaintiffs.· But it's not necessarily just
17· · · · · · ·within the legislature.· So again, I don't
18· · · · · · ·know the scope of Ms. Hadskey's answer, but I
19· · · · · · ·do want to raise that.
20· ·BY MS. THOMAS-LUNDBORG:
21· · · · Q.· ·You may respond, Ms. Hadskey.
22· · · · A.· ·Okay.· I can only speak for myself.· I had no
23· ·communications or interaction.· And my staff, other
24· ·than receiving the files, had no communications and
25· ·interactions.


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·1· · · · Q.· ·And did you see as part of the topics of the
·2· ·30(b)(6) -- or actually, I will -- if we can, go back
·3· ·to Exhibit 1.
·4· · · · A.· ·Okay.
·5· · · · Q.· ·And if you scroll down to page 7 and 8,
·6· ·Number 3, knowledge and communications between your
·7· ·office and any members of the State House or State
·8· ·Senate about the maps for the State House or the State
·9· ·Senate.
10· · · · · · ·Do you see that?
11· · · · A.· ·Yes.
12· · · · Q.· ·Okay.· Did you do anything to respond and
13· ·prepare to respond to this set of questions?
14· · · · A.· ·No.· No, because I don't have -- I did not
15· ·have any knowledge or anything on that.· I don't -- I
16· ·didn't communicate with them at all.
17· · · · Q.· ·But you do understand that you're sitting here
18· ·today not just on behalf of yourself but on behalf of
19· ·the Secretary of State and his office?
20· · · · A.· ·Okay.· To my knowledge, there was not any
21· ·information back and forth regarding how they drew the
22· ·maps or what they did.
23· · · · Q.· ·And did you do anything to figure out, for
24· ·example, if anyone in the executive had had any
25· ·discussions?


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·1· · · · A.· ·I -- I talked to my staff.· They did not have
·2· ·any interaction.
·3· · · · Q.· ·And earlier in the deposition, we discussed
·4· ·the -- what you referred to as the executive, which is
·5· ·the secretary himself and some other members of his
·6· ·staff.· Did you do anything to apprise yourself of
·7· ·whether any members of the executive had any
·8· ·conversations?
·9· · · · A.· ·No.· I didn't talk to them about this.
10· · · · Q.· ·Okay.· So I'd now like to move to another
11· ·topic,?
12· · · · · · · · · MS. THOMAS-LUNDBORG:· So I have no
13· · · · · · ·more questions on this, Ms. Prouty, about
14· · · · · · ·whether -- about the role of demographers.
15· ·BY MS. THOMAS-LUNDBORG:
16· · · · Q.· ·And I think you mentioned in an earlier answer
17· ·that one of the things that your office does as part of
18· ·the redistricting process is work with demographers,
19· ·and I'd just like to ask you some question about that.
20· · · · A.· ·Okay.· So we don't work with them.· What we do
21· ·is we accept what they submit to us.· So working with
22· ·them, meaning we accept what's provided to us by the
23· ·parish council and the demographer as how they want the
24· ·districts laid out.
25· · · · Q.· ·And are the demographers -- let me start that.


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·1· ·Let me just ask.· Actually, this might be helpful.
·2· · · · · · · · · MS. THOMAS-LUNDBORG:· If we could mark
·3· · · · · · ·what is Exhibit H, Molly, as -- mark it as
·4· · · · · · ·Exhibit 3.
·5· · · · (Exhibit No. 3 was marked for identification.)
·6· · · · · · · · · MS. GARYANTES:· Absolutely.
·7· · · · · · · · · THE WITNESS:· Is that going to be
·8· · · · · · ·posted?
·9· · · · · · · · · MS. THOMAS-LUNDBORG:· It will be.· It
10· · · · · · ·just takes a minute to post it.
11· · · · · · · · · THE WITNESS:· Oh, okay.
12· · · · · · · · · MS. GARYANTES:· You said Exhibit A or 8?
13· · · · · · · · · MS. THOMAS-LUNDBORG:· H.· H, as in
14· · · · · · ·"Harry."
15· · · · · · · · · MS. GARYANTES:· Oh, got it.· It should
16· · · · · · ·be introduced now.
17· · · · · · · · · MS. THOMAS-LUNDBORG:· Do you have that
18· · · · · · ·in front of you?
19· · · · · · · · · MR. STRACH:· It's loading.
20· · · · · · · · · THE WITNESS:· Okay.· It's up.
21· ·BY MS. THOMAS-LUNDBORG:
22· · · · Q.· ·Great.· I'm not going to ask you too many
23· ·questions about this document.· I think it might just
24· ·help us as we're discussing the work of demographers.
25· · · · A.· ·Right.


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·1· · · · Q.· ·I put in an email from December 10, 2021, from
·2· ·a Jeff Everson to your email address.
·3· · · · · · ·Do you see that?
·4· · · · A.· ·I do.
·5· · · · Q.· ·Okay.· And do you recognize this email?
·6· · · · A.· ·I do, absolutely.
·7· · · · Q.· ·Okay.· And what is the general context of this
·8· ·email?
·9· · · · A.· ·We had a few parishes who were asking -- they
10· ·didn't know how to hire or who to hire, and there was
11· ·no list available of who all is a demographer.· So we
12· ·got a map of what demographers had been selected for
13· ·parishes and shared it among the parishes so that they
14· ·would have a reference to go to if they needed a
15· ·demographer.
16· · · · Q.· ·And what is your understanding of what
17· ·demographers were doing in early 2022 since this email
18· ·is from December of 2021, as far as the work that
19· ·demographers were doing for parishes?
20· · · · A.· ·So some demographers were working on parish
21· ·BC districts, and other demographers were working on
22· ·parish council districts, and other demographers were
23· ·working on school board districts.· And I don't know
24· ·exactly what they do.· I don't -- I have no concept of
25· ·how they do their job or what they're trying to do.


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·1· · · · · · ·But I do know there's a limited number in --
·2· ·what -- most of the parish councils are not familiar
·3· ·with the demographer information.· There is no
·4· ·www.demographer.com.· And so if you know that there's
·5· ·somebody that's listed as a demographer and another
·6· ·parish could contact them to see if they would do the
·7· ·work, then great.
·8· · · · · · · · · MS. THOMAS-LUNDBORG:· I'm going to
·9· · · · · · ·introduce another exhibit.· I'm going to
10· · · · · · ·introduce two exhibits.· As far as I can tell,
11· · · · · · ·they are an email and an attachment.
12· · · · · · · · · So, Molly, if we could, bring up what I
13· · · · · · ·have in my notes as Exhibit C and mark that as
14· · · · · · ·Exhibit 4 and then Exhibit D and mark that as
15· · · · · · ·Exhibit 5.
16· · · · · · · · · MS. GARYANTES:· Okay.
17· · · · · · ·(Exhibit Nos. 4 and 5 were marked for
18· · · · · · ·identification.)
19· · · · · · · · · MS. GARYANTES:· They should both be
20· · · · · · ·introduced.
21· · · · · · · · · MS. THOMAS-LUNDBORG:· Great.
22· ·BY MS. THOMAS-LUNDBORG:
23· · · · Q.· ·Ms. Hadskey, I am going to take these in
24· ·turns, but since they're an email and an attachment, if
25· ·you want to quickly scroll through both to familiarize


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·1· ·yourself, and then I'll start asking you questions
·2· ·about Exhibit 4 and then Exhibit 5.
·3· · · · A.· ·Okay.· Okay.· Okay.· And then let me look at
·4· ·the attachment.· Hold on.· Okay.
·5· · · · Q.· ·Okay.
·6· · · · A.· ·Okay.
·7· · · · Q.· ·I'm going to start with the -- with the email.
·8· ·That's Exhibit 4.
·9· · · · A.· ·Okay.
10· · · · Q.· ·And so looking at Exhibit 4, who's this email
11· ·from?
12· · · · A.· ·It's from Heather Meyers.· She's the director
13· ·of Business and Services.
14· · · · Q.· ·And who is the email to?
15· · · · A.· ·It's to me.
16· · · · Q.· ·And what's the date of this email?
17· · · · A.· ·Sorry.· I closed it out.· Okay.· 9/27/21.
18· · · · Q.· ·And the title of the email?
19· · · · A.· ·"Letter Regarding Reapportionment."
20· · · · Q.· ·And then does there appear to be attachments
21· ·to this email?
22· · · · A.· ·Yes.· The attachment is a copy of a letter
23· ·done by a previous secretary of state and a previous
24· ·commissioner of elections.
25· · · · Q.· ·Do you recall this email?


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·1· · · · A.· ·No.· I'm sorry.· I'm trying to remember, but
·2· ·it doesn't ring a bell with me.· I -- I know that if it
·3· ·was done by a previous secretary of state and a
·4· ·previous commissioner, I would imagine that this went
·5· ·to executive to discuss whether that's something that
·6· ·they would want to do again or they wouldn't want to do
·7· ·again.
·8· · · · Q.· ·You don't have any recollection of why this
·9· ·letter was sent to you?
10· · · · A.· ·I'm sure she sent it to me because she's
11· ·asking me if this is something that this administration
12· ·would want to repeat as it was done in a previous
13· ·census and redistricting process.· But that would not
14· ·have been a call for me, as the letter came from the
15· ·previous secretary of state.
16· · · · Q.· ·And then let's just look at Exhibit 5.
17· · · · A.· ·Okay.
18· · · · Q.· ·Do you recall seeing this letter before?
19· · · · A.· ·Vaguely.
20· · · · Q.· ·So let's -- this letter has a number of dates
21· ·from the old redistricting cycle.· Were you working at
22· ·the Secretary of State's office during the 2011 -- I
23· ·guess this timeline is from 2009 to 2013?
24· · · · A.· ·Yes.· I was the director of elections
25· ·operations.· I didn't have anything at all to do with


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·1· ·redistricting or census or anything.· That wasn't under
·2· ·my division.
·3· · · · Q.· ·All right.· We can move on.
·4· · · · · · · · · MS. THOMAS-LUNDBORG:· I'd like to mark
·5· · · · · · ·now what, Molly, I have labeled as Exhibit E,
·6· · · · · · ·as in "Edward."· And I'd like to mark it as
·7· · · · · · ·Exhibit 6.
·8· · · · (Exhibit No. 6 was marked for identification.)
·9· · · · · · · · · MS. GARYANTES:· It should be introduced.
10· ·BY MS. THOMAS-LUNDBORG:
11· · · · Q.· ·Let me know when you have that up,
12· ·Ms. Hadskey.
13· · · · A.· ·Okay.· Events timeline, it just came up.
14· · · · Q.· ·And then if you could, just take a moment
15· ·to scroll through the document and refresh your
16· ·recollection.
17· · · · A.· ·Okay.· Okay.
18· · · · Q.· ·This is a document -- oh, if you could just
19· ·read -- there's a number underneath the exhibit
20· ·sticker.· Do you see that?
21· · · · A.· ·SOS 30(b) --
22· · · · Q.· ·At the bottom of the --
23· · · · A.· ·Yeah.· SOS 30(b)(6)?
24· · · · Q.· ·No, not that.· There's another -- there's a
25· ·number actually on the page.


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·1· · · · A.· ·Oh, okay.· Hold on.· SOS_000692.
·2· · · · Q.· ·This is the convention used by the secretary
·3· ·when documents were turned over to plaintiffs' counsel.
·4· ·So this is a document that we received from the
·5· ·secretary's office.
·6· · · · · · ·Have you seen this document before?
·7· · · · A.· ·Seems like I have.· I'm thinking that this is
·8· ·something that was done -- a presentation done by
·9· ·Heather Meyers to try and help the parishes get a good
10· ·idea of a timeline for the clerks or for the
11· ·registrars.
12· · · · Q.· ·And then looking at page -- if you could just
13· ·scroll what is page 3 of 8, and it's SOS_00694.
14· · · · A.· ·Okay.· I'm there.
15· · · · Q.· ·Okay.· And if you read the -- the events that
16· ·are set to occur in 2019 -- and let us know if this
17· ·comports with your understanding of what happened as
18· ·part of the redistricting process.
19· · · · A.· ·"Opportunity for parish governments to create
20· ·precincts for the 2020 census and redistricting plans
21· ·to follow.· Opportunity to use visible features or
22· ·boundary lines that no longer exist or needed
23· ·clarification.· Opportunity to consolidate small
24· ·precincts."
25· · · · Q.· ·Does this comport with your understanding of


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·1· ·what happened in 2019 -- or what could happen in 2019
·2· ·as part of the redistricting process?
·3· · · · A.· ·I -- no.· I'm confused.· Because --
·4· · · · Q.· ·And --
·5· · · · A.· ·The reason I'm confused is because it says
·6· ·"consolidate small precincts," and in 2019, precincts
·7· ·were frozen.· So I don't understand that, but...
·8· · · · Q.· ·Let's move on to -- is it -- let me ask you a
·9· ·related question.· Are precincts frozen in 2019 for the
10· ·whole year, or is there a period in 2019 where
11· ·precincts can change and then they're frozen after a
12· ·certain point?
13· · · · A.· ·I'd have to ask that question.· I'm not
14· ·positive.· That was what went through my mind as well
15· ·when I saw that.
16· · · · Q.· ·Okay.· If you could, look at the event for
17· ·July of 2021 and read them, and let us know if that
18· ·comports with your understanding of what happened in
19· ·the --
20· · · · A.· ·Okay.· Here's --
21· · · · Q.· ·-- redistricting process.· You may proceed.
22· · · · A.· ·Okay.
23· · · · Q.· ·You can read it aloud.
24· · · · A.· ·Oh, okay.· I just finished reading it.· Okay.
25· ·Okay.· The -- so I believe, if I'm not mistaken -- but


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·1· ·I would have to confirm this -- there is a statute that
·2· ·is an exception to the freeze, and this may be dealing
·3· ·with that, but I would have to find out if it did.· And
·4· ·I'd have to find the statute.
·5· · · · · · ·Can you hear me?· Okay.
·6· · · · Q.· ·Sorry, I was on mute.
·7· · · · A.· ·Okay.
·8· · · · Q.· ·If you could, read the page that goes from
·9· ·2022 to 2024 and see if it comports with your
10· ·understanding of what has happened and is going to
11· ·happen during that period.
12· · · · A.· ·Okay.· Yes, that is -- that is what I believe
13· ·to be going on right now.· I've seen some of the plans
14· ·that have been received by Business and Services, and
15· ·they are working on those right now.· Or they worked on
16· ·some this summer, and then they are working on some
17· ·right now for the 2024 elections.
18· · · · · · ·You're talking, and I can't hear you.· I'm
19· ·sorry.
20· · · · Q.· ·Sorry, I was muted again.
21· · · · · · ·The first bullet is "District plans based by
22· ·governing authorities and implemented by ROV."
23· · · · · · ·What is ROV?· I've seen that a few places.
24· · · · A.· ·Yes.· District plans passed by parish
25· ·governing authority and implemented by registrar of


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·1· ·voters.· So whatever the demographer and the parish
·2· ·governing authorities passed in an ordinance is what
·3· ·the registrar of voters has to comply with to move the
·4· ·voters into the districts.
·5· · · · Q.· ·If you could, then scroll to the next page.
·6· · · · A.· ·Okay.
·7· · · · Q.· ·If you could, read this page, and let us know
·8· ·if it comports with your understanding of what's
·9· ·happened and will continue to happen in 2022 and 2024.
10· · · · A.· ·Okay.· And yes, that is.· That's a
11· ·recommendation.· So during the redistricting process,
12· ·the parish governing authorities and the demographers
13· ·are making decisions, but the registrar of voters and
14· ·the clerks of court need to be involved.· So this
15· ·recommendation is saying create a relationship with the
16· ·department or people who are responsible.
17· · · · · · ·So the clerk and the registrar need to be
18· ·communicating with the parish governing authority and
19· ·the demographers, and it's recommending everything that
20· ·they would need to do that process.· But ultimately,
21· ·it's theirs to do.
22· · · · · · ·I can't hear you.· I'm sorry.
23· · · · Q.· ·Can you read the following page and tell me if
24· ·that comports with your understanding of what happened?
25· · · · A.· ·Okay.· Yeah, that is exactly what they would


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·1· ·be doing.
·2· · · · Q.· ·Could you read the second bullet for the
·3· ·record?
·4· · · · A.· ·"Plans may be challenged in court.· We still
·5· ·have to prepare."· So preparing --
·6· · · · Q.· ·And does that -- yes.
·7· · · · A.· ·Preparing either way -- so if a plan is
·8· ·challenged in court and you have things prepared, if
·9· ·the judge says we're not doing it, then of course you
10· ·have to start from scratch.· But if the judge would say
11· ·it's holding up and you are going to do it, then you
12· ·would be ready to go.
13· · · · Q.· ·And would you be starting completely from
14· ·scratch, or would some of the work that you've done be
15· ·able to be carried over to a new map?
16· · · · A.· ·It would completely depend on what was being
17· ·challenged and why.
18· · · · Q.· ·Okay.· And how so?
19· · · · A.· ·And what now?
20· · · · Q.· ·How so?· How -- if you could, explain that
21· ·answer a little more.· What kind of factors would go
22· ·into whether you would start from scratch or be able to
23· ·use some of your prior work?
24· · · · A.· ·So if you ever have a parish governing
25· ·authority that passes a plan for redistricting for


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·1· ·council members and in that plan, they attempted to
·2· ·change lines for school board or attempted to change
·3· ·lines for House and Senate or something like that, the
·4· ·legislative demographer would not approve that.· And so
·5· ·that -- the plan would not work.· It couldn't be
·6· ·implemented.
·7· · · · Q.· ·All right.· And what about changes to the
·8· ·state legislative plan?· Would any of your work or any
·9· ·of the state legislative plan be able to be used, or
10· ·would you be starting the process in your office of
11· ·implementation over again?
12· · · · A.· ·It depends if it was one parish that was
13· ·changed or two parishes that were changed or if it was
14· ·35 parishes that were changed.· It all depends on what
15· ·was -- what the magnitude of the change is.· And it
16· ·depends on whether the parish itself made a great deal
17· ·of changes to the boundary lines of their precincts for
18· ·council or for anything else that they had moved around
19· ·or mergers and consolidations.
20· · · · Q.· ·So let's focus on the state legislative map.
21· ·Assuming that the precinct lines that are now in
22· ·place -- let me ask you a question before I ask that
23· ·question.· Strike that previous question.
24· · · · · · ·Is the process of setting precinct lines at
25· ·the parish level finished, or is it ongoing?


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·1· · · · A.· ·Currently, it's ongoing.· They're still
·2· ·submitting to our department.
·3· · · · Q.· ·And when will that process be over?
·4· · · · A.· ·I'm not -- I don't know the legal deadline
·5· ·for every single parish.· I believe there are three
·6· ·parishes next year that still have to go through
·7· ·redistricting, but I'd have to confirm that.
·8· · · · Q.· ·So assuming that the state legislative -- the
·9· ·state legislative lines changed and by the time they
10· ·changed, only three parishes were left to change their
11· ·districts, how much work would your office need to do
12· ·to reconcile the new maps to the work that you've done
13· ·in the past on the enacted map?
14· · · · A.· ·There's no way I can estimate that.· I would
15· ·not have any idea.· I'd have to -- the Business and
16· ·Service division would have to look at it.· That would
17· ·take assessment.
18· · · · Q.· ·Okay.· I'm just going to pull up (inaudible)
19· ·again.· I'll come back to this.· Let me just go and ask
20· ·another question.
21· · · · · · · · · MS. THOMAS-LUNDBORG:· If we could mark
22· · · · · · ·Exhibit F -- what I have in my notes as F, as
23· · · · · · ·in "Frank," as Exhibit 7 and then Exhibit G,
24· · · · · · ·as in "Gary," as Exhibit 8.· This is another
25· · · · · · ·email attachment.


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·1· · · · · · ·(Exhibit Nos. 7 and 8 were marked for
·2· · · · · · ·identification.)
·3· · · · · · · · · MS. GARYANTES:· Can you repeat that one
·4· · · · · · ·more time?
·5· · · · · · · · · MS. THOMAS-LUNDBORG:· It's Exhibit F, as
·6· · · · · · ·in "Frank," as Exhibit 7 and Exhibit G, as in
·7· · · · · · ·"Gary," as Exhibit 8.
·8· · · · · · · · · MS. GARYANTES:· Thank you.· They're both
·9· · · · · · ·introduced.
10· · · · · · · · · MS. THOMAS-LUNDBORG:· Great.
11· ·BY MS. THOMAS-LUNDBORG:
12· · · · Q.· ·Ms. Hadskey, if you want take time to just
13· ·look at both exhibits quickly, and then we'll spend
14· ·some time talking about them.
15· · · · A.· ·Okay.· Okay.· Let me go back to 8.· Sorry,
16· ·it's still loading.
17· · · · Q.· ·That's fine.· Things are always a little bit
18· ·slower over the internet.
19· · · · A.· ·Okay.· Okay.· Okay.
20· · · · Q.· ·So let's go -- did you get a chance to review
21· ·both documents?
22· · · · A.· ·Yes.
23· · · · Q.· ·So let's go back to Exhibit 7, and then we'll
24· ·go back to Exhibit 8.· It's just easier --
25· · · · A.· ·Okay.


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·1· · · · Q.· ·-- to put in an email and attachment at the
·2· ·same time.
·3· · · · A.· ·Okay.· Okay.· I'm ready.· I'm sorry.
·4· · · · Q.· ·Okay.· No, that's fine.
·5· · · · · · ·Who was this email from?
·6· · · · A.· ·The top email is from me.· And the -- I was
·7· ·telling Bryce, who is the operations director, to print
·8· ·the attachment and bring it to me in the parking lot
·9· ·because I needed it.· I needed to look at it.· And
10· ·Alise -- the second email is from Alise.· She attached
11· ·the PowerPoint from her presentation on Tuesday, and
12· ·then she sent it via email to show the pictures and put
13· ·it on LASOSnet for the registrar of voters.· So it's a
14· ·document for the registrar of voters.
15· · · · Q.· ·And what's the date of this email?
16· · · · A.· ·Date is 2/17/2022.
17· · · · Q.· ·Let's go now to the attachment.
18· · · · A.· ·Okay.· Okay.· All right.· I'm there.
19· · · · Q.· ·Do you recognize this document?· Do you
20· ·recognize this --
21· · · · A.· ·I believe I -- I believe I do, yes.· I mean,
22· ·it looks familiar to me.· We -- we do presentations for
23· ·the registrars to try and assist them with what they're
24· ·responsible for.
25· · · · Q.· ·And that's in this ERIN system that we were


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·1· ·talking about earlier today, correct?
·2· · · · A.· ·That's exactly right.
·3· · · · Q.· ·And could you read just the title?· And it
·4· ·looks like there's -- the writing is quite small, and I
·5· ·have very bad eyes.
·6· · · · A.· ·Oh, no.
·7· · · · Q.· ·It'll help you reading that too.
·8· · · · A.· ·Sure.· "Redistricting in ERIN.· Changing
·9· ·Districts Based on Ordinances, Congress Rep, Senate,
10· ·Police Jury, School Board, Etc."
11· · · · · · ·So the registrar of voters is responsible
12· ·to move the voters into the right districts in ERIN
13· ·after the parish governing authorities or -- or after
14· ·the information is submitted to our department.
15· · · · Q.· ·And that would be -- it says "Congress Rep,
16· ·Senate" -- so this would cover elections from U.S.
17· ·congressional elections, the state legislative
18· ·elections to local elections; is that correct?· The
19· ·process that would then be in this PowerPoint?
20· · · · A.· ·So for two separate processes.· For the
21· ·ordinances for local elections, the registrar of voters
22· ·are responsible to do all of the movement of the
23· ·individuals because it is split precincts.· Some
24· ·people -- they are the only ones that would know their
25· ·area.· So some people live in this area, and they would


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·1· ·be in this district and -- et cetera.
·2· · · · · · ·For rep and Senate, they're responsible to
·3· ·proof the work.· If a whole precinct is moved, they're
·4· ·responsible to proof that work, make sure that the
·5· ·precinct lines didn't change, and know that the voters
·6· ·are in the right place so that they'll get the right
·7· ·ballot.
·8· · · · Q.· ·And based on this parenthetical that
·9· ·references congress rep, Senate, police jury,
10· ·et cetera, this PowerPoint would involve the
11· ·processes -- those two different processes, the proof
12· ·processes and the movement processes, just looking at
13· ·the cover page --
14· · · · A.· ·Yes.
15· · · · Q.· ·-- of what your understanding is?
16· · · · A.· ·Yes.
17· · · · Q.· ·Okay.· If you could then scroll to the next
18· ·page, please.
19· · · · A.· ·Okay.· I'm there.
20· · · · Q.· ·And could you read the -- could you read the
21· ·first bullet that's all in bold?
22· · · · A.· ·"All changes must be made in ERIN five
23· ·business days before qualifying."
24· · · · · · ·That is a statute.· That's a legal deadline.
25· · · · Q.· ·So five business days --


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·1· · · · A.· ·The way that it reads in the statute is that
·2· ·the jurisdictions must be set, meaning the registrars
·3· ·have to have all of the people in the right places in
·4· ·order to meet that deadline.
·5· · · · Q.· ·And then there's an example given here in the
·6· ·next two paragraphs.· Could you read that?
·7· · · · A.· ·"The dates for qualifying for the fall 2022
·8· ·election are July 20th through the 22nd.· The deadline
·9· ·to have your changes completed in ERIN is July 13th."
10· · · · Q.· ·And that seems like that's a little bit more
11· ·than five days.· Is that -- oh, five business days.
12· ·Okay.· All right.· Let's move on.
13· · · · · · ·Can you change to the -- scroll to the next
14· ·page and read the first bullet.
15· · · · A.· ·"The deadline for redistricting plans to be
16· ·received by our office is 4:30 on June 22nd, four weeks
17· ·prior to qualifying."
18· · · · · · ·So that is the ordinances and the -- the --
19· ·any information from the parish governing authority to
20· ·be submitted to us.
21· · · · Q.· ·And does this deadline apply to all maps or
22· ·just to local parish maps?
23· · · · A.· ·I'd have to read the statute.
24· · · · Q.· ·Do you know which statute that is?
25· · · · A.· ·Not off the top of my head.


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·1· · · · Q.· ·Do you know why your office would need
·2· ·redistricting plans four weeks before qualifying?
·3· · · · A.· ·Because the legislature set that.· I don't
·4· ·know why they picked the deadlines they do, but that's
·5· ·what their legal deadline is in the elections code.
·6· · · · Q.· ·If you could, scroll to what is page 7 of 18.
·7· ·And the Bates stamp is SOS_00935.
·8· · · · A.· ·00935.· 936, 935 -- okay.· I'm there.
·9· · · · Q.· ·Now, this is a -- well, could you read what
10· ·the top of the document says?
11· · · · A.· ·"Useful reports in ERIN."
12· · · · Q.· ·And then there's a bunch of redacted text.
13· ·Do you have any recollection of what was stated in this
14· ·text?
15· · · · A.· ·Yes.· It would tell you the reports in the
16· ·ERIN system that they can use to assist in completing
17· ·their plans and the movement of voters.· But it does
18· ·contain the elections registration information network,
19· ·confidential information as well.
20· · · · Q.· ·Okay.· And then if you could, scroll to the
21· ·next page.
22· · · · A.· ·Okay.
23· · · · Q.· ·And does this page also say "Useful reports in
24· ·ERIN"?
25· · · · A.· ·Yes, it does.


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·1· · · · Q.· ·And has this page also been redacted?
·2· · · · A.· ·Yes, it has.
·3· · · · Q.· ·And if you could, scroll to the next page.
·4· · · · A.· ·Okay.
·5· · · · Q.· ·And what is the title of this page?
·6· · · · A.· ·"How to change the districts."· This page
·7· ·would actually give instructions of how to go into the
·8· ·ERIN system and change someone's district from one
·9· ·district to another, how to proof it, that type of
10· ·thing.
11· · · · Q.· ·And this page has also been redacted?
12· · · · A.· ·Yes.
13· · · · Q.· ·And then if you could, scroll to the next
14· ·page.
15· · · · A.· ·Okay.
16· · · · Q.· ·And what's the title of this page?
17· · · · A.· ·"Option 1."
18· · · · Q.· ·And then even the title part appears redacted.
19· ·Do you have any thoughts on what this page would have
20· ·shown?
21· · · · A.· ·I don't remember what Option 1 would be.· No,
22· ·I don't.
23· · · · Q.· ·And then if you could, scroll to the next
24· ·page.
25· · · · A.· ·"Option 2."


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·1· · · · Q.· ·Do you have any recollection of what this page
·2· ·would have shown?
·3· · · · A.· ·No.
·4· · · · Q.· ·Okay.· If you could, scroll to the next page.
·5· · · · A.· ·Okay.· "My precinct does not have the
·6· ·available district."
·7· · · · Q.· ·Okay.· Some of the text on this page is
·8· ·redacted.· Based on what is not redacted, do you have
·9· ·any understanding of what this page shows?
10· · · · A.· ·No.· I would -- I can only assume.
11· · · · Q.· ·Can you scroll to the next page?
12· · · · A.· ·Sure.· Okay.
13· · · · Q.· ·What's the title on this page?
14· · · · A.· ·"What happens when Alise adds your new
15· ·districts."
16· · · · Q.· ·And what is Alise?
17· · · · A.· ·Alise is the administrative staff assistant to
18· ·Heather Meyers in the Business and Service division.
19· ·And she -- she opens the plans in ERIN in order for the
20· ·individuals to work in the plans moving the voters.
21· ·And so this is saying that if Alise has to add a new
22· ·district, that means that the ordinance came in and the
23· ·district wasn't added yet.
24· · · · Q.· ·So if the plan changes, is it Alise who would
25· ·then put in the new plan into ERIN, or would that be


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·1· ·done by someone else?
·2· · · · A.· ·Alise is the person right now that introduces
·3· ·the plans into ERIN.
·4· · · · Q.· ·And do you have any other knowledge of what
·5· ·else would have been on this page about the process of
·6· ·introducing new plans into ERIN?
·7· · · · A.· ·No.
·8· · · · Q.· ·If you could, scroll to the next page.
·9· · · · A.· ·Okay.· I'm there.
10· · · · Q.· ·What's the title of this page?
11· · · · A.· ·"District Exceptions Report."
12· · · · Q.· ·Do you have any understanding of what a
13· ·district exceptions report is?
14· · · · A.· ·Yes.· A district exceptions report would
15· ·reflect if the voters were moved into an area, and it
16· ·potentially could be a wrong area.· In the ERIN system,
17· ·it highlights them in a specific color, and it would
18· ·show on a report telling the registrar that they
19· ·probably need to go back and look at it again, that
20· ·they may have made errors.
21· · · · Q.· ·And do you have any other understanding of
22· ·what would've went on this page?
23· · · · A.· ·No.
24· · · · Q.· ·If you could, scroll to the next page.
25· · · · A.· ·Okay.


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·1· · · · Q.· ·What's the title of this page?
·2· · · · A.· ·"Unassigned District Report."
·3· · · · Q.· ·And what's that?· Oh, wait.· No, I think we
·4· ·skipped one.· There is what is labeled SOS_00493.· It's
·5· ·going to have the same title as the one we were just
·6· ·on.
·7· · · · A.· ·Okay.· 943?
·8· · · · Q.· ·Uh-huh.
·9· · · · A.· ·"District Exceptions Report."
10· · · · Q.· ·Okay.
11· · · · A.· ·That would be additional -- okay.· That would
12· ·be additional reports.· And unassigned district report,
13· ·I can only assume it means that they unassigned the
14· ·particular district, and those are the ERIN system
15· ·reports to run to review that.
16· · · · Q.· ·And that page is also redacted, correct?
17· · · · A.· ·That's correct.· It contains confidential
18· ·information.
19· · · · Q.· ·And then there is two additional pages, which
20· ·have closing notes.· And I thank you.· We don't have to
21· ·spend time on those today.· I'm going to move on.
22· · · · A.· ·Okay.
23· · · · Q.· ·Okay.· We're going to introduce two more
24· ·documents.· And depending on how much time those take,
25· ·we can take a break after that, or I may introduce one


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·1· ·more document.· Okay?
·2· · · · A.· ·Okay.
·3· · · · · · · · · MS. THOMAS-LUNDBORG:· Molly, can we
·4· · · · · · ·introduce what I have marked as Exhibit J,
·5· · · · · · ·as in "job," and K, as in "Karen."· And J will
·6· · · · · · ·be Exhibit 9, and K will be Exhibit 10.
·7· · · · · ·(Exhibit Nos. 9 and 10 were marked for
·8· · · · · ·identification.)
·9· · · · · · · · · MS. GARYANTES:· All right.· Those have
10· · · · · · ·been introduced.
11· · · · · · · · · THE WITNESS:· Okay.· Okay.· Okay.· Let
12· · · · · · ·me look at the attached letter.· Hold on.· Oh,
13· · · · · · ·wait.· Okay.· Let's see.· Okay.· I looked at
14· · · · · · ·both.· I can't hear you.
15· ·BY MS. THOMAS-LUNDBORG:
16· · · · Q.· ·Let's start with what's Exhibit 9.
17· · · · A.· ·Start with what?· I'm sorry.
18· · · · Q.· ·Exhibit 9.
19· · · · A.· ·Exhibit 9, okay.· All right.· I'm there.
20· · · · Q.· ·And what is this document?
21· · · · A.· ·This is a document -- this is an email
22· ·regarding one of the demographers, and he did a
23· ·presentation at a registrar of voters conference.· And
24· ·the demographer -- if the demographer is trying to give
25· ·instructions to the registrars -- no other demographer


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·1· ·did that.· But if he's trying to give instructions to
·2· ·the registrars, including legal deadlines that our
·3· ·department is supposed to receive information by, and
·4· ·anything in it is inaccurate, that can be problematic
·5· ·for the whole process.
·6· · · · · · ·So I asked staff to go through his
·7· ·presentation that -- his presentation was given to me
·8· ·by another registrar.· I asked the staff to go through
·9· ·it and make sure that what he is saying in that
10· ·presentation is correct because you wouldn't want
11· ·conflicting information going to the registrar of
12· ·voters.
13· · · · Q.· ·And just to establish kind of the basis of the
14· ·email, this is an email from you, correct?
15· · · · A.· ·That's correct.
16· · · · Q.· ·And it's to Alise and Heather; is that
17· ·correct?
18· · · · A.· ·That's correct.
19· · · · Q.· ·Okay.· Do you recall what the outcome of this
20· ·email was?
21· · · · A.· ·I don't.· I don't know that they found
22· ·anything or they didn't.· But I do know if they did
23· ·find something, it would have had to have been
24· ·corrected before it would go to the registrars and give
25· ·them inaccurate information.· And if he had given it to


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·1· ·any of the registrars, then it would have been
·2· ·corrected via making sure they know, calling them and
·3· ·making sure they understand that something in there was
·4· ·not correct.
·5· · · · Q.· ·And I don't want to spend too much time on
·6· ·this document, given what you just said.· But if you
·7· ·could, take some time scrolling through, and let me
·8· ·know if anything jumps out at you as incorrect.· And
·9· ·even to make this even simpler, I'm concerned with
10· ·general deadlines and deadlines related to the State
11· ·and -- the State legislative maps and not local maps.
12· · · · A.· ·Okay.· So in order for me to confirm if what
13· ·he's saying in here is accurate or not accurate, I'd
14· ·have to look at calendars, and I'd have to go back and
15· ·look at dates and just make sure that what he said was
16· ·correct.
17· · · · Q.· ·Let me ask you a question about page
18· ·SOS_ 00549, "Best Practices."
19· · · · A.· ·SOS_00549.· Okay.· Okay.· I'm there.
20· · · · Q.· ·There's a list of best practices here, and
21· ·let's just go through them one by one.
22· · · · · · ·"The demographer should make sure the adopted
23· ·plan meets all requirements of Section 2 of the VRA."
24· · · · · · ·Do you see that?
25· · · · A.· ·I do.


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·1· · · · · · · · · THE REPORTER:· I'm sorry.· I didn't get
·2· · · · · · ·the question.
·3· · · · · · · · · MS. THOMAS-LUNDBORG:· The question was
·4· · · · · · ·whether she saw the bullet that reads,
·5· · · · · · ·"Demographer should make sure the adopted plan
·6· · · · · · ·meets all the requirements of Section 2 of the
·7· · · · · · ·VRA."
·8· ·BY MS. THOMAS-LUNDBORG:
·9· · · · Q.· ·Do you agree with this bullet point?
10· · · · · · · · · MR. STRACH:· Objection.
11· · · · A.· ·I -- this is Mike Hefner's recommendations and
12· ·best practices.· Not all -- in fact, I don't know of
13· ·any other demographer that turned in anything like this
14· ·or tried to give guidelines.· So I -- in my opinion,
15· ·yes, they -- it should meet Section 2 of the Voting
16· ·Rights Act.· But I don't know -- if Mike Hefner is the
17· ·only demographer that provided this information, then
18· ·he's only got -- he only has certain parishes.
19· ·BY MS. THOMAS-LUNDBORG:
20· · · · Q.· ·Understood.· I'm just asking in your opinion,
21· ·whether you're in agreement with this bullet point or
22· ·not.· Okay.
23· · · · A.· ·Okay.· I agree with bullet point 1.
24· · · · Q.· ·Okay.· The next bullet point is, "Demographer
25· ·should produce detailed maps of the new plan(s) in


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·1· ·hardcopy or electronic format for the Registrar of
·2· ·Voters and shapefiles for the Secretary of State."
·3· · · · · · ·Do you see that?
·4· · · · A.· ·I see that.
·5· · · · Q.· ·Do you agree with that bullet point?
·6· · · · A.· ·No.· Because he's -- he's saying that that's
·7· ·what he feels should be done.· But not all demographers
·8· ·do that, not all parish governing authorities do that.
·9· · · · Q.· ·Okay.
10· · · · A.· ·It's his recommendation.
11· · · · Q.· ·So for the new precinct files, how are those
12· ·sent to the Secretary of State's office?· In what
13· ·format?
14· · · · A.· ·I would have to ask the Business and Service
15· ·division what types of formats they're getting them in.
16· · · · Q.· ·Okay.· And then there's another bullet, which
17· ·I will not read verbatim, about demographers working
18· ·closely with the Secretary of State's office and the
19· ·parish registrar to have an accurate implementation of
20· ·the plan.· Do you generally agree with that bullet?
21· · · · A.· ·Demographers don't work with the Secretary of
22· ·State's office.· They work with -- they're hired by the
23· ·parish councils and the parish governing authorities.
24· ·And so I -- I'm confused by that.· I mean --
25· · · · Q.· ·Okay.


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·1· · · · A.· ·-- they would work with the registrar of
·2· ·voters.
·3· · · · Q.· ·Okay.· Just looking at this document again,
·4· ·but I think that's it.· Let's move on.· I'm just going
·5· ·to ask a quick question about this document, and then
·6· ·we can move on.· I'm going to introduce a new document.
·7· · · · · · · · · MS. THOMAS-LUNDBORG:· Can we introduce
·8· · · · · · ·as Exhibit 11 what has been -- what I have --
·9· · · · · · ·I have labeled Exhibit T, T as in "Tiffany."
10· · · (Exhibit No. 11 was marked for identification.)
11· · · · · · · · · MS. GARYANTES:· It's introduced.
12· ·BY MS. THOMAS-LUNDBORG:
13· · · · Q.· ·If you could, take a minute to open
14· ·Exhibit 11.· First, just look at it.
15· · · · A.· ·Okay.
16· · · · Q.· ·Do you recognize this document?
17· · · · A.· ·I do.· The registrar of voters are evaluated
18· ·every year.· It's a -- whether or not they're going to
19· ·get their merit increase.· And they're responsible to
20· ·check every item on this box and sign it if they
21· ·completed what they were supposed to do, and their
22· ·evaluation reflects that.· And then they -- after
23· ·they've completed it, a copy of this goes with their
24· ·evaluation.
25· · · · Q.· ·Okay.


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·1· · · · A.· ·Basically holding them accountable for the
·2· ·process that they're supposed to be doing.
·3· · · · Q.· ·And so just going through that process.· As
·4· ·part of that process, it looks like -- the first
·5· ·bullet -- they're supposed to upload documentation to
·6· ·ERIN.· Is that correct?
·7· · · · A.· ·"Parish has received all necessary
·8· ·documentation for the application of the plan."
·9· · · · · · ·I have -- so they received the documentation
10· ·from their parish governing authority for application
11· ·of the implementation of their plan.
12· · · · Q.· ·You know, I think for the most part, the
13· ·document speaks for itself, so we can move on.· So I'm
14· ·going to move to election calendars.· But before I do
15· ·that, is your office involved in any other processes
16· ·regarding the implementation of enacted State
17· ·legislative maps?
18· · · · A.· ·No.· Outside of -- outside of entering them --
19· ·ministerially, we enter the information into the
20· ·database so that the voters are assigned to the right
21· ·places, they get the right ballots, they're voting on
22· ·the right races, they're qualifying in the right
23· ·offices, et cetera.
24· · · · · · · · · MS. THOMAS-LUNDBORG:· So I'm suggesting
25· · · · · · ·that we maybe go for 15 minutes more or so and


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·1· · · · · · ·then just take an early lunch, if that's works
·2· · · · · · ·on your end.
·3· · · · · · · · · THE WITNESS:· Yeah, that works great.
·4· · · · · · · · · MS. THOMAS-LUNDBORG:· So let's mark as
·5· · · · · · ·Exhibit 12 what I have labeled as Exhibit L,
·6· · · · · · ·as in "Larry," Molly.
·7· · · (Exhibit No. 12 was marked for identification.)
·8· · · · · · · · · MS. GARYANTES:· It's introduced.
·9· ·BY MS. THOMAS-LUNDBORG:
10· · · · Q.· ·And let me know when you have that pulled up.
11· · · · A.· ·Okay.· Okay.· It's up.
12· · · · Q.· ·Okay.· This is something that I pulled from
13· ·the Secretary of State's website.
14· · · · · · ·Do you recognize this document?
15· · · · A.· ·Absolutely, yes.
16· · · · Q.· ·Okay.· And what is this document?
17· · · · A.· ·This document is out of our ballot box, and it
18· ·shows the election dates and all of the deadlines of
19· ·the elections processed for the year 2019.
20· · · · Q.· ·Now, on this document, there's a row that says
21· ·"Date of the election" with certain dates in it.
22· · · · · · ·Do you see that?
23· · · · A.· ·I do.
24· · · · Q.· ·Okay.· And then the following row is "Type of
25· ·election."· Do you see that?


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·1· · · · A.· ·Yes.
·2· · · · Q.· ·Okay.· And I want to just focus on the type of
·3· ·election being gubernatorial primary and gubernatorial
·4· ·general.· Do you see that?
·5· · · · A.· ·I do.
·6· · · · Q.· ·On this document, there's -- I do not see the
·7· ·words "State" -- or "Louisiana State Senate" or
·8· ·"Louisiana State House."
·9· · · · · · ·Does the Louisiana State Senate and the
10· ·Louisiana State House share dates with the
11· ·gubernatorial primary?
12· · · · A.· ·Yes.
13· · · · Q.· ·Do you know -- just because I'm curious -- why
14· ·only gubernatorial primary appears on this document?
15· · · · A.· ·Because that's the title of the election.· The
16· ·gubernatorial primary and the gubernatorial general is
17· ·the title of the election.· It doesn't list out
18· ·everything that's running.· It wouldn't say, "State
19· ·rep, State Senate, BESE, PSC."· It's one title.
20· · · · Q.· ·Okay.· And how many different offices are
21· ·included under this one title?· Do you know?
22· · · · A.· ·I could get that information for you, but I'm
23· ·not -- off the top of my head, no, I don't.· It would
24· ·include the -- it would include the regularly called
25· ·scheduled elections, any special elections that the


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·1· ·governor has called, prompts and constitutional
·2· ·amendments.
·3· · · · Q.· ·But do you recall in 2019, how many elections
·4· ·were on the ballot in October -- on October 12th and
·5· ·November 16th -- well, let's just -- let's take it
·6· ·separately -- on October 12th?
·7· · · · A.· ·No.· I'd have to go back and look at that
·8· ·information.
·9· · · · Q.· ·Let's talk a little bit about the qualifying
10· ·dates.· And I'm going to ask a kind of pre-question,
11· ·which is, is there a nominating period before
12· ·qualifying dates, or are there just qualifying dates?
13· ·And let's use this October 12, 2019, election example.
14· · · · A.· ·Okay.· So the October 12th date, there's a --
15· ·you can qualify by nominating petition, and you would
16· ·have to have gotten that nominating petition 120 days
17· ·prior to qualifying.
18· · · · Q.· ·Are there other ways to qualify?
19· · · · A.· ·You can qualify in person.· You can qualify by
20· ·agent affidavit.· And that's it.
21· · · · Q.· ·And what is involved in the in-person
22· ·qualifying procedure?
23· · · · A.· ·You have to go to the clerk of court's office
24· ·if it's a local race, or you go to the Secretary of
25· ·State's office if it's a state race.· You're required


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·1· ·to complete the qualifying form.· They do this in the
·2· ·ERIN system, and then you'd have to pay your qualifying
·3· ·fee.· It's notarized, and you're provided with an
·4· ·ethics packet.· And you're basically qualifying for --
·5· ·to be a candidate in the election.
·6· · · · Q.· ·And what is required of the agent affidavit
·7· ·qualifying procedure?
·8· · · · A.· ·The -- if you qualify by agent affidavit, you
·9· ·are basically signing off that you're allowing somebody
10· ·to bring in the information for you, and it's
11· ·notarized, and they're able to submit your qualifying
12· ·form.
13· · · · Q.· ·And do you know how many folks you see
14· ·nominating petition for -- to qualify versus the
15· ·in-person or agent affidavit option for state
16· ·elections?
17· · · · A.· ·Off the top of my head, no.· I only -- what I
18· ·can speak to is I've received calls asking how to get
19· ·the nominating form and what date is the deadline to
20· ·turn it back in.· But I wouldn't be able to tell you
21· ·who all has done it and which parishes have it, that
22· ·type of thing.· I'd have to research that.
23· · · · Q.· ·And is there any difference between who can
24· ·qualify by nominating petition and who can qualify in
25· ·person or by agent affidavit?


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·1· · · · A.· ·I don't understand the question.
·2· · · · Q.· ·So if someone wanted to run for state office,
·3· ·can they decide that they want to run by nominating
·4· ·petition or in person and agent affidavit, or can only
·5· ·certain folks use the in-person and agent affidavit
·6· ·method?
·7· · · · A.· ·No.· Anybody can request the nominating
·8· ·petition.
·9· · · · Q.· ·And can anyone qualify in person?
10· · · · A.· ·Sure.· Sure.· If you want to qualify for a
11· ·race, you can go in in person.
12· · · · Q.· ·And anyone can qualify by agent affidavit?
13· · · · A.· ·If they have the right documentation, they can
14· ·submit the agent affidavit.
15· · · · Q.· ·And what type of documentation would someone
16· ·need?
17· · · · A.· ·For the agent affidavit?· They'd have to have
18· ·a notarized --
19· · · · Q.· ·Yes, ma'am.
20· · · · A.· ·-- form that's from the Secretary of
21· ·State's -- there's one on the Secretary of State's
22· ·website.
23· · · · Q.· ·And it's a notarized form authorizing an
24· ·agent?
25· · · · A.· ·Yes.


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·1· · · · Q.· ·On what type of form would someone need to
·2· ·fill out to qualify in person, not via an agent?
·3· · · · A.· ·So the form is actually in ERIN.· They go into
·4· ·ERIN, and they qualify in ERIN.· There is a manual copy
·5· ·of the form in the event of power outages or something
·6· ·like that.· But the process is entered into the ERIN
·7· ·system, and then they're provided with a certified copy
·8· ·of their qualifying form, certified and notarized.
·9· · · · Q.· ·And do you know what type of information
10· ·someone would need to qualify via the in-person process
11· ·in ERIN?
12· · · · A.· ·They have to have their name, their
13· ·domiciliary address, their mailing address, their
14· ·email, their phone number.· It has their board and
15· ·precinct.· It's basically information for qualifying
16· ·for the race.
17· · · · Q.· ·And then you said that qualifying for state
18· ·races occurs at your office; is that correct?
19· · · · A.· ·Qualifying for state -- for statewide races
20· ·occurs at our office or --
21· · · · Q.· ·Statewide, okay.
22· · · · A.· ·Right.· Reps and senators are local.
23· · · · Q.· ·That is helpful.
24· · · · · · ·And do you know -- are you aware of what
25· ·information is done to verify the qualifying


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·1· ·information of reps and senators?
·2· · · · A.· ·So we are ministerial only, and the clerks of
·3· ·court are ministerial only.· We do not determine
·4· ·whether you meet any qualifications or guidelines or
·5· ·anything like that.· If you come in and you want to
·6· ·qualify for a race, we accept your qualifying fee, and
·7· ·we accept your entry of your form, and you are
·8· ·officially qualified.· It's not up to us to determine
·9· ·whether you actually meet the guidelines of that
10· ·office.
11· · · · Q.· ·Does anyone do that check, that you're aware
12· ·of?
13· · · · A.· ·To my knowledge, nobody does that check.· But
14· ·when you qualify for an office and you -- you don't
15· ·live in the district or you don't meet the guidelines
16· ·or you owe ethics fees, then people file for objection
17· ·to candidacy generally.
18· · · · Q.· ·And when does the objection-to-candidacy
19· ·period occur?· Because I don't see it on this --
20· · · · A.· ·No.· That's a legal --
21· · · · Q.· ·-- on this calendar.
22· · · · A.· ·Right.· That's a legal process, and it's -- it
23· ·starts the day after qualifying, and it goes through --
24· ·it's seven days after.· So the deadline to object, I
25· ·believe, is seven days following qualifying.


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·1· · · · Q.· ·Do you know how the qualifying deadline is
·2· ·set?
·3· · · · A.· ·I have no idea.· The legislature sets it.
·4· · · · Q.· ·And do you have any understanding of why the
·5· ·qualifying deadline is set at a certain date?
·6· · · · A.· ·I don't know why they set it at that date.
·7· ·I know what we have to accomplish in the time frame
·8· ·between qualifying and the actual election, but that
·9· ·doesn't necessarily mean that's how they set that date.
10· ·I have no idea how they set that date.
11· · · · Q.· ·Just generally -- and then I think we can take
12· ·our lunch break.· I think you mentioned that -- what do
13· ·you have to do between the qualifying period and the
14· ·election?
15· · · · A.· ·Between the qualifying period and the
16· ·elections, we go through objections to candidacy, we go
17· ·through a withdrawal deadline for the race, we begin
18· ·programming, and that's programming for three separate
19· ·systems, your absentee by mail, your early voting in
20· ·person, and your election day ballots.· You also have
21· ·the ranking ballots for military and overseas.
22· · · · · · ·And then after you go through the programming
23· ·in the process, you are also testing all of the
24· ·programming databases, making sure that they work.· You
25· ·are uploading the information to the state's printer,


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·1· ·who has to have the time to print the absentee and
·2· ·election day ballots.· And you are screenshotting every
·3· ·ballot for an early voting machine, and then once
·4· ·they're certified, you are releasing the ballots to the
·5· ·parishes.· That is what the State does.
·6· · · · · · ·There is a completely separate list of
·7· ·things that the registrar of voters are doing after
·8· ·qualifying, the clerks of court are doing after
·9· ·qualifying, the warehouse staff after qualifying.
10· ·It's -- there's a lot of procedures.· The parish board
11· ·of election supervisors has procedures that they have
12· ·to follow.· But for the State, that was what we do.
13· ·And we conduct early voting.· We conduct election day
14· ·as part of the process.
15· · · · · · · · · MS. THOMAS-LUNDBORG:· All right.                 I
16· · · · · · ·think we're going to get into some of that
17· · · · · · ·after our lunch break.
18· · · · · · · · · · · ·(Recess taken.)
19· ·BY MS. THOMAS-LUNDBORG:
20· · · · Q.· ·I just want to go back to a few questions
21· ·about changes in districts.
22· · · · · · ·So if there's no changes to the precinct, how
23· ·long does it take to update a voter's voting district
24· ·in the ERIN system if the district has changed?
25· · · · A.· ·I would need to ask my Business and Service


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·1· ·division that question because I don't know what would
·2· ·be involved in the proofing process if there's no
·3· ·change in the lines but the district itself changed.                  I
·4· ·do know that they would do their portion and the
·5· ·registrar would do their portion, but I'd need to ask
·6· ·that question.
·7· · · · Q.· ·Once the change is inputted, do you know how
·8· ·long it takes to provide voters notice of this change?
·9· · · · A.· ·Yes.· So once it's put into the ERIN system
10· ·and then the proofing following your input of data into
11· ·the ERIN system is completed and then confirming
12· ·there's no election cycle in process or anything that's
13· ·going on that would prevent the cards from going out,
14· ·they -- the information is uploaded to State Printing,
15· ·and USPS gives us an average of 15 days for delivery.
16· ·That came from our regional Washington manager at USPS.
17· · · · Q.· ·So just taking the process from changes put in
18· ·and then it goes to USPS, how long does that take?
19· · · · A.· ·That's what I'll have to check.· If there was
20· ·no changes to the lines or anything, I'd have to find
21· ·that out.
22· · · · Q.· ·Do you recall that -- whether your office sent
23· ·notices to voters about congressional districts in
24· ·2022?
25· · · · A.· ·Yes.· Anybody that had a district change was


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·1· ·notified by -- the ERIN system automatically generates
·2· ·the cards -- I mean, generates the notice to State
·3· ·Printing, who print the cards to have them shipped.
·4· · · · Q.· ·And do you recall, with the congressional map
·5· ·in 2022, how long it took from getting the new map to
·6· ·mailing voters?
·7· · · · A.· ·In 2022, I believe that the voters were
·8· ·notified by June or July, but I'd need to go back and
·9· ·refresh my memory.
10· · · · Q.· ·And then for the upcoming election, the 2023
11· ·election, have voters been notified yet?
12· · · · A.· ·Yes, absolutely.
13· · · · Q.· ·And when did that take place?
14· · · · A.· ·The cards went out over the summer.· Specific
15· ·parishes that were later -- later in the process of
16· ·submitting their ordinances -- so of course, if you
17· ·submitted your ordinance in April, then your cards went
18· ·out beginning of, you know, May, end of May, somewhere
19· ·around there depending on how extensive it was.· It
20· ·depends on exactly what type of changes were made.
21· · · · · · ·But -- and those -- those ordinances -- if
22· ·Acadia submitted an ordinance and they only changed
23· ·one district, of course it makes a difference in the
24· ·amount of time.· So as far as the State and Senate
25· ·cards going out, I believe that everyone was notified


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·1· ·by July 13.
·2· · · · Q.· ·And you said everyone was notified by
·3· ·July 13th.· Why do you think it was by July 13th?
·4· · · · A.· ·Because two of the parishes were really upset
·5· ·over the United States Postal Service delay.· They knew
·6· ·that everything had been completed, but yet their
·7· ·voters were calling, saying, "We haven't received
·8· ·anything by the end of June."· We contacted the USPS
·9· ·representative, and we sent them a list of all of the
10· ·problems that we were having.· And from what I
11· ·understand, we delayed canvass until July 13th, and
12· ·the voters had been notified by that point.
13· · · · Q.· ·And you just said "we delayed canvass."· What
14· ·do you mean by "canvass"?
15· · · · A.· ·Each year, the State conducts a canvass
16· ·process.· It has to be done by a specific date.
17· ·Basically, we were -- for our canvass process, we were
18· ·comparing your voter information to the USPS change of
19· ·address, NCOA, and voters are mailed cards in that
20· ·process to confirm if they -- if they're not
21· ·NCOA-verified, if you're not verified at the address,
22· ·then they're mailed their card saying, "You have been
23· ·identified as someone who potentially has moved in
24· ·parish or out of state," et cetera, and they're tasked
25· ·with returning the information to the registrar of


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·1· ·voters.
·2· · · · Q.· ·I'd like to go back to Exhibit -- Exhibit 12.
·3· · · · A.· ·Hold on.· I'm sorry.· I went the other way.
·4· ·Okay.· I'm there.
·5· · · · Q.· ·Okay.· The canvass deadline is not on -- in
·6· ·this calendar, correct?
·7· · · · A.· ·That's right.· Because this calendar is an
·8· ·elections calendar.· It's not -- it's not a task of
·9· ·everything that the department is required to do.
10· · · · Q.· ·I have a -- oh, I have another question.                  I
11· ·have -- I wanted to ask you just one more follow-up
12· ·question about the qualifying procedures.
13· · · · · · ·For folks who qualify or attempt to qualify
14· ·via nomination, would that be recorded in ERIN?
15· · · · A.· ·A nominating petition?· I don't believe so.
16· ·I believe that'd be -- would be recorded with the
17· ·registrar of voters and the legal division, but I'm not
18· ·positive.· I would need to get you the answer for that
19· ·question.
20· · · · Q.· ·Would your office at any point receive
21· ·information regarding who had nominated for State
22· ·Senate or State House of Representatives through
23· ·nominating petition?
24· · · · A.· ·The registrar of voters is tasked with
25· ·confirming the signatures on the nominating petition.


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·1· ·So some petitions require 100 signatures.· Some require
·2· ·1,000 signatures.· Some require 500 signatures or 400
·3· ·signatures.· So that being said, once the registrar
·4· ·completes their verification process, then they would
·5· ·have to submit that as something to be qualified for.
·6· ·I'm not sure if they submit it to the clerk or if it's
·7· ·a local office because the clerk does that qualifying
·8· ·for the local office or for a statewide office, the
·9· ·State.
10· · · · Q.· ·But for the State House and State Senate, it
11· ·sounds like it would go to the clerk.· But once that
12· ·process was done, would you -- would your office
13· ·receive a record of that process?
14· · · · A.· ·I can ask.· I can ask our legal division.                   I
15· ·don't know that.
16· · · · Q.· ·I have another just question about the
17· ·qualifying period.· What if the qualifying period is
18· ·closed?· Do you know if it can be reopened?
19· · · · A.· ·The only way a qualifying period would be
20· ·reopened is in instances of emergencies.· So let's say
21· ·you qualified on the 8th, 9th, and 10th, but Hurricane
22· ·Katrina hit on the 10th.· Well, then the governor -- we
23· ·have a statute that allows the secretary of state to
24· ·work with the governor on an emergency certification
25· ·that would allow for qualifying to be open for one


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·1· ·additional day if the day was interfered with that was
·2· ·at the original time.
·3· · · · Q.· ·I have a question.· I'm going to introduce two
·4· ·exhibits.· It's going to be a lot of exhibit work for a
·5· ·simple question, but let's go through the process.
·6· ·This is the only way this legally thing works.
·7· · · · · · · · · MS. THOMAS-LUNDBORG:· So I'm going to
·8· · · · · · ·have marked as Exhibit 13 what I have labeled
·9· · · · · · ·as Exhibit R, as in "Rick," Molly, and then as
10· · · · · · ·Exhibit 14, S as in "Sam."
11· · · · · ·(Exhibits No. 13 and 14 were marked for
12· · · · · ·identification.)
13· · · · · · · · · MS. GARYANTES:· Thirteen and 14 have
14· · · · · · ·been introduced.
15· · · · · · · · · MS. THOMAS-LUNDBORG:· Great.· Thank you.
16· ·BY MS. THOMAS-LUNDBORG:
17· · · · Q.· ·Ms. Hadskey, if you could, just take a second
18· ·to look over those two.
19· · · · A.· ·Okay.
20· · · · Q.· ·I'm going to just ask you about -- in 14, just
21· ·one slide.· You don't have to spend all that time on
22· ·it.· You just have to kind of look at it, scroll
23· ·through, see if it --
24· · · · A.· ·It still -- it still hasn't come up yet.· It
25· ·says, "Generating file."· May take a while.


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·1· · · · Q.· ·Okay.
·2· · · · A.· ·Sorry.
·3· · · · Q.· ·That one is a long one, so I'm not surprised.
·4· ·While -- well, let's let that generate.
·5· · · · A.· ·It's still loading.
·6· · · · Q.· ·That's fine.· I have a five-year-old and
·7· ·almost two-year-old.· I've learned patience.
·8· · · · A.· ·Okay.· For some reason on my -- the first
·9· ·document shows up fine, the email.· The second document
10· ·completed loading, and it says, "Page 1 of 115," but
11· ·it's completely black.· And when I scroll down, it's
12· ·all black.· And then I tried to go out and come back
13· ·in, and I tried to refresh, and it's still black.· Let
14· ·me see.· Let me try -- let me try double-clicking on it
15· ·one more time.· Let's see what happens.
16· · · · Q.· ·Okay.
17· · · · A.· ·That's not it.· Okay.· Page 1, page 2.· Nope,
18· ·it's solid black.· It's not coming through.
19· · · · Q.· ·Interesting.· Let's --
20· · · · A.· ·Could it be --
21· · · · Q.· ·I'm going to email -- I can see it fine on my
22· ·end, and I do not have a great computer.· So I will --
23· ·why don't we put a pin in this set of questions.· I'm
24· ·going to email the Veritext folks, see if they -- they
25· ·can help us with what's going on.


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·1· · · · A.· ·Okay.· Try one more time.
·2· · · · · · · · · MS. THOMAS-LUNDBORG:· Actually, Molly,
·3· · · · · · ·could you email them about this issue?
·4· · · · · · · · · MS. GARYANTES:· Absolutely.
·5· · · · · · · · · MS. THOMAS-LUNDBORG:· Thank you.
·6· · · · · · · · · THE WITNESS:· It's really strange
·7· · · · · · ·because every other thing came through fine,
·8· · · · · · ·and this one shows page 1 of 115, but the
·9· · · · · · ·screen is absolutely black.
10· · · · · · · · · MS. THOMAS-LUNDBORG:· We will circle
11· · · · · · ·back to it.
12· · · · · · · · · THE WITNESS:· Okay.
13· ·BY MS. THOMAS-LUNDBORG:
14· · · · Q.· ·I like looking at things when I ask questions,
15· ·so it's just a follow-up.· I'm reopening the qualifying
16· ·period, and if we don't get to it today, it's not the
17· ·end of the world.
18· · · · · · ·I have a -- I have another question, though,
19· ·about the qualifying period, and maybe it'll kind of
20· ·help us in the meantime.· When there's a special
21· ·election, do you know who is responsible for setting
22· ·the candidate qualifying deadline?
23· · · · A.· ·Yes.· The legislature, the speaker of the
24· ·House or the president of the Senate.
25· · · · Q.· ·And do you have any involvement in the setting


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·1· ·of the qualifying candidate deadline --
·2· · · · A.· ·We try --
·3· · · · Q.· ·-- for --
·4· · · · A.· ·We try and make recommendations to them for a
·5· ·date -- a proposed date, but they don't always take the
·6· ·recommendation.· And sometimes there's things that --
·7· ·they're responsible for calling the election, so
·8· ·sometimes there's things that we're not privy to about
·9· ·the election that they need it done by a specific date.
10· ·So we follow whatever it is that they would like done.
11· · · · Q.· ·Do you know if -- if you are aware of whether
12· ·they have any policies or procedures around setting the
13· ·qualifying deadline for a special election?
14· · · · A.· ·No.· I don't know what their -- I don't know
15· ·why it's listed as three days.· I mean, it's a statute.
16· ·The legislature determined that.
17· · · · Q.· ·And then as far as during the candidate
18· ·qualifying period when -- when candidates come to
19· ·qualify, do you know what staff time is needed for that
20· ·period?
21· · · · A.· ·"Staff time" meaning to do each one, or staff
22· ·time for the day?· It's -- we --
23· · · · Q.· ·Staff time to -- devoted to candidate
24· ·qualifying?
25· · · · A.· ·So it all depends on how many candidates come


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·1· ·in to qualify.· For the PPP election last time in 2020,
·2· ·New Orleans had 296 people qualify in those three days.
·3· ·You're busy, busy, busy, busy, as opposed to an
·4· ·election where there's maybe only 20 parishes that have
·5· ·an election, and of those, nine have candidate races.
·6· ·Well, then those nine parishes will be busy, but it
·7· ·wouldn't be as busy as a presidential or a
·8· ·gubernatorial.· So it depends on the election and
·9· ·depends on the number of candidates.
10· · · · Q.· ·If we could, go back to exhibit -- if we
11· ·could, go back to what is Exhibit 12.
12· · · · A.· ·Okay.· I'm there.
13· · · · Q.· ·I have, when I look at Exhibit 12, a big arrow
14· ·over a piece of text I want to ask you about.· Let's
15· ·see if I can -- oh, here we go.· Now we're cooking.
16· ·All right.· So -- I'm going to ask this question.
17· ·Okay.
18· · · · · · ·So I think you -- earlier today, you testified
19· ·that you spoke to the folks in business services about
20· ·ballot design.· Is that correct?· Those are the folks
21· ·that handle ballot design?
22· · · · A.· ·Business and services handles the ballot
23· ·information, such as the candidates, their candidate
24· ·numbers, the races, the order the races appear.
25· ·Operations does the ballot design, except for.· So we


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·1· ·design -- operations designs the ballots for paper, and
·2· ·they design the ballots for the early voting machines.
·3· ·The AVC election day machines, which have been in our
·4· ·state since 1991, that ballot overlay is done by
·5· ·Business and Services and sent to the printer.
·6· · · · Q.· ·So I'm going to try to get these various
·7· ·types -- so AVC would be what I would think of as the
·8· ·election day paper ballot?
·9· · · · A.· ·Election day voting machine with a big, huge
10· ·oversized poster board paper ballot that's put on the
11· ·face of the machine and covered by a mylar.
12· · · · Q.· ·Yes.· Okay.· And familiar with that type of
13· ·ballot, so it's the election day ballot.· I might say
14· ·"election day."· You might say "AVC."· But we're
15· ·talking about the same thing?
16· · · · A.· ·That's correct.
17· · · · Q.· ·And then in addition to that, there is the
18· ·absentee ballot.· And does the absentee ballot -- is it
19· ·different depending on whether it's military and
20· ·overseas, which sometimes was referred to as the
21· ·UOCAVA, or not?· Or do they get the same absentee
22· ·ballot as at-home -- other absentee folks?
23· · · · A.· ·So both and all.· So if you are a military and
24· ·overseas person, you receive a paper A ballot.· That is
25· ·an absentee ballot, and it likes exactly like everybody


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·1· ·else's ballot.· But your second ballot that you get is
·2· ·a ranking ballot because there's not enough time
·3· ·between a primary and a general for you to be mailed
·4· ·another ballot and get it back by the deadline.· So
·5· ·you're given an A ballot and an R ballot, R for
·6· ·"ranking."· And those ballots -- your ranking ballot
·7· ·is the one that's tabulated for the general election
·8· ·if you're military and overseas.
·9· · · · · · ·There's also a -- there's also the ability to
10· ·get, if you're military and overseas, a ballot out of
11· ·the ERIN system to try and get it to the military
12· ·timely and back.· And that ballot looks more like the
13· ·ranking ballot.· It does not look like the A ballot
14· ·that -- that you would receive.· If you're a regular
15· ·voter, your absentee ballot for the general election
16· ·looks just like your primary.
17· · · · Q.· ·Okay.
18· · · · A.· ·For federal elections, there's a provisional
19· ·ballot.
20· · · · Q.· ·And then the AVC election day ballot, is that
21· ·the same for election day and the early voting period?
22· · · · A.· ·No.· The early voting machine is a touchscreen
23· ·machine.
24· · · · Q.· ·And is there any kind of paper form that goes
25· ·with the early voting --


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·1· · · · A.· ·No.
·2· · · · Q.· ·-- balloting process?· Okay.
·3· · · · · · ·So I'm going to try to just take these in
·4· ·turn, get the timeline.· Let's start with -- let's
·5· ·start with the UOCAVA military/overseas ballot.· By
·6· ·what date do those ballots need to be designed to be
·7· ·sent to the printer?
·8· · · · A.· ·If they are -- if it is a federal election,
·9· ·then we're required to meet the 45-day federal
10· ·deadline.· And in order to meet that deadline,
11· ·immediately after qualifying and after the withdrawal
12· ·period, the ballots are -- the candidates are uploaded
13· ·into the ballot information, and then the ballots are
14· ·designed, and they are proofed.· And then they are
15· ·printed and/or uploaded into ERIN, and then they are
16· ·sent by that 45-day deadline.· They have to, prior to
17· ·that.
18· · · · · · ·And then if it's not a federal election and
19· ·it's a state election, we're still required to get
20· ·those out as quickly as possible.· The 30-day close of
21· ·books is the last time you can register for the
22· ·election, and -- in person.· And so by that point, the
23· ·ballots have to be on -- be mailed.
24· · · · Q.· ·And then -- so in the period before these
25· ·ballots are sent off, how much time does your office


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·1· ·spend in designing and printing the military/overseas
·2· ·ballots?
·3· · · · A.· ·So once qualifying is complete, we try to get
·4· ·that process done in a three-week time frame.· If it's
·5· ·a massively big election, we don't always make that
·6· ·deadline.· Or if there are any type of problems, we
·7· ·don't always make that deadline.· Problem being like
·8· ·one that we have right now where an objection to
·9· ·candidacy has been filed on the governor's race.· Well,
10· ·we can't design the ballot until the courts determine
11· ·what the answer is to that situation.· So it pushes our
12· ·whole schedule back because the judge can order the
13· ·name to be on the ballot, and the judge could order the
14· ·name to be off the ballot.· And that particular person
15· ·can actually file in the appellate court, and then they
16· ·can file in the supreme court.
17· · · · Q.· ·Okay.· And so I'm going to ask a similar
18· ·question about the nonmilitary/overseas absentee
19· ·ballots.· When do those get sent out?
20· · · · A.· ·So those are -- we program and we design and
21· ·we proof, and then we send them to the printer.· The
22· ·printer only prints a test deck and folded samples.
23· ·And what that means is the military and overseas
24· ·ballots are hand tabulated.· The absentee ballots,
25· ·which there's a massive number, those are scanned.


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·1· · · · · · ·So the printer prints the test deck.· When the
·2· ·test deck comes back to the secretary of state, it has
·3· ·to be test scanned to know that it's counting and
·4· ·tabulating correctly.· If everything is great and it
·5· ·works and it's approved, then the printer get a release
·6· ·notification that they can send the ballots to the
·7· ·registrar of voters for that parish.· If there's a
·8· ·problem with the ballot, if there's a print problem or
·9· ·any other type of problem, then it has to be
10· ·reprogrammed and resent, and a new test deck comes
11· ·back, and the process starts over.
12· · · · Q.· ·So in 2022, the most kind of recent general
13· ·election cycle, when were the absentee ballots printed?
14· · · · A.· ·Depends on the parish.· So if I program Acadia
15· ·and Allen, then the printer would print Acadia and
16· ·Allen.· And then the next day, if I had Caldwell,
17· ·Calcasieu, and Winn, then the printer would do those.
18· ·So the mailing process is over an extended period of
19· ·time.
20· · · · Q.· ·And give us a ballpark.· How long is that time
21· ·so that I can better understand?· UOCAVA's process is
22· ·obviously very regimented in that it's -- you're trying
23· ·to get them out 45 days in federal and 30 days for
24· ·nonfederal elections.· Is there a similar cutoff or
25· ·timeline for the non-overseas absentee ballots?


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·1· · · · A.· ·Absolutely.· We're doing everything we can to
·2· ·get them out as quickly as possible because you don't
·3· ·want to give anybody a short window of time to vote and
·4· ·return their ballot to meet the deadline of returning
·5· ·it.· So in general, from the time that qualifying ends
·6· ·and then the withdrawal period ends to the time -- to
·7· ·the week before early voting, that is the window of
·8· ·time that we're doing everything we can to get the
·9· ·ballots out.
10· · · · Q.· ·Okay.· So the goal is to get all of the
11· ·ballots out the week -- at least the week before early
12· ·voting?
13· · · · A.· ·All parishes, right.· But they may go out
14· ·earlier depending on when the parish was programmed.
15· · · · Q.· ·And generally, are you working on the absentee
16· ·ballot printing and designing in the whole period from
17· ·qualifying to the week before early voting?
18· · · · A.· ·Yes.· We're working on that along with many
19· ·other elections tasks.
20· · · · Q.· ·Okay.· Now let's switch to the design of the
21· ·ballot for early voting.· Those are not printed,
22· ·correct?· It's programmed into a machine, I believe was
23· ·your earlier testimony.· If I've got it wrong --
24· · · · A.· ·No.
25· · · · Q.· ·-- feel free to correct me.


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·1· · · · A.· ·That's right.· It's -- the programming is in
·2· ·the machine.· It -- the screenshot of the ballot looks
·3· ·similar to the absentee ballot, but you're looking at
·4· ·it on a screen.
·5· · · · Q.· ·Okay.· And what is the timeline like for that
·6· ·early voting reading the ballot?
·7· · · · A.· ·That -- they start programming those, again,
·8· ·right after the deadline to withdraw.· And the only
·9· ·thing that holds you up is your objections to
10· ·candidacy, so you're trying to wait for those courts to
11· ·resolve that issue.· And the absolute last date that
12· ·the ballots -- the early voting machine ballots should
13· ·go out is the week before early voting begins.· That
14· ·week is called test and seal.· That's when the ballots
15· ·are loaded onto the parish machines.
16· · · · · · ·So they're -- they're programmed and tested on
17· ·machines in the office, and then they're sent to the
18· ·parishes.· And they are tested and uploaded with the
19· ·parish board of election supervisors in a sealing
20· ·process, and then early voting begins directly
21· ·following.
22· · · · Q.· ·So the test-and-seal process happens the week
23· ·before early voting, and then early voting happens?
24· · · · A.· ·That's correct.
25· · · · Q.· ·And then I'm going to ask the same questions


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·1· ·about actual election day, the AVC ballots.· What is
·2· ·the process like for those?
·3· · · · A.· ·That's a little more complicated.· The ballots
·4· ·are designed, and then our staff programs it.· Once
·5· ·it's programmed, the more -- our printer, Morans, sends
·6· ·us the ballots to begin proofing.· And that is an
·7· ·overlay sheet.· It's a plastic sheet that goes over the
·8· ·ballot, and you're looked to be sure that the buttons
·9· ·are in the right place and the names are in the right
10· ·place and everything is spelled correctly, the
11· ·certifications on it, et cetera.
12· · · · · · ·Once that's completed and the profiting of
13· ·that is done, then the printer is given the go-ahead to
14· ·print the ballots for the parish voting machines.
15· ·They're also printed for the supply packs because
16· ·you're required by law to post a ballot on the wall for
17· ·the voter to review prior to going into the machine.
18· ·So they're printing those.· Those have to be proofed.
19· ·And then they're stuffed into precinct envelopes.
20· · · · · · ·And the goal for that is to also try and
21· ·get that done the week before early voting, I guess.
22· ·Because once those are completed, then they're all
23· ·delivered to each warehouse in the state,
24· ·hand-delivered, and the programming is delivered.· And
25· ·the warehouse staff begins putting all of the ballots


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·1· ·onto the machines, creating the cartridges, doing the
·2· ·vote sends, telling us if there's an audio ballot
·3· ·problem, telling us any kind of problems.· You correct
·4· ·the problems if you find any, but you have to be ready
·5· ·to seal the machines the week of the election.
·6· · · · Q.· ·What do you mean by "seal the machines"?
·7· · · · A.· ·Parish board of elections' supervisors,
·8· ·candidates, and media meet at the warehouse.· Each
·9· ·machine is looked at, reviewed, the public and
10· ·protective count number is confirmed.· Your public
11· ·count is the number of times the machine has been voted
12· ·for that election.· The protective count is the number
13· ·of times the machine has been voted in its lifetime.
14· ·Parish board is tasked with looking at that on each
15· ·ballot, making sure all the information is correct, and
16· ·then signing off on it.
17· · · · Q.· ·And that happens prior to the election?
18· · · · A.· ·Yes, it does.
19· · · · Q.· ·I have a follow-up question about the --
20· ·well, it's more than four, but let's say the four
21· ·buckets of ballots that we've talked about, so the
22· ·overseas/military, the regular absentee, the early
23· ·voting, and the election day ballots.
24· · · · · · ·Other than the difference between the 45 and
25· ·30 days for federal elections and nonfederal elections,


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·1· ·are there any differences in the policies or procedures
·2· ·around ballot design and printing for federal elections
·3· ·and state elections?
·4· · · · A.· ·No.· It's the same process.
·5· · · · Q.· ·And have you ever had ballots that included
·6· ·both federal and state elections?
·7· · · · A.· ·Only when a special circumstance caused that
·8· ·to happen, like the death of a candidate and a special
·9· ·election has to be called in order for the person to be
10· ·seated.· Also, one other difference with the federal
11· ·election is the -- we are required by law to provide
12· ·provisional ballots.· Provisional ballot is similar to
13· ·an absentee ballot, but it only includes the federal
14· ·races, no state races.· So the design and proofing and
15· ·printing of that is an additional task.
16· · · · Q.· ·But you have had circumstances in which there
17· ·has been a special state election of any state office
18· ·and federal election?
19· · · · A.· ·I would have to go back and look.· I do know
20· ·that circumstance could arise.· There's no question
21· ·that it -- it couldn't, but I don't know if I have a
22· ·ballot where that occurred.· I'd have to go back and
23· ·look through all the old elections.
24· · · · Q.· ·I may have some examples, but we'll get there
25· ·when we get there.


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·1· · · · A.· ·I do know there were two federal specials for
·2· ·Cedric Richmond, I believe, and Letlow after the
·3· ·gentleman died of COVID.· But they weren't -- there was
·4· ·nothing else on the ballot except for those races.
·5· · · · Q.· ·I want to circle back to voter mailing.· And I
·6· ·was trying to do this sequentially, but now I'm
·7· ·thinking, after we've talked for a while, voter mailing
·8· ·happens before the ballots go out.· When do -- so that
·9· ·is my thought, and I want to ask you the actual
10· ·question since you're the expert here and not me.
11· · · · · · ·Do you send out any -- and it sounds like you
12· ·do.· But do you send out any voter mailing prior to the
13· ·start of the voting period?
14· · · · A.· ·We send out the -- you mean the mail ballots,
15· ·are they sent prior to the --
16· · · · Q.· ·Other --
17· · · · A.· ·No?
18· · · · Q.· ·Other mailings to the voters.· Not ballots but
19· ·just other mailings to the voters.· Like, for example,
20· ·you're talking about their districts, their voter
21· ·cards.· Are there mailings sent to voters prior to the
22· ·start of the voting period?
23· · · · A.· ·No.· We -- once qualifying is complete, no
24· ·district cards would be going out at all.· The only
25· ·cards that would go out after qualifying would be for


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·1· ·people that registered to vote or people that moved.
·2· ·They would get information in the mail regarding that.
·3· ·That would be your -- your general mailings, not
·4· ·district mailings.
·5· · · · Q.· ·So in general, most of the mailings to voters
·6· ·happen before the qualifying period, but under certain
·7· ·circumstances, voter mailings go out after the voter
·8· ·qualifying period?
·9· · · · A.· ·Yes.· Because you can register to vote all the
10· ·way up until the 30-day close of books.· So those
11· ·people would have to get a voter registration card.
12· ·The only other card that may go out during that time
13· ·would be an emergency polling location change.· So if a
14· ·tree goes through the polling location and the voters
15· ·are going to have to go to a different polling
16· ·location, they're going to get a notification that
17· ·their polling place changed.
18· · · · Q.· ·And then when voter mailings get sent out --
19· ·I'm just talking now about the kind of pre-qualifying
20· ·mailings.· What exactly is sent to voters?
21· · · · A.· ·I believe there are about 12 or 13 different
22· ·types of mailers that the secretary of state and the
23· ·registrar of voters deal with.· Of course,
24· ·redistricting cards, canvass cards, challenge cards,
25· ·felon cards.· So there's a -- various types of cards


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·1· ·that are mailed out to make sure that everyone's voter
·2· ·registration is correct.
·3· · · · Q.· ·And are those cards always sent out as a
·4· ·package, or have they been sent out separately?
·5· · · · A.· ·They can't be sent as a package.· When you do
·6· ·a process in ERIN, you make a change, you're spending
·7· ·that information that you changed.
·8· · · · Q.· ·And is there any overlap in the policies and
·9· ·procedures around sending out mailings for regular
10· ·state elections and special state elections?
11· · · · A.· ·No.· We're sending out the same cards
12· ·regardless.· If you have a special election, there's
13· ·going to be a 30-day close of books; there's going to
14· ·be a 23-day online close of books.· And the people that
15· ·registered in that time should get a voter registration
16· ·card regardless of whether it's a federal election or a
17· ·state election.
18· · · · Q.· ·Okay.· And when are these -- when you're
19· ·sending out mailings to voters, do you know when
20· ·they're sent to the printers?
21· · · · A.· ·Yes.· They're uploaded to the printer, and the
22· ·printer -- it's State Printing under the Division of
23· ·Administration, and they have a log of everything
24· ·that's uploaded.
25· · · · Q.· ·What staff time is needed for voter mailings?


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·1· · · · A.· ·State Printing would have to answer that
·2· ·question on their end, what the task is and how they
·3· ·have to do it.· On our end, the information is entered
·4· ·into ERIN and then uploaded to State Printing.· So it
·5· ·depends on -- it also depends greatly on the number of
·6· ·cards you're sending.· For the last redistricting for
·7· ·state and rep, U.S. -- not U.S. -- regular state and
·8· ·Senate and rep, there was 1.3 million cards mailed.
·9· ·And when that occurred, State Printing got extremely
10· ·overloaded, and the post office got extremely
11· ·overloaded, and it caused delays.
12· · · · Q.· ·But that many cards were sent because it was a
13· ·federal election?
14· · · · A.· ·No.· That many cards were sent because
15· ·redistricting occurred and we had to notify the voters
16· ·of the new districts.
17· · · · Q.· ·And how many -- so, for example, do you know
18· ·how many voter mailings were sent out in 2020?
19· · · · A.· ·No.· I would have to ask State Printing to
20· ·give me that information.
21· · · · Q.· ·I know you said you don't know how many were
22· ·sent out in 2019.
23· · · · A.· ·No, uh-uh.
24· · · · Q.· ·Going back to the early voting period.· When
25· ·does that begin?


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·1· · · · A.· ·The early voting begin date is for a state
·2· ·election.· So for like October 12th, early voting
·3· ·begins on 9/28, two weeks prior to election da, and it
·4· ·ends the Saturday before election day.
·5· · · · · · ·For the November 16th, it starts on 11/2,
·6· ·which is a Friday.· The reason that that happened is
·7· ·because there's a law in place that allows you to start
·8· ·one day early when a holiday falls in the early voting
·9· ·period.· So it starts on Friday, and it ends on the
10· ·next Saturday, but you are not voting on Veteran's Day,
11· ·the Friday -- the observed holiday.· Presidential is
12· ·different.· There's a state law in place that allows
13· ·ten days for early voting.
14· · · · Q.· ·Ten business days or just ten days?
15· · · · A.· ·Ten days.· The only exception is Sunday.· So
16· ·it's -- it includes all of the days of the week except
17· ·for Sunday.
18· · · · Q.· ·And that's only for -- did you say
19· ·presidential or for all federal elections?
20· · · · A.· ·Only presidential.· That's the way the statute
21· ·was passed.
22· · · · Q.· ·So in the projected elections -- and I pulled
23· ·up the calendar, so we can probably just mark that.
24· ·Let's mark it -- give me one second, and I will get it
25· ·up on our screen.


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·1· · · · · · · · · MS. THOMAS-LUNDBORG:· Molly, are you
·2· · · · · · ·still there?· It's okay if she's not.· Molly
·3· · · · · · ·was going to leave us.
·4· · · · · · · · · MS. GARYANTES:· I'm here.
·5· · · · · · · · · MS. THOMAS-LUNDBORG:· But we're going to
·6· · · · · · ·figure out what's going on.· Okay.· Great.
·7· · · · · · · · · Could you pull up Exhibit Q, as in
·8· · · · · · ·"Quaker," and it'll be marked as Exhibit 15.
·9· · · · · · · · · MS. GARYANTES:· Got it.
10· · · (Exhibit No. 15 was marked for identification.)
11· · · · · · · · · MS. GARYANTES:· It's introduced.
12· · · · · · · · · THE WITNESS:· Okay.· It's up.
13· · · · · · · · · MS. THOMAS-LUNDBORG:· Okay.
14· ·BY MS. THOMAS-LUNDBORG:
15· · · · Q.· ·So we were talking about the early voting
16· ·period, and I think you mentioned that for
17· ·presidential, by statute, it's ten days.· So looking
18· ·here, it seems as if the presidential period is --
19· ·it's going to be longer in 2024 than the ten days?
20· · · · A.· ·No.· There's two asterisks there.· "Early
21· ·voting --
22· · · · Q.· ·Okay.
23· · · · A.· ·-- extended due to ACT 365 of the 2021 regular
24· ·session."· So it's ten days, but you --
25· · · · Q.· ·So what does that mean?


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·1· · · · A.· ·Qualifying date -- I'm sorry.· Early voting
·2· ·dates extended due to the act, so it's ten days.· But
·3· ·10/18 through 10/29 includes the Sunday, and we don't
·4· ·vote on Sunday.
·5· · · · Q.· ·Let's move on.· Okay.· I'm going to mark
·6· ·something else.
·7· · · · · · · · · MS. THOMAS-LUNDBORG:· Molly, if you
·8· · · · · · ·could, pull up what is Exhibit M, as in
·9· · · · · · ·"Mary," that I'd like to mark as Exhibit 16.
10· · · · · · · · · MS. GARYANTES:· Okay.
11· · · (Exhibit No. 16 was marked for identification.)
12· · · · · · · · · MS. GARYANTES:· Sixteen is introduced.
13· · · · · · · · · THE WITNESS:· Okay.· I have it up.
14· ·BY MS. THOMAS-LUNDBORG:
15· · · · Q.· ·Great.· Do you recognize this document?
16· · · · A.· ·Yes.
17· · · · Q.· ·What is it?
18· · · · A.· ·It's the calendar, the elections calendar for
19· ·the year 2023.
20· · · · Q.· ·And this is something that I pulled up, the
21· ·Secretary of State website.· What is the primary date
22· ·for the upcoming 2023 election?
23· · · · A.· ·October the 14th.
24· · · · Q.· ·And do you know how that primary date was set?
25· · · · A.· ·No, I do not.· It's set in statute.· The


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·1· ·election dates and the procedure to determine the dates
·2· ·are set in statute.
·3· · · · Q.· ·And do you know if there are going to be any
·4· ·special elections on the ballot this year?
·5· · · · A.· ·For the October 14th election, the governor
·6· ·called several special elections on the actual
·7· ·October 14th day.
·8· · · · Q.· ·And did you have any involvement in the
·9· ·calling of special elections for this upcoming -- this
10· ·upcoming election?
11· · · · A.· ·Absolutely not.· The governor is the person
12· ·that calls them.· The parish -- the parish has
13· ·vacancies that occur.· Somebody steps out of a seat to
14· ·take another job, somebody passes away, that type of
15· ·thing.· And depending on the laws that govern the
16· ·parish, they may have a home rule charter or something
17· ·that gets involved.· But a determination is made based
18· ·on dates in the statute as to where the special will
19· ·occur.
20· · · · Q.· ·I think I want to go through just a couple
21· ·more elections.· So looking here -- sorry.· Before we
22· ·leave this election calendar, it looks like this -- for
23· ·the primary, the early vote period is seven days?
24· · · · A.· ·9/30 to 10/7 without Sunday.· So that's
25· ·correct, seven days.· It's Saturday, skip Sunday,


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·1· ·Monday, Tuesday, Wednesday, Thursday, Friday, Saturday.
·2· · · · Q.· ·And do you know who sets how long the early
·3· ·voting period will last?
·4· · · · A.· ·The legislature.
·5· · · · Q.· ·And then do you know who sets the period
·6· ·between the end of early voting and election day?
·7· · · · A.· ·The end of early voting and election day?
·8· ·That's set in statute as well.
·9· · · · Q.· ·And do you have any knowledge of why there's a
10· ·week between the end of early voting and election day?
11· · · · A.· ·I don't know why they set that.· I don't know
12· ·what the reasoning was behind that.· I know the tasks
13· ·that we accomplish during that time, but we're forced
14· ·to because of the dates that were established in
15· ·statute.
16· · · · Q.· ·And what tasks do you accomplish between early
17· ·voting and election day?
18· · · · A.· ·You bill the precinct registerers.· You are
19· ·still receiving absentee ballots.· You are selecting
20· ·absentee commissioners for the tabulation process.
21· ·You are delivering the books to the warehouses and
22· ·sealing the machines.· And there's many other
23· ·ministerial things that the registrars and clerks do
24· ·during that time prior to election day, in that week.
25· · · · Q.· ·And do you have any knowledge of what those


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·1· ·tasks are that the clerks and registrars are doing at
·2· ·that time?
·3· · · · A.· ·I can tell you some of them, but I would -- I
·4· ·wouldn't want to say I'm the end-all on that.· They
·5· ·would need to provide that information.
·6· · · · Q.· ·Which ones are you aware of?
·7· · · · A.· ·So I do know that they seal the machines at
·8· ·the voting machine warehouses.· And during that time
·9· ·frame, they're also trying to fill commissioner slots
10· ·where people can't work, and they've already drawn them
11· ·to work, so they've got to have somebody in their
12· ·place.
13· · · · · · ·For early voting, there's tabulation.· There's
14· ·a process called preparation and verification, and that
15· ·is where they identify every mail ballot, check it off
16· ·of a list in ERIN, and confirm that they have all mail
17· ·ballots present and accounted for before they start the
18· ·tabulation process on Saturday.
19· · · · · · ·Also, clerks are delivering supplemental
20· ·lists.· So if your mail ballot was accepted on Tuesday
21· ·and the books are printed the Saturday night, Sunday
22· ·before, then they have a supplemental list so that your
23· ·name will appear on election day to prevent anybody
24· ·from trying to fraudulently vote.
25· · · · · · ·Also, on the Friday before the election, the


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·1· ·clerks of court are tasked with confirming that every
·2· ·voting machine is delivered to every precinct, every
·3· ·polling location.· And then, of course, there's state
·4· ·laws around if you want to file a challenge.· It's
·5· ·called a pre-file challenge.· You can file it four days
·6· ·prior to the election.· They're accepting that.· So
·7· ·that's just some of them.
·8· · · · · · · · · MS. THOMAS-LUNDBORG:· Was someone coming
·9· · · · · · ·in?
10· · · · · · · · · THE WITNESS:· I coughed.· I'm so sorry.
11· · · · · · · · · MS. THOMAS-LUNDBORG:· Running on little
12· · · · · · ·sleep and young people.· I can't tell if it
13· · · · · · ·was a cough or another noise.· Okay.
14· ·BY MS. THOMAS-LUNDBORG:
15· · · · Q.· ·I want to get back to the mailing of ballots.
16· ·I'm sorry.· We're kind of moving back and forth,
17· ·inevitably happens at a deposition.
18· · · · · · ·Before the UOCAVA or the overseas/military
19· ·ballots, we talked a little bit about the process for
20· ·printing them and sending them out.· What staff time is
21· ·needed to work on the UOCAVA ballots?
22· · · · A.· ·So the UOCAVA ballots are going to the
23· ·registrar of voters, and they are tasked with
24· ·assembling the ballots, putting in all of the
25· ·instructions, going through and making sure that they


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·1· ·have the right address for the person that they're
·2· ·sending them to.· They enter the information into ERIN,
·3· ·the date that the ballot was mailed and who it is to
·4· ·and the way that it was mailed.
·5· · · · · · ·And then when the ballot comes back in after
·6· ·it's been voted, they have to document that information
·7· ·in ERIN as well.· The date that the ballot was
·8· ·returned, how it was returned, was it hand-delivered,
·9· ·or was it received in mail, all of that is in ERIN.· So
10· ·for a larger parish, you may be dealing with 26,000
11· ·ballots in that two-week time frame to get all of that
12· ·entered.· It's quite tasking.· And for the absentee
13· ·ballots, it's the same.
14· · · · Q.· ·For entering information into ERIN about the
15· ·ballots, does it -- is there any difference depending
16· ·on the number of elections on the ballot, or does that
17· ·not matter for the ERIN process?
18· · · · A.· ·So the ERIN process -- the entering into ERIN,
19· ·it doesn't matter.· The assembling of the ballots, it
20· ·matters.
21· · · · Q.· ·Okay.
22· · · · A.· ·The larger number of pages in an absentee
23· ·ballot, the easier it is to have human error when
24· ·you're trying to assemble them with all of the other
25· ·documents that go into the envelope to get it out.


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·1· · · · Q.· ·Okay.· And so moving on to regular absentee.
·2· ·What is the staff time needed to put together and mail
·3· ·regular absentee ballots?
·4· · · · A.· ·Regular absentee ballots, it depends on the
·5· ·parish, and it depends on the number that you're trying
·6· ·to mail.· For East Baton Rouge, Orleans, Jefferson,
·7· ·Caddo, the larger parishes, it can take a week.· Some
·8· ·parishes, it's taken three weeks depending on the
·9· ·number of requests.· And that's working all of your
10· ·absentee commissioners.· That's working your -- all of
11· ·your registrar of voters employees, and Secretary of
12· ·State staff jumps in and helps when necessary, trying
13· ·to get them out.
14· · · · Q.· ·And does the staff time differ depending on
15· ·the number of elections on the ballot?
16· · · · A.· ·Yes, because you may be assembling another
17· ·page.· The ballots that are delivered to the parishes
18· ·are not assembled.· The state printer has already
19· ·stated that they don't have enough time to do that, nor
20· ·do they have the manpower.· It's an extensive process.
21· · · · Q.· ·So other than assembling an additional page,
22· ·is there any other way with having additional elections
23· ·on a ballot would increase staff time?
24· · · · A.· ·No.
25· · · · Q.· ·Now moving...


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·1· · · · A.· ·I do want to say that the more -- the larger
·2· ·the ballot -- the larger the ballot, the more costly it
·3· ·is.· It costs more to mail them.· It costs more to make
·4· ·the screenshots for the larger ballots for the ICX
·5· ·early voting machines.· It is more expensive if you
·6· ·have a larger ballot.
·7· · · · Q.· ·Okay.· So I want to -- Molly might still be
·8· ·here.
·9· · · · · · · · · MS. GARYANTES:· Yep, I'm here.
10· · · · · · · · · MS. THOMAS-LUNDBORG:· I did not
11· · · · · · ·introduce 17.· I would like to introduce U,
12· · · · · · ·as in "umbrella," as 17.
13· · · · · · · · · MS. GARYANTES:· Okay.
14· · · (Exhibit No. 17 was marked for identification.)
15· · · · · · · · · MS. GARYANTES:· It's introduced.
16· · · · · · · · · MS. THOMAS-LUNDBORG:· Thank you.
17· · · · · · · · · THE WITNESS:· Okay.· It just came up.
18· ·BY MS. THOMAS-LUNDBORG:
19· · · · Q.· ·Great.· Do you recognize this document?
20· · · · A.· ·I do.· It's a -- it was recently provided for
21· ·our -- on our website as a security document.
22· · · · Q.· ·Okay.· And I think you've gone through
23· ·additional tasks that happened related to absentee
24· ·ballots.· So I would like to just go through some of
25· ·the tasks here in this document, and I'm just going to


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·1· ·ask you one question about it.
·2· · · · A.· ·Okay.
·3· · · · Q.· ·So one of the things it says that registrars
·4· ·do is track the number of sent and received ballots,
·5· ·verify they're pulling one ballot per voter, and
·6· ·clearly mark any replacement ballots.
·7· · · · · · ·Do you see that?
·8· · · · A.· ·I do.
·9· · · · Q.· ·Does the number of elections on the ballot
10· ·affect this part of task work, just the one in this
11· ·bullet point?
12· · · · A.· ·Okay.· So what's confusing about this bullet
13· ·point is that a ballot can be ten pages.· A ballot can
14· ·be one page, front and back.· A ballot can be four
15· ·pages front and back.· So when you say "a ballot,"
16· ·you're talking about the complete and entire ballot no
17· ·matter how many pages it is.· So the longer the ballot,
18· ·the more difficult it is to assemble, proof, make sure
19· ·that they did only get -- they didn't get two page 2s;
20· ·they only got one page 2 of the assembled ballot.
21· ·And making --
22· · · · Q.· ·Right.· But I -- and I'm sorry to cut you off,
23· ·but I really would like to focus on the task just in
24· ·this bullet.· I know we talked about additional tasks.
25· · · · · · ·But the tracking of the number of ballots sent


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·1· ·and received, does that -- does staff time depend on
·2· ·how many elections are on the ballot to track the
·3· ·number of ballots sent and received?
·4· · · · A.· ·Yes, because as you're doing your daily tasks,
·5· ·you are voting people, you are conducting nursing home
·6· ·voting, you are working early voting.· The mail ballots
·7· ·are coming in, so you know what you mailed out because
·8· ·you entered it into ERIN.
·9· · · · · · ·But as the ballots are coming in that day in
10· ·trays and you may receive seven trays, which would be
11· ·close to 3- or 4,000 ballots, each one of those has to
12· ·be entered into ERIN.· And you had to have a request to
13· ·match the one that was returned, the information has to
14· ·match, and it takes a lot more time.
15· · · · Q.· ·And why does it take more time?· If I'm
16· ·entering -- just looking at a document and it's one
17· ·versus like a stack of documents, why would it take
18· ·more time to enter just -- if you're putting in the
19· ·voter information and not the election information into
20· ·ERIN?
21· · · · A.· ·In general, the larger -- the larger
22· ·elections, the larger number of ballots, the larger
23· ·number of races that pull out voters and have -- we
24· ·have more requests, then the more time it's going to
25· ·take to process them.· Does that make sense?


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·1· · · · Q.· ·Okay.· Could you quantity how much more time
·2· ·that would take?
·3· · · · A.· ·No.· I'd have to -- I'd have to look into --
·4· ·and not only could I not quantify it, it depends on the
·5· ·staff that you have.· If you're in a registrar's office
·6· ·with ten seasoned staff members, of course it's going
·7· ·to take you a little bit less time than if your in a
·8· ·registrar's office that has four new people and two
·9· ·people out on FMLA.· I mean, it just depends.
10· · · · Q.· ·Verifying there's only one ballot per voter.
11· ·Would the number of elections on the ballot affect this
12· ·task, how much time it takes to do this task?
13· · · · A.· ·Again, you're simply dealing with pages.· So
14· ·if I'm going to send a ballot to somebody and I have to
15· ·have four pages, because the ballot is longer, because
16· ·there's more candidates, then I've got to make certain
17· ·that I'm assembling the correct four pages together to
18· ·send that voter only one ballot, whereas on a smaller
19· ·ballot with fewer races and it's only one page and it's
20· ·front and back or it's only two pages and it's front,
21· ·back, front, you're not -- your risk for error is not
22· ·there as much.
23· · · · Q.· ·Okay.· And could you quantify how much time --
24· ·how much more time it would take to do -- verifying
25· ·that there's only one ballot per voter?


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·1· · · · A.· ·That's a case-by-case basis on the registrar
·2· ·of voters office.
·3· · · · Q.· ·And then I'm going to ask the same two
·4· ·questions about clearly mark any replacement ballots.
·5· ·Would it take more time to do that depending on the
·6· ·number of elections?
·7· · · · A.· ·So replacement ballots are complicated.· The
·8· ·replacement ballot -- the individuals that are
·9· ·requesting a replacement ballot for the cure process,
10· ·they have to come in in person, and they have to cure
11· ·their ballot in order to have that work.· As far as,
12· ·like, the replacement process in ERIN, if you spoil
13· ·your ballot and you request another ballot as a
14· ·replacement, the documentation in ERIN has to be put
15· ·in for that particular voter.
16· · · · Q.· ·And would the work change based on how many
17· ·elections are on the ballot for them to mark any
18· ·replacement ballots?
19· · · · A.· ·The larger the election, the more people that
20· ·are involved.· And the better turnout is, the more that
21· ·you have to do.
22· · · · Q.· ·And could you quantify how much more you would
23· ·have to do?
24· · · · A.· ·Again, that's on the registrar of voters and
25· ·their staff.


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·1· · · · Q.· ·And I want to circle back to something that
·2· ·you testified about a bit ago, that it'd be more costly
·3· ·with a larger ballot.· Can you quantify how much more
·4· ·costly that would be?
·5· · · · A.· ·Yes.· Recently, a few of the registrar voters
·6· ·were telling me that if you only -- they were weighing
·7· ·it for postage purposes, and they took two previous
·8· ·ballots and put it into an envelope, and then they took
·9· ·three previous ballots and put them into an envelope.
10· ·They tried the letter-sized ballots and the legal-sized
11· ·ballots, and when you got to the -- to the additional
12· ·page, the postage went up by $0.27.
13· · · · · · ·So on the average, if you're mailing ballots
14· ·and the initial cost is $0.55, then it's going to go
15· ·up $0.27 more.· And the cost to mail the ballots would
16· ·be -- for the last presidential, I want to say there
17· ·was 170,000.· That's an approximate.· I'd have to go
18· ·back and look.· But 170,000 mailed ballots.· And if
19· ·they're three pages long, you're looking at
20· ·70-something cents a piece to mail them.
21· · · · Q.· ·And when is it determined that an additional
22· ·page is needed?· Would adding two elections to a ballot
23· ·require an additional page?
24· · · · A.· ·It just depends on how it's -- how the layout
25· ·comes out and what else is on the ballot.· So I can


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·1· ·give you a good example of that.· In St. Tammany
·2· ·Parish, in one election, they called for 12 parish-wide
·3· ·props.· So if you have a lot of parish-wide props, you
·4· ·have constitutional amendments, and you have quite a
·5· ·large number of candidate races, it makes a difference.
·6· · · · Q.· ·But would it necessarily be the case that if
·7· ·you added two elections to a ballot, then the ballot
·8· ·would need an additional page?
·9· · · · A.· ·It just depends on where it falls on the
10· ·ballot.· It depends on -- there's a lot of factors
11· ·involved about that, how the ballot is built.· There's
12· ·a legal order that the races have to appear on the
13· ·ballot.
14· · · · Q.· ·I'd like to ask, going back to the exhibit,
15· ·about bullet two.· It says, "The Secretary of State
16· ·staff perform logic and accuracy testing on the vote
17· ·tally equipment in a public meeting."
18· · · · · · ·Do you see that?
19· · · · A.· ·That's correct.· Yes.
20· · · · Q.· ·Okay.· And does the performance of logic and
21· ·accuracy testing depend on how many elections are on
22· ·the ballot?
23· · · · A.· ·How many candidate races?
24· · · · Q.· ·Yes.
25· · · · A.· ·Yes.· So yes, you're -- when you're creating


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·1· ·the logic and accuracy test, if it's an absentee
·2· ·ballot, you're hand marking those ballots for each race
·3· ·and each candidate.· And then you're scanning them, and
·4· ·you're proofing to make sure that it tabulated
·5· ·correctly.· If you're doing an ICX machine, a
·6· ·touchscreen machine, you are hand voting or vote
·7· ·simulation voting these races.· The more races you
·8· ·have, the additional amount of time it takes to -- to
·9· ·run those tests and to confirm that everything is
10· ·accurate.
11· · · · Q.· ·And can you quantify how much more time that
12· ·would take?
13· · · · A.· ·I can give you an estimate.· I did -- I tested
14· ·and sealed a parish last year myself, and it was a
15· ·fairly sizable ballot compared to another parish.· And
16· ·it took -- for the machines that were involved, it took
17· ·about an hour longer for that process.· That was for
18· ·early voting machine.· For absentee test decks, it's
19· ·going to be much longer because you have to hand mark
20· ·those.
21· · · · Q.· ·You said it took you an hour more to do
22· ·testing of a parish with more elections on its ballot.
23· ·How many more elections did it have?· What do you mean
24· ·when you say it's kind of sizable --
25· · · · A.· ·Okay.· So for example --


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·1· · · · Q.· ·-- the ballot?
·2· · · · A.· ·For example, this election coming up, in East
·3· ·Baton Rouge Parish, they've got mayors, chief of
·4· ·police.· They've got local races, sheriff, that type of
·5· ·stuff.· But Orleans Parish doesn't have that this time.
·6· ·Orleans municipals run on a different cycle.· They run
·7· ·on a different year.
·8· · · · · · ·So Orleans' ballot, although they do have more
·9· ·reps and senators, wouldn't have as big of a ballot as
10· ·East Baton Rouge, but that swaps on a different
11· ·election.· And it just depends on the parish, and it
12· ·depends on what's running, and it depends on what the
13· ·governor called as a special, et cetera.
14· · · · Q.· ·The next bullet says, "Rejected ballots are
15· ·tracked and the tallied turnout is compared to the
16· ·expected total of ballots after all ballots have been
17· ·scanned.· If the numbers do not much, the parish board
18· ·of election supervisors works diligently to resolve the
19· ·matter."
20· · · · · · ·Do you see that?
21· · · · A.· ·I do.
22· · · · Q.· ·Okay.· I think you can guess what I'm going to
23· ·ask.· Does this bullet -- does this depend on how many
24· ·elections are on the ballot?
25· · · · A.· ·It absolutely can.· Because when you say


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·1· ·rejected ballots are tracked and the total turnout is
·2· ·compared to the expected turnout of ballots, would have
·3· ·been scanned.· If the numbers don't match, the parish
·4· ·board is working to resolve it.· If part of that
·5· ·process in resolving it is that seven of the ballots
·6· ·were torn and the scanner won't accept them and four of
·7· ·the ballots had some sort of marking in the timing mark
·8· ·area, then they're tasked with hand counting those
·9· ·ballots.· If you have to hand count a ballot that has
10· ·more races on it, it definitely takes more time.
11· · · · Q.· ·And can you quantify that amount of time?
12· · · · A.· ·Depends on how big the ballot is, and it
13· ·depends on the people that are doing the hand count --
14· ·the hand count process, you may have -- you may have a
15· ·group of people who are a little bit faster at that
16· ·process than another group of people of parish board
17· ·members that are not.
18· · · · Q.· ·And could you quantify how much time it would
19· ·take to count two additional candidates on a ballot?
20· · · · A.· ·I can't do that without knowing what else is
21· ·on the ballot and who it is that's actually doing the
22· ·process.
23· · · · Q.· ·All right.· The next bullet reads that
24· ·"Ballots must be returned by 4:30 p.m. the day before
25· ·the election."


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·1· · · · · · ·Is there anything about this bullet that is
·2· ·dependent on the number of elections --
·3· · · · A.· ·No.
·4· · · · Q.· ·-- on the ballot?
·5· · · · A.· ·No.· It's just a hard deadline for when they
·6· ·have to be returned.
·7· · · · Q.· ·I think we can do one more exhibit similar to
·8· ·this one, then take a break.· And then hopefully we
·9· ·have just another two hours.· Maybe we take another
10· ·short break, and then we wrap it up.· But I am getting
11· ·closer to the end.· But let's try to work through this
12· ·next exhibit before taking our afternoon break.
13· · · · · · · · · MS. THOMAS-LUNDBORG:· Can -- Molly is
14· · · · · · ·there.· She's ready.
15· · · · · · · · · MS. GARYANTES:· I'm here.
16· · · · · · · · · MS. THOMAS-LUNDBORG:· Can we do as
17· · · · · · ·Exhibit 18 what I'd like to mark as
18· · · · · · ·Exhibit V -- or sorry, reverse that.· I would
19· · · · · · ·like to mark as Exhibit 18 what I have as V,
20· · · · · · ·as "Victoria."
21· · · (Exhibit No. 18 was marked for identification.)
22· · · · · · · · · MS. GARYANTES:· Eighteen is introduced.
23· · · · · · · · · MS. THOMAS-LUNDBORG:· Great.
24· · · · · · · · · THE WITNESS:· Okay.· I can see it.
25· ·BY MS. THOMAS-LUNDBORG:


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·1· · · · Q.· ·Do you recognize this document?
·2· · · · A.· ·Yes, yes.
·3· · · · Q.· ·And what is this document?
·4· · · · A.· ·This is the measures to keep early voting
·5· ·safe.
·6· · · · Q.· ·Okay.· So I know that you can guess where
·7· ·we're going.· I'm going to try to do this quickly
·8· ·because I know it's towards the end of the day.
·9· · · · · · ·We're actually not going to go through all
10· ·these bullets.· I would like to skip to the middle of
11· ·the page.· There's a bullet that starts with "At the
12· ·end of each day of early voting."
13· · · · A.· ·Okay.
14· · · · Q.· ·Are you there?· The first --
15· · · · A.· ·Yes.
16· · · · Q.· ·-- there are a couple of bullets that say
17· ·that, but the first one.· Okay.· So I will just read
18· ·the bullet and then ask you questions about it.
19· · · · · · ·"At the end of the day of early voting,
20· ·registrars of voters' employees verify that the number
21· ·of signatures in the poll book match the number of
22· ·voters that were checked in."
23· · · · A.· ·Correct.
24· · · · Q.· ·Okay.· Does the work related to this bullet
25· ·depend on the number of elections on the ballot?


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·1· · · · A.· ·It depends on the number of people that turned
·2· ·out to vote on those elections.
·3· · · · Q.· ·Okay.· And then the next bullet also begins
·4· ·with "At the end of each day of early voting, Registrar
·5· ·of Voters employees verify that the number of
·6· ·signatures in the poll book and the public and
·7· ·protective equipment counters match."
·8· · · · · · ·Do you see that?
·9· · · · A.· ·Yes.
10· · · · Q.· ·And does this work depend on the number of
11· ·elections on the ballot?
12· · · · A.· ·It depends on the number of people that turned
13· ·out to vote on those elections.
14· · · · Q.· ·And then the next bullet reads, "Every morning
15· ·of early voting, Registrar of Voter employees again
16· ·verify the public and protective counters and analyze
17· ·each tamper evidence seal for any tampering or breaks."
18· · · · · · ·Do you see that?
19· · · · A.· ·Yes.
20· · · · Q.· ·And does that depend on the number of
21· ·elections on the ballot?
22· · · · A.· ·No, it does not.
23· · · · Q.· ·And then the next bullet reads, "On the night
24· ·of the election after early voting has concluded, the
25· ·Parish Board of Election supervisors verify early


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·1· ·voting equipment, public and protective counters, and
·2· ·verify that the seals have not been tampered with.
·3· ·They then verify the seal numbers."
·4· · · · · · ·Does that depend on the number of elections on
·5· ·the ballot?
·6· · · · A.· ·No.· That's a verification process by the
·7· ·Parish Board of Election supervisors.· And they're not
·8· ·looking at the races; they're only looking at the
·9· ·public and protective counters.
10· · · · · · · · · MS. THOMAS-LUNDBORG:· All right.                   I
11· · · · · · ·think we can take our afternoon break and come
12· · · · · · ·back at 3:00 my time, 2:00 your time.
13· · · · · · · · · · · ·(Recess taken.)
14· ·BY MS. THOMAS-LUNDBORG:
15· · · · Q.· ·And I'd like to start with Exhibit 14.· So
16· ·when you're ready, if you could, go to the page -- so
17· ·before we do that, just do you recall our discussion
18· ·about Exhibit 14 as an attachment to an email that you
19· ·were on?· And maybe we should actually -- before we get
20· ·into Exhibit 14, let's just go back to Exhibit 13.
21· · · · A.· ·Okay.· Okay.· Yes, I see that.
22· · · · Q.· ·Okay.· And there are a number of attachments
23· ·to this exhibit -- I mean, to this email, and one of
24· ·them is what we're going to look at as 14.· This is
25· ·just to kind of lay the foundation of what we're


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·1· ·looking at.
·2· · · · A.· ·Okay.
·3· · · · Q.· ·The question is -- this is a "refresh your
·4· ·recollection" question.· So now if you move to the page
·5· ·that has SOS_00561.
·6· · · · A.· ·Okay.· I'm there.
·7· · · · Q.· ·Okay.· And my question was about reopening
·8· ·candidate qualifying period.· And I believe your
·9· ·previous testimony was the candidate qualifying period
10· ·could only be open for one day -- one additional day.
11· ·And I want to understand, at least, if you know how
12· ·this provision relates to that.· Because my --
13· · · · A.· ·I do.
14· · · · Q.· ·Yes?
15· · · · A.· ·I do.· So first of all, in an emergency, if --
16· ·when I use that example, if one day was shut down due
17· ·to bad weather, then they could do an emergency
18· ·certification to open it back up.· But if two days were
19· ·shut down due to bad weather -- let's say an ice storm
20· ·comes through and two of the days of qualifying
21· ·couldn't be utilized because roads were closed or
22· ·whatever.· Certification would say we're going to add
23· ·two days.· In other words, it's a three-day period, and
24· ·you get three days.· So if anything emergency-wise
25· ·closed it, you could have the additional days based on


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·1· ·the emergency certification, so that's one thing.
·2· · · · · · ·The second thing, this reopening of
·3· ·qualifying -- so if everyone qualifies during the
·4· ·qualifying period and you are midstream of the election
·5· ·or you're -- it's the week of the election and a
·6· ·candidate dies in the race, it automatically reopens
·7· ·qualifying for that one race.· And if anyone qualifies,
·8· ·the race is canceled for that primary election, and
·9· ·your general becomes a primary, and a date five weeks
10· ·after that becomes the general.· That's a death of a
11· ·candidate.
12· · · · Q.· ·So if a candidate --
13· · · · A.· ·So that's why --
14· · · · Q.· ·-- dies after the ballots had been printed, it
15· ·then moves to the general?
16· · · · A.· ·If the candidate dies after the ballots have
17· ·been printed -- well, even if the candidate died before
18· ·the ballots had been printed, they're going to reopen
19· ·qualifying.· And if one person qualifies, then it's --
20· ·it would depend on the time frame as to whether it
21· ·would become the primary or the general.· But nine
22· ·times out of ten, the candidate's death happens in the
23· ·middle of the election cycle, and the primary is
24· ·canceled, the general becomes the primary, and a new
25· ·general date is selected.


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·1· · · · Q.· ·Okay.· I'm going to pull up -- we lost Molly,
·2· ·so now I'm going to be the exhibit person, so you're
·3· ·going to have to give me a minute.· I want to do just
·4· ·one more election calendar, or maybe two.
·5· · · · · · · · · MS. GARYANTES:· (Indiscernible.)
·6· · · · · · · · · MS. THOMAS-LUNDBORG:· That's okay.                    I
·7· · · · · · ·started it.· I thought you had left.
·8· · · · · · · · · MS. GARYANTES:· Okay.· Sounds good.
·9· · · · · · · · · MS. THOMAS-LUNDBORG:· All right.· I have
10· · · · · · ·now uploaded what is going to be marked
11· · · · · · ·Exhibit 19.
12· · · (Exhibit No. 19 was marked for identification.)
13· ·BY MS. THOMAS-LUNDBORG:
14· · · · Q.· ·Let me know when you have it.
15· · · · A.· ·Okay.· It's spinning.· Okay.· It's up.
16· · · · Q.· ·If you look at the bottom corner below the
17· ·exhibit stamp, there's another SOS number.
18· · · · · · ·Do you see that?
19· · · · A.· ·Yes.· SOS_000427.
20· · · · Q.· ·Yes, 427 and 426.· This is another document
21· ·that was produced to us by the Secretary of State.· So
22· ·if you -- now just scroll through this document, and
23· ·if you could, tell me if you are familiar with the
24· ·document.
25· · · · A.· ·I know what type of document it is, but I


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·1· ·notice that it's dated for 2016, the election in 2016.
·2· · · · Q.· ·Okay.· And what type of election was this in
·3· ·2016, according to the document?
·4· · · · A.· ·Chronological table for a special election for
·5· ·House District 29, part of EBR and WBR, East Baton
·6· ·Rouge and West Baton Rouge.
·7· · · · Q.· ·And what do you understand this to be an
·8· ·election for?
·9· · · · A.· ·For one of the House seats, House of
10· ·Representative District 29.
11· · · · Q.· ·And that's a Louisiana State House?
12· · · · A.· ·Yes, that's the way I read it.
13· · · · Q.· ·Okay.· And this would be -- and it says it's a
14· ·special election.· So I'm just going to ask you a
15· ·couple of questions about the timeline in this
16· ·document.· It looks like --
17· · · · A.· ·Okay.
18· · · · Q.· ·-- according to the document, the qualifying
19· ·period was three days, as we discussed, March 7th, 8th,
20· ·9th of 2016.· Does that appear to be correct?
21· · · · A.· ·Yes, that's what this document says.
22· · · · Q.· ·And then the primary was a month after the
23· ·close of -- the close of the qualifying period on
24· ·April 9, 2016?
25· · · · A.· ·Yes.


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·1· · · · Q.· ·And then the general was just a little over a
·2· ·month after that?
·3· · · · A.· ·That's correct for these two parishes.
·4· · · · Q.· ·Yeah.· And are you --
·5· · · · A.· ·And I don't know --
·6· · · · Q.· ·Go ahead.
·7· · · · A.· ·I would have to look at this to see if there
·8· ·was anything else running at that time or not.· I'm not
·9· ·familiar with this particular election.
10· · · · · · · · · MS. THOMAS-LUNDBORG:· Molly, if you are
11· · · · · · ·still on, I have one more to introduce.· Could
12· · · · · · ·we introduce Exhibit --
13· · · · · · · · · MS. GARYANTES:· Absolutely.· Which one
14· · · · · · ·is it?
15· · · · · · · · · MS. THOMAS-LUNDBORG:· Exhibit O.
16· · · · · · · · · MS. GARYANTES:· Okay.
17· · · · · · · · · MS. THOMAS-LUNDBORG:· And that will be
18· · · · · · ·Exhibit No. 20.
19· · · (Exhibit No. 20 was marked for identification.)
20· · · · · · · · · MS. GARYANTES:· Exhibit 20 has been
21· · · · · · ·introduced.
22· · · · · · · · · MS. THOMAS-LUNDBORG:· Thank you.
23· · · · · · · · · THE WITNESS:· Okay.· It's up.
24· ·BY MS. THOMAS-LUNDBORG:
25· · · · Q.· ·Okay.· If you look at the kind of bottom


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·1· ·corner, it has another SOS number.
·2· · · · · · ·Do you see that?
·3· · · · A.· ·Yes, 000432.
·4· · · · Q.· ·I believe the first page is 430 and then it
·5· ·goes to 431, 432, 433, and 434.
·6· · · · A.· ·Hold on.· My -- wait.· My first page is 432,
·7· ·and then the next one is 433, and the last one is 434.
·8· · · · Q.· ·Interesting.· Could you look at it on
·9· ·Mr. Walsh's computer?
10· · · · A.· ·Sure, sure.· Exhibit 20.· Okay.· All right.
11· ·Let's see.· Exhibit 20.· Okay.· On Mr. Walsh's
12· ·computer, it starts with 430, 431, 432, et cetera.· So
13· ·this one, it did not start that way.
14· · · · Q.· ·Okay.· So we're now on the same page.· So
15· ·maybe just look at Mr. Walsh's computer --
16· · · · A.· ·His computer, yeah.
17· · · · Q.· ·-- to make sure we're looking at the same
18· ·version of the document.
19· · · · A.· ·Okay.
20· · · · Q.· ·At the top of the first page here, can you
21· ·read what the -- what the title is?
22· · · · A.· ·"Chronological Table Special Election House
23· ·District 58 for Jefferson."
24· · · · Q.· ·I believe it's 85.· I have the same -- exact
25· ·same tendency as you do.


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·1· · · · A.· ·Oh, sorry, yeah.· Yes.· Yes, 85.· Sorry.
·2· · · · Q.· ·Okay.· And what do you understand this
·3· ·document to reflect?
·4· · · · A.· ·This is the chronological table for a special
·5· ·election called by the legislature in 2016.
·6· · · · Q.· ·And that's for a House legislative district?
·7· · · · A.· ·Correct.· One parish.
·8· · · · Q.· ·Okay.· And looking at the qualifying date,
·9· ·those are June -- again three dates, June 29th,
10· ·June 30th, and July 1st?
11· · · · A.· ·Right.
12· · · · Q.· ·And a little less than a month later, it's the
13· ·primary date of August 6, 2016?
14· · · · A.· ·Yes.· But I believe, if I'm not mistaken --
15· ·and I would have to get the statute for you.· The time
16· ·frame between the elections went from four weeks to
17· ·five weeks legislatively.· And I'm not sure what year
18· ·that occurred, but I know now it is that way.· And I'm
19· ·not sure if that adjusted the qualifying time between
20· ·the primary as well, so we would need to look at that
21· ·statute.
22· · · · Q.· ·But here it looks like, then, the general
23· ·election was a little more than a month later in
24· ·September 10, 2016?
25· · · · A.· ·Right.· And the reason for extending the time


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·1· ·period between the elections in that statute, I do
·2· ·remember that.· It was because when it was only
·3· ·30 days, they ran into a problem with holidays during
·4· ·test and seal where the machines were sealed from the
·5· ·primary, but they were needed for the test and seal
·6· ·process for the general.· And we don't have two sets of
·7· ·machines to attempt to seal another set, so we couldn't
·8· ·conduct the election.· And when that occurred, they
·9· ·adjusted the time frame between.· But I don't remember
10· ·what --
11· · · · Q.· ·Wait.· Between the primary and the general
12· ·election.· Do you recall if there's any rationale for
13· ·changing the period between qualifying and the primary?
14· · · · A.· ·If it was a federal election, you could not do
15· ·this election because there's not 45 days between
16· ·qualifying and August 6th.
17· · · · Q.· ·Right.· But for this election, which is a
18· ·state legislative election, would there be any reason
19· ·to have changed qualifying to primary period?
20· · · · A.· ·No.· What I'm saying is -- I agree.· For this
21· ·particular one, I don't see the reason.· But when they
22· ·adjusted the other law to add the additional week, I
23· ·don't know if they took that into consideration as well
24· ·that this time frame won't work for a federal election
25· ·and adjusted that also.· That would require research.


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·1· ·I'd have to look into that.
·2· · · · Q.· ·Okay.· Now, I believe that we have looked at
·3· ·Exhibit Q, the election calendar for 2024.· Has any
·4· ·work gone into the election calendar for 2027?
·5· · · · A.· ·No.· I don't believe we even have that one on
·6· ·our website.· I could look and see, but I don't believe
·7· ·so.
·8· · · · Q.· ·I looked yesterday, and the only advanced
·9· ·election I saw was 2024.· But if y'all have one that is
10· ·not public yet, I was just curious.
11· · · · A.· ·No.· If it's not on the website, then we don't
12· ·have it.
13· · · · Q.· ·Have you done any work or planning around the
14· ·2027 election?
15· · · · A.· ·No.
16· · · · Q.· ·All right.· I'm going to shift gears somewhat
17· ·to polling place designations.· Who is responsible for
18· ·designating polling places?
19· · · · A.· ·The parish governing authority of each parish
20· ·in the state.
21· · · · Q.· ·And do you have any involvement in that
22· ·process?
23· · · · A.· ·Only when an emergency occurs.
24· · · · Q.· ·And what do you mean by "emergency"?
25· · · · A.· ·Hurricane.· So Hurricane Ida hit, and it


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·1· ·knocked down hundreds and hundreds of polling
·2· ·locations.· The only thing we did was assist by driving
·3· ·around, identifying the ones that were blown off the
·4· ·map, telling the parish people where there's a parking
·5· ·lot maybe available that they could put a tent up.
·6· · · · · · ·But ultimately, they have to go look at that.
·7· ·They have to make the assessment, and they have to make
·8· ·the decision, and they have to do an ordinance.· So
·9· ·it's their decision to make.· But in a devastating time
10· ·like that when their own houses and their mother's
11· ·houses and et cetera are all blown off, we try and
12· ·identify places that they may could use if they wanted
13· ·to consider it.
14· · · · Q.· ·And in nonemergency circumstances, do parishes
15· ·then report to you which polling places have been
16· ·designated?
17· · · · A.· ·The only thing that they do is submit an
18· ·ordinance, and it's our ministerial duty to put the
19· ·information they submit into ERIN, which then goes to
20· ·two different directions.· The first direction it goes
21· ·is to mail the cards to the voters notifying them of a
22· ·new polling place.
23· · · · · · ·And the second direction that it goes is to
24· ·the website so that the GeauxVote app and the other
25· ·portals are updated with the correct information so


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·1· ·that if you were a registered voter and you wanted to
·2· ·find your polling location, you could go to the
·3· ·GeauxVote app, and it would be updated.· But it's
·4· ·strictly a ministerial process.
·5· · · · Q.· ·Do you know whether the same polling places
·6· ·are used for state elections and federal elections?
·7· · · · A.· ·Polling places change every single election.
·8· ·You have precincts that are rented.· You have churches
·9· ·that are used that may have a wedding that's a conflict
10· ·on an election date, and they make a move.· So as long
11· ·as private buildings are being used -- you also have
12· ·circumstances where precincts are merged and you
13· ·don't -- or consolidated, and they have additional
14· ·voters, and the space that the parish governing
15· ·authority selected is not big enough, so they have to
16· ·move it.· So it's a constant moving target.· It's not
17· ·specific to a state election or a federal election;
18· ·it's specific to the election.
19· · · · Q.· ·Okay.
20· · · · A.· ·Are you talking, or are you writing?
21· · · · Q.· ·I was writing and looking at my outline.
22· · · · A.· ·Okay.· I'm so sorry.
23· · · · Q.· ·I printed my outline.· No, it's fine.· I found
24· ·where I want to go next, so we're ready.
25· · · · · · · · · MS. THOMAS-LUNDBORG:· Molly, could I


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·1· · · · · · ·mark as Exhibit 21 what I have labeled Exhibit
·2· · · · · · ·X, as in "xylophone"?
·3· · · · · · · · · I think we lost Molly again.· Okay.· I'm
·4· · · · · · ·going to mark it.· Give me one second.
·5· · · · · · ·Exhibit 21 is now up for you.
·6· · · (Exhibit No. 21 was marked for identification.)
·7· · · · · · · · · THE WITNESS:· Okay.· Okay.· It's up.
·8· ·BY MS. THOMAS-LUNDBORG:
·9· · · · Q.· ·Do you recognize this exhibit?
10· · · · A.· ·I do.· It's security measures for election day
11· ·voting.
12· · · · Q.· ·And this is another document that was taken
13· ·from the Secretary of State's website.· And so we're
14· ·going to talk a little bit about this document and then
15· ·election day in general.· I think we've talked some
16· ·about election day.
17· · · · · · ·But what activities is your office engaged in
18· ·on election day?
19· · · · A.· ·On election day, we are supporting the
20· ·state's elections process.· The opening of the polls is
21· ·conducted by the clerks with their commissioners, but
22· ·our technicians are working the precincts in the event
23· ·of any kind of problem with the voting machine, the
24· ·paper roll is stuck, it won't print, the power button
25· ·is broken, anything like that.· Our technicians are on


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·1· ·call for all 64 parishes, working.· For the secretary
·2· ·of state's staff, we take service calls, and then we
·3· ·support the early voting and absentee tabulation
·4· ·process, and we support the clerk of court transmission
·5· ·process.
·6· · · · Q.· ·Okay.· Focusing on the work that's done by --
·7· ·at your office, does that work increase depending on
·8· ·the number of elections on the ballot?
·9· · · · A.· ·You broke up.· Can you say it again?
10· · · · Q.· ·Yes.· Is the work that your office does, does
11· ·it all depend on the number of elections on the ballot?
12· · · · A.· ·No, it does not.
13· · · · Q.· ·And are you aware of the work that the -- that
14· ·the local parish authorities do on election day?
15· · · · A.· ·I am.
16· · · · Q.· ·And what types of activities are they doing?
17· · · · A.· ·The registrar of voters are answering calls
18· ·all day long from people that have nowhere to go vote
19· ·or they have a problem with their ballot or they can't
20· ·find their voter registration card or they're
21· ·concerned.
22· · · · · · ·Then they are also taking phone calls of
23· ·anyone that says that it's an error, like they
24· ·registered to vote at OMV, DMV, and their registration
25· ·didn't seem to go through, so they're trying to resolve


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·1· ·any issues like that that they may have.· They also are
·2· ·tasked with tabulating the early voting absentee
·3· ·ballots and UOCAVA ballots that day, and it has to be
·4· ·done in one day.· And they finish that out and transmit
·5· ·it to the clerk, who transmits it to our ERIN system.
·6· · · · · · ·The clerks of court are managing the
·7· ·commissioners and all of the calls or problems that
·8· ·they may have at any polling location or precinct.
·9· ·They are also answering voter calls from anyone that's
10· ·got any type of elections problem to report.· And then
11· ·they are tasked with, as a member of the parish board,
12· ·tabulating the early voting and absentee ballots and
13· ·also reading the cartridges on election night.
14· · · · Q.· ·And does that work depend on the number of
15· ·elections on the ballot?
16· · · · A.· ·The only process that would depend on the
17· ·number of elections on the ballot is when they're
18· ·tabulating the ballots.· For all of the ballots that
19· ·would not scan or would not read, they would be hand
20· ·tabulating each race on the ballot, so that would
21· ·potentially give them additional time to complete that
22· ·process.
23· · · · Q.· ·And can you quantify how much additional time
24· ·that would take?
25· · · · A.· ·It would depend on the number of races that


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·1· ·are on that ballot and the people that are doing it.
·2· · · · Q.· ·Going back to what has been marked as
·3· ·Exhibit X.
·4· · · · · · · · · THE REPORTER:· I'm sorry?
·5· · · · · · · · · MS. THOMAS-LUNDBORG:· I'm sorry, not X.
·6· · · · · · ·It's not X.· It's Exhibit 21.
·7· · · · · · · · · THE WITNESS:· Okay.
·8· ·BY MS. THOMAS-LUNDBORG:
·9· · · · Q.· ·Now I'm having difficulty pulling it up.
10· ·Okay.· I'm not going to spend too much time on this
11· ·document, but I do want to ask you some questions.
12· · · · · · ·The only one related to election day is there
13· ·is a bullet in the middle that says, "Trained
14· ·commissioners keep watch at each polling stations."
15· · · · A.· ·That's correct.
16· · · · Q.· ·Okay.· And are those folks Secretary of State
17· ·staff, or are those local parish staff?
18· · · · A.· ·That's the commissioners that are hired by the
19· ·clerk of court to work the elections.· They're paid by
20· ·the Secretary of State, but they are trained and work
21· ·by the clerk of court.
22· · · · Q.· ·And was this work that the commissioners do on
23· ·election day -- would that all -- would that all be
24· ·affected by the number of elections on the ballot?
25· · · · A.· ·No.


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·1· · · · Q.· ·Now, moving away from election day, what
·2· ·involvement does your office have in election results?
·3· · · · A.· ·The results are tabulated.· Our staff supports
·4· ·the equipment.· And by supporting the equipment,
·5· ·they're in every parish of the state trying to make
·6· ·sure that there's no problems.
·7· · · · · · · · · · ·(Brief interruption.)
·8· · · · · · · · · THE WITNESS:· I'm sorry?
·9· · · · · · · · · MS. THOMAS-LUNDBORG:· Sorry.· Someone is
10· · · · · · ·off of mute.· I don't know where that came
11· · · · · · ·from.· It wasn't from me.
12· · · · · · · · · THE WITNESS:· Oh, okay.
13· · · · A.· ·So they are -- they are tabulating for that
14· ·process, and those results are uploaded into the
15· ·Secretary of State system.· Election night, we're
16· ·supporting as well.· Any problems, we jump in and
17· ·assist.· The clerks submit the votes into the ERIN
18· ·system, also, and once that's all submitted and
19· ·transmitted to the Secretary of State, it's on the
20· ·website as well for people to view.
21· ·BY MS. THOMAS-LUNDBORG:
22· · · · Q.· ·And I believe there are a couple of bullets
23· ·that get to this, so let's just read them.· There's a
24· ·bullet that begins with "Results are transferred"?
25· · · · A.· ·Yeah.


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·1· · · · Q.· ·Do you see that?
·2· · · · · · ·We're almost done.· I think we have an hour,
·3· ·if that.
·4· · · · A.· ·Okay.
·5· · · · Q.· ·"Results are transferred" --
·6· · · · A.· ·-- "over a secure private monitored network
·7· ·to the Secretary of State's office."· That's correct.
·8· ·They're uploaded into our system.· And that is the ERIN
·9· ·system.
10· · · · Q.· ·And when does that occur?
11· · · · A.· ·Election night after the polls close at
12· ·8:00 p.m.
13· · · · Q.· ·And then the bullet goes on to say -- sorry,
14· ·not that bullet but another bullet right after that
15· ·that says, "After each transfer of results, the clerk
16· ·of court verifies the correct results were posted to
17· ·the Secretary of State's website."
18· · · · · · ·Do you see that?
19· · · · A.· ·Yes.
20· · · · Q.· ·And when does that occur?
21· · · · A.· ·So each time you have cartridges that are
22· ·brought into the clerk of court's office, there may be
23· ·a section of time where you stop reading cartridges and
24· ·you upload into the Secretary of State's system.· You
25· ·look at your results.· You compare them to the results


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·1· ·that you uploaded in the offline laptop.· It's not
·2· ·connected to the internet.· It's not connected to
·3· ·anything.
·4· · · · · · ·You make sure that the results match, and you
·5· ·make sure the precincts match, and then you continue
·6· ·reading cartridges for the other precincts.· Some
·7· ·parishes will do as many as eight to ten submissions.
·8· ·Some of them do three submissions, but you're proofing
·9· ·throughout the whole process.
10· · · · Q.· ·And how long does that process take?
11· · · · A.· ·Polls close at 8:00 o'clock.· Big massive
12· ·elections, the presidential, we may be done by
13· ·1:00 o'clock in the morning.· Gubernatorials, between
14· ·11:00 and 1:00, I would say, depending on the types of
15· ·problems we may have.· And just small elections, it
16· ·generally can be done by 10:30.
17· · · · Q.· ·Okay.· The next bullet says, [As read]:· "The
18· ·unofficial results that are posted to the Secretary of
19· ·State's website is replicated to present" -- no, sorry.
20· ·Well, is that what I read?· Yes -- "to present -- to
21· ·prevent the manipulation of the original unofficial
22· ·results."
23· · · · · · ·Do you see that?
24· · · · A.· ·I do.
25· · · · Q.· ·Okay.· So I'd like to focus on the publishing


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·1· ·to the Secretary of State's website.· Was this public?
·2· ·What's being discussed in the bullet that I just read,
·3· ·is this a public posting on the Secretary of State's
·4· ·website, or is this posting in ERIN?
·5· · · · A.· ·So the unofficial results are posted in ERIN,
·6· ·and then it's posted to the Secretary of State's
·7· ·website, and it's replicated so you can't manipulate it
·8· ·off of the original unofficial results.· And then
·9· ·there's an audit process and a review process for the
10· ·unofficial results to be compared to what was
11· ·officially done in the parish, and we confirm all of
12· ·that data matches as well.
13· · · · Q.· ·And how long does the audit and review process
14· ·take?
15· · · · A.· ·The audit starts the night of the election,
16· ·and the next day there's a -- there are three levels of
17· ·audit that are completed.· There's a statewide audit
18· ·that is a document where we audit up against what was
19· ·posted to the website and also what was uploaded into
20· ·the laptop.
21· · · · · · ·There's a precinct-by-precinct audit where
22· ·each precinct is looked at, the numbers, the public
23· ·protective count, and the number of voters that get
24· ·history -- their history gets updated saying that they
25· ·did vote in the election.· And then last but not least,


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·1· ·a final audit where we are looking for the turnout
·2· ·tally for each precinct to be sure that every cartridge
·3· ·did read accurately, correctly, and if there were
·4· ·multiple machines, all machine cartridges were read.
·5· · · · · · ·That entire process takes up to a week and a
·6· ·half to two weeks depending on the size of the
·7· ·election.· Occasionally, it's gone over that, and I'll
·8· ·give you an example as to why.· In one of the
·9· ·presidential elections, East Baton Rouge Parish had
10· ·140,000 people that voted.· Each one of those people
11· ·gets wanded -- a bar code is wanded next to their name
12· ·if they signed the book to give them credit for voting,
13· ·and that information has to be proofed.
14· · · · · · ·Generally, the registrar of voters do not have
15· ·space nor do they have funding to hire more than 10 to
16· ·15 people to try and do that process.· So you can
17· ·imagine attempting to wand 140,000 people in that short
18· ·amount of time is not easy, and that's why it takes
19· ·that long.
20· · · · Q.· ·Okay.· And is it only after the audit is
21· ·completed that then the results become public?
22· · · · A.· ·The results are promulgated after the audit is
23· ·completed on a specific legal deadline.
24· · · · Q.· ·Do you know what that deadline is?
25· · · · A.· ·It's a certain number of days following the


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·1· ·election.· The statute says it.· I want to say it's
·2· ·14 days after the election, but I would have to confirm
·3· ·that.· And the -- the elections results are unofficial
·4· ·until the parish board of election supervisors signs
·5· ·off that they are complete, the recount process is
·6· ·done, and it's officially certified.· If an elections
·7· ·contest suit is filed, that can delay it.
·8· · · · Q.· ·I have one question related to staffing and a
·9· ·couple of other follow-up questions, two more exhibits
10· ·for us to look at -- I have three more exhibits for us
11· ·to look at.· Then I think I'm going to be able to send
12· ·you on your way to enjoy the rest of the afternoon.
13· · · · · · ·Related to staffing, when you think about
14· ·staffing in your office, do you staff based on the
15· ·number of elections on a ballot that are coming up?
16· ·Or how do you determine staffing that you'll need?
17· · · · A.· ·There are many factors that go into our
18· ·staffing needs.· So if we are -- as we are about to do,
19· ·implementing a new system while still trying to manage
20· ·an old system, I have to have enough people to be able
21· ·to do that.· And that includes programming, tabulation,
22· ·support, all of the statutes, all of the laws.· It
23· ·includes the ceiling, everything, end to end, so that
24· ·matters.
25· · · · · · ·As far as the programming process, the size of


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·1· ·the election matters as to how many people need to
·2· ·work.· Generally, we work nights and weekends to
·3· ·attempt to pull everything off.· And again, it depends
·4· ·on the size of the election and the number of races
·5· ·that will be running.
·6· · · · · · ·And as far as the registrar's staff goes and
·7· ·the commissioners they hire and the clerk of court
·8· ·staff and the commissioners that they hire, sometimes
·9· ·in the middle of early voting, if they start early
10· ·voting and they realize the turnout is so massive,
11· ·they're understaffed, they try and find people to work
12· ·as quickly as they can that are certified and add them
13· ·to the list.
14· · · · · · ·So as you can imagine, COVID was a disaster
15· ·for us during that time frame, trying to fill positions
16· ·and trying to keep up with the amount of work.· So
17· ·anyway.· But that's basically how staffing needs are
18· ·assessed.
19· · · · Q.· ·Okay.
20· · · · · · · · · MS. THOMAS-LUNDBORG:· I'm going to
21· · · · · · ·introduce two more exhibits.· They're going to
22· · · · · · ·be -- I'll take them one at a time.· This is
23· · · · · · ·going to be Exhibit 21.· I've introduced what
24· · · · · · ·has been marked as exhibit -- sorry.· It
25· · · · · · ·should be Exhibit 22, I think.


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·1· · · (Exhibit No. 22 was marked for identification.)
·2· ·BY MS. THOMAS-LUNDBORG:
·3· · · · Q.· ·And just take a minute to scroll through the
·4· ·exhibit.
·5· · · · A.· ·Is it Exhibit 22?
·6· · · · Q.· ·Yes.· Exhibit 22, please.
·7· · · · A.· ·Okay.· I'm familiar with this document.
·8· · · · Q.· ·Okay.· What is this document?
·9· · · · A.· ·This document was created for the voting
10· ·system commission, and it was created by my staff
11· ·member Nick Meyers to present at the voting system
12· ·commission where we were discussing technology for
13· ·future use in the state of Louisiana.
14· · · · Q.· ·And you see that this exhibit has a -- at the
15· ·bottom -- and this will actually be a good check that
16· ·we're looking at the same document or the same
17· ·version -- it says SOS_00948, as the first page?
18· · · · A.· ·Yes.
19· · · · Q.· ·Okay.· So this is another document that was
20· ·produced to us by the Secretary of State's office.
21· ·It looks like on the very first page, it says,
22· ·"Understanding the voter experience."
23· · · · · · ·Do you see that?
24· · · · A.· ·I do.
25· · · · Q.· ·And it looks like there's a black box here of


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·1· ·redacted text.· Do you have any understanding of what
·2· ·that could have been?
·3· · · · A.· ·I would imagine it has something to do with
·4· ·the -- with the ERIN system information or our actual
·5· ·current voting system information.· That's --
·6· · · · Q.· ·And what is -- what is your current system?
·7· · · · A.· ·So the current voting system information, it
·8· ·would be PII, something directional that would include
·9· ·links to documents and manuals that have PII on them or
10· ·anything like that.
11· · · · Q.· ·If you scroll to the next page, it says, "By
12· ·now, we all know that Act 480 required the production
13· ·of voter-verified paper records."
14· · · · · · ·Do you see that?
15· · · · A.· ·Yes, I do.
16· · · · Q.· ·And there appears to be another redaction box.
17· ·Do you have any understanding of what would have been
18· ·in that box?
19· · · · A.· ·I can't remember what was in that box, but I
20· ·know that they wouldn't have redacted something unless
21· ·it had PII in it in regards to the current voting
22· ·system or in regards to ERIN.
23· · · · Q.· ·Same question on the following page.
24· · · · A.· ·Okay.· All right.· Yeah, I mean, the only
25· ·thing that I can confirm is that I know if it had any


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·1· ·type of reporting information for the ERIN system or
·2· ·any type of reporting information for our voting system
·3· ·currently, that would be redacted.
·4· · · · Q.· ·Okay.· And would challenges of paper -- which
·5· ·is the title of this -- of this particular screen -- be
·6· ·recorded in ERIN or your current voting system?
·7· · · · A.· ·So if somebody was challenged that turned in a
·8· ·ballot, the -- so what he means by this, challenges of
·9· ·paper, he's saying that if we have to store the paper,
10· ·the humidity is a major issue in the state of
11· ·Louisiana.· Our paper jams through printers if you
12· ·leave it in an un-air-conditioned warehouse, which 63
13· ·of our 64 warehouses currently are un-air-conditioned.
14· ·So that's a challenge to us if we try to go to a paper
15· ·system.· The paper cost is expensive.· The storage cost
16· ·is expensive.
17· · · · · · ·So as I was saying before, 140,000 people in
18· ·East Baton Rouge voted in one of the presidential
19· ·elections.· Well, if they each got a three-page ballot,
20· ·three pages of paper times 140,000 -- and that's one
21· ·election, and you're having to store that.· State
22· ·elections have to be stored for six months, but federal
23· ·elections are stored for 22 months.· So you're talking
24· ·about quite a bit of space that would be needed to
25· ·store all of these records.· And then the auditing --


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·1· · · · Q.· ·And -- I'm sorry.
·2· · · · A.· ·Oh, no.· I'm sorry.· The auditing window being
·3· ·too light -- to try and audit paper is very, very
·4· ·complicated in a short amount of time.· You run the
·5· ·risk of human error.
·6· · · · Q.· ·And you mentioned that you-all are moving from
·7· ·a current voting system to another voting system.· Is
·8· ·your new voting system going to involve as much paper
·9· ·balloting?
10· · · · A.· ·So the new voting system is going to have --
11· ·has written into the law a paper audit trail.· So one
12· ·way or the other, if you go and vote on a machine, that
13· ·machine is going to print out some sort of piece of
14· ·paper that your going to review, and then you're going
15· ·to submit it into a scanning device and a box so -- so
16· ·that the voter can audit what they voted on.
17· · · · Q.· ·Okay.· And will there be paper only at the
18· ·back end or at the front end?
19· · · · A.· ·No.· The paper would be -- well, there are
20· ·some systems out there that we'll be looking at that do
21· ·print a ballot on demand, and you would scan that and
22· ·send that through.· So I can't say.· We're in an RFP
23· ·process, and I don't know what system is going to be
24· ·selected.· I know that we're going to look at all
25· ·systems out there.


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·1· · · · Q.· ·Okay.· And when do you imagine that you would
·2· ·have started transitioning to the new system?
·3· · · · A.· ·We're writing the standards right now.· And
·4· ·moving forward, we still have to do an RFP; we have to
·5· ·draft it.· Then we have to have a committee that works
·6· ·with the Division of Administration to select it, and
·7· ·then after it's selected, we go into contract
·8· ·negotiations.· After that, we go into implementation,
·9· ·and we estimated an implementation of the state to take
10· ·approximately three years to complete all 64 parishes.
11· · · · · · ·So my best guess, if I was really, really
12· ·encouraged and feel certain that things would go
13· ·smoothly, we may be able to begin that process with one
14· ·parish in 2024 or two parishes.· But 2025, I believe
15· ·for certain, we will see -- or at least I hope that we
16· ·will see the implementation of several parishes.
17· · · · Q.· ·I think we are done with Exhibit 22.· I'm
18· ·going to show you a new exhibit, Exhibit 23.
19· · · (Exhibit No. 23 was marked for identification.)
20· ·BY MS. THOMAS-LUNDBORG:
21· · · · Q.· ·Exhibit 23 should be introduced on your end.
22· · · · A.· ·Okay.· Okay.
23· · · · Q.· ·If you could, take a minute to look through
24· ·this exhibit.
25· · · · A.· ·It's still spinning.· It should be up any


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·1· ·second.
·2· · · · Q.· ·Okay.
·3· · · · A.· ·Okay.· (Reading indistinctly.)· Okay.· Okay.
·4· · · · Q.· ·Do you recognize this exhibit?
·5· · · · A.· ·It's one of the training exhibits.· For the
·6· ·past three years, we do -- well, in the past, actually,
·7· ·for many years, we do an elections academy in the
·8· ·spring/summertime for the registrar of voters, and then
·9· ·the clerks of court have an institute.· So each year,
10· ·we try and provide reminders and just general
11· ·information to be helpful.· This is one of those
12· ·documents from one of those years.
13· · · · Q.· ·Okay.· And then at the bottom -- again, to
14· ·make sure we're looking at the same version and also
15· ·identifying the record -- the first page I have is
16· ·SOS_00996.
17· · · · A.· ·Yes.
18· · · · Q.· ·Okay.· And so this was another document
19· ·produced to us by the Secretary of State's office.
20· · · · · · ·I just want to skip ahead.· On page ending
21· ·with SOS_000999 -- do you see that page?
22· · · · A.· ·I do.
23· · · · Q.· ·Okay.· And there's a -- the title of this page
24· ·is "Keys to Success."· Do you see that?
25· · · · A.· ·Correct.


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·1· · · · Q.· ·And then there are four bullets that are
·2· ·shown.· And then it looks like the rest of the page is
·3· ·redacted.· Do you have any understanding of what might
·4· ·be in the redacted text?
·5· · · · A.· ·When it starts talking about "remember the
·6· ·legal descriptions and the legal boundaries," I would
·7· ·imagine the information below that was how to enter
·8· ·information into ERIN.
·9· · · · Q.· ·And then voter count report, if you look at --
10· ·which is the following page.· Do you have any
11· ·understanding of what would have been on this page?
12· · · · A.· ·Yeah.· The voter count report, it probably
13· ·would be showing our public and protective counter logs
14· ·out of our elections voting system manual, which has
15· ·PII in it.
16· · · · Q.· ·And PII is personal --
17· · · · A.· ·It's -- yes.· It's information that cannot be
18· ·produced.· It's protected.
19· · · · Q.· ·What does the acronym stand for, PII?
20· · · · A.· ·PII?
21· · · · · · · · · THE WITNESS:· Do y'all know?
22· · · · A.· ·I can't remember.· I'm sorry.· I don't.
23· ·BY MS. THOMAS-LUNDBORG:
24· · · · Q.· ·Do you know what type of information is
25· ·considered PII?


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·1· · · · A.· ·I do.· The mother's maiden name.· Your full
·2· ·social security number.· Your date of birth.· Your
·3· ·phone number is considered PII.· Your email address.
·4· ·Whether or not you are in -- you require disabled
·5· ·accessibility is PII.· Any of the credentials or any
·6· ·of the information on how to use our ERIN system or how
·7· ·to use our voting system is considered PII.· I know
·8· ·it's -- it's -- I'm sorry.· I don't know the full
·9· ·acronym, but it's protected information.
10· · · · Q.· ·The next page is another voter count report,
11· ·and then the following -- which is also redacted.· And
12· ·then there's "Split District Address Cross Reference
13· ·Report."· Do you see that?
14· · · · A.· ·Yes.
15· · · · Q.· ·What is a split district address cross
16· ·reference report?
17· · · · A.· ·So that is in the ERIN system, and there is a
18· ·report that shows split districts that the registrar of
19· ·voters completed.· And in that cross reference report,
20· ·it's trying to show them where they moved people from
21· ·and where they moved people to to help them identify if
22· ·there are problems.
23· · · · Q.· ·And that text has been redacted in this
24· ·document?
25· · · · A.· ·Yes.· I know that that report, for sure,


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·1· ·has information in it.· The split district report shows
·2· ·individual voters' information.
·3· · · · Q.· ·And then the following page is also about the
·4· ·split --
·5· · · · A.· ·Same thing.
·6· · · · Q.· ·-- split district address cross reference
·7· ·report.· Same thing.· And also redacted?
·8· · · · A.· ·Yes.
·9· · · · Q.· ·Do you have any understanding of what other
10· ·reports and navigation might have been included in the
11· ·presentation on the following page?
12· · · · A.· ·I know that they would be ERIN system reports.
13· · · · Q.· ·And those have been redacted?
14· · · · A.· ·That's correct.· There's a statute that does
15· ·not allow us to give the instructions out of how to use
16· ·our system or reports in the system that would allow
17· ·somebody to make our system not be secure.
18· · · · Q.· ·I have one more exhibit to introduce.· It's a
19· ·close-up question.· Then we can take a five-minute
20· ·break for me to just check with counsel to see if I
21· ·have any additional questions.
22· · · · · · · · · MS. THOMAS-LUNDBORG:· I am now
23· · · · · · ·marking -- it's going to be Exhibit No. 24.
24· · · (Exhibit No. 24 was marked for identification.)
25· · · · · · · · · THE WITNESS:· Okay.


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·1· ·BY MS. THOMAS-LUNDBORG:
·2· · · · Q.· ·It should be in the system now.
·3· · · · A.· ·It's spinning.
·4· · · · Q.· ·Okay.
·5· · · · A.· ·Okay.· It just came up.
·6· · · · Q.· ·Okay.· So this is defendant's fact witness
·7· ·list with the Secretary of State.· And you've been
·8· ·identified as a fact witness in the litigation.
·9· · · · · · ·Do you see that?
10· · · · A.· ·I do.
11· · · · Q.· ·Okay.· And I would like to be efficient.                   I
12· ·really appreciate the fact that you have taken so much
13· ·of your day with me today.· I know it's been a long
14· ·day.· I appreciate that.· This was sent to us after we
15· ·noticed your deposition, and so I just want to ask you
16· ·one, maybe two follow-up questions depending on your
17· ·answers, which is were you aware that you were going to
18· ·be a fact witness in this case?
19· · · · A.· ·Yes.
20· · · · Q.· ·Okay.· And do you have any sense, as you sit
21· ·here today, what your testimony -- what testimony you
22· ·intend to give for the case?
23· · · · A.· ·I don't have any idea what questions are going
24· ·to be asked.· So I'll testify, and I'll answer to the
25· ·best of my knowledge on our state's elections process.


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·1· ·But I guess it depends on the questions that are asked
·2· ·of me.
·3· · · · Q.· ·But it's your understanding that you'll be
·4· ·testifying on the state's elections processes?
·5· · · · A.· ·Yes.· To the best of my knowledge, absolutely.
·6· · · · Q.· ·Are there any processes which we have not
·7· ·discussed today that you think are relevant to the
·8· ·implementation of a new State House and State Senate
·9· ·map?
10· · · · · · · · · MR. STRACH:· Objection.
11· · · · A.· ·No, I don't know of anything else.
12· · · · · · · · · MS. THOMAS-LUNDBORG:· All right.                   I
13· · · · · · ·think we can just take a five-minute break.
14· · · · · · · · · · · ·(Recess taken.)
15· ·BY MS. THOMAS-LUNDBORG:
16· · · · Q.· ·Are you aware of whether the Secretary of
17· ·State's office regulates activities of candidates or
18· ·campaigns?
19· · · · A.· ·No, they do not.
20· · · · Q.· ·Does the office of the Secretary of State
21· ·monitor campaign materials, messages, or expenditures
22· ·from entities other than candidates or campaigns?
23· · · · A.· ·Expenditures like commissioner pay?· Or
24· ·expenditures like involved in a campaign, like campaign
25· ·finance?


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·1· · · · Q.· ·Like campaign finance, like local action
·2· ·committees.
·3· · · · A.· ·No.
·4· · · · Q.· ·Does the Secretary of State's office track a
·5· ·race of candidates?
·6· · · · A.· ·Track what now?
·7· · · · Q.· ·The race of candidates?
·8· · · · A.· ·What do you mean by that?
·9· · · · Q.· ·Their -- so voter race is tracked, for
10· ·example.· If a voter identifies as a certain race --
11· · · · A.· ·Right.
12· · · · Q.· ·-- does the Secretary of State's office track
13· ·the race --
14· · · · A.· ·The race.
15· · · · Q.· ·-- of candidates?
16· · · · A.· ·I'm so sorry.· When you were saying "race," I
17· ·was thinking you meant the race that was running, and I
18· ·was confused.· So we do -- it is on the form that --
19· ·whether you're Hispanic or whatever you identify as.
20· ·And then in the statistics for -- as you mentioned, for
21· ·voter registration, it lists whether you're male,
22· ·female, or your race is there.· So even if it wasn't
23· ·listed on the form, a voter registration list that --
24· ·we have commercial lists that are available, and it
25· ·would show on that if you chose to know.


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·1· · · · Q.· ·And how long has the Secretary of State's
·2· ·office been tracking this information?
·3· · · · A.· ·The -- I started working in the elections
·4· ·field as a student worker in 1986, and they had the
·5· ·statistical reports out of green screen ERIN at that
·6· ·time that were provided to the legislature.· But they
·7· ·didn't -- they weren't -- they were very -- what's the
·8· ·best way to say?· They're old as dirt, I guess is the
·9· ·best way to say it.
10· · · · · · ·The ones now are very -- they're in great
11· ·files and Excel and user friendly and that type of
12· ·thing.· These were the kind with the -- with the holes
13· ·on the side where it went through the printer, the dot
14· ·matrix, you know what I'm saying.
15· · · · Q.· ·And is this information on candidates publicly
16· ·available?
17· · · · A.· ·Candidates are on the Secretary of State's
18· ·website, so you can look at the website under the
19· ·candidate database and see that information.· I don't
20· ·know if it's publicly available in a public records
21· ·request.· But I believe it is if you asked for a copy
22· ·of somebody's qualifying form or something like that.
23· ·I believe that's a public records request, but I'm not
24· ·a lawyer, so I don't know.
25· · · · Q.· ·And does your office use this information


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·1· ·other than tracking or having the ability to keep a
·2· ·record of it?
·3· · · · A.· ·Not to my knowledge.
·4· · · · Q.· ·And this is the -- I believe this is the last
·5· ·question.· Does the Secretary of State's office provide
·6· ·positions on elections or voting related policies to
·7· ·the legislature?
·8· · · · A.· ·Do they provide positions?· Meaning like they
·9· ·take a stance on --
10· · · · Q.· ·Yes.
11· · · · A.· ·-- on -- we --
12· · · · Q.· ·On bills that are pending related to elections
13· ·or voting?
14· · · · A.· ·Yes.· Yes, we do -- we do go to the House and
15· ·Senate with an omnibus bill every year that makes
16· ·technical changes to laws that are in place trying to
17· ·help make the system work more efficiently.
18· · · · Q.· ·And does the Secretary of State's office take
19· ·any position on bills that are outside of the omnibus
20· ·bill?
21· · · · A.· ·Only if it will affect the elections in a
22· ·manner that we are unable to -- to conduct the
23· ·election.· So if somebody came up in February of this
24· ·year and said, "We want to have all vote centers.· We
25· ·don't want to have precincts anymore.· We just want to


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·1· ·do away with all precincts and have vote centers,"
·2· ·well, that's not only a financial impossibility, but
·3· ·it's also a logistical nightmare in the fact that we
·4· ·couldn't do that upon governor's signature.· There's no
·5· ·physical way possible to do that.
·6· · · · · · · · · MS. THOMAS-LUNDBORG:· All right.                   I
·7· · · · · · ·think that is it.· Thank you for so much of
·8· · · · · · ·your time today, again.· I hope you can enjoy
·9· · · · · · ·the rest of your afternoon.
10· · · · · · · · · THE WITNESS:· You too.
11· · · · · · · · · MS. THOMAS-LUNDBORG:· Oh, I should ask
12· · · · · · ·if any other counsel has questions before
13· · · · · · ·going off the record.· But I'm done.
14· · · · · · · · · MR. STRACH:· We don't.· We don't -- this
15· · · · · · ·is Phil Strach.· We don't have any questions
16· · · · · · ·for Sherri.
17· · · · · · · · · MS. PROUTY:· On behalf of legislative
18· · · · · · ·interveners, we don't have any questions.
19· · ·(This proceeding was concluded at 3:21 p.m. CST on
20· · ·August 18, 2023.)
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·1· · · · · · · · · · · ·REPORTER'S PAGE
·2· · · ·I, YOLANDA J. PENA, Certified Court Reporter in
·3· ·and for the State of Louisiana, (CCR #2017002),
·4· ·Registered Professional Reporter (RPR #970346), the
·5· ·officer, as defined in Rule 28 of the Federal Rules of
·6· ·Civil Procedure and/or Article 1434(B) of the
·7· ·Louisiana Code of Civil Procedure, do hereby state on
·8· ·the record:
·9· · · ·That due to the interaction in the spontaneous
10· ·discourse of the proceeding, double dashes (--) have
11· ·been used to indicate pauses, changes in thought,
12· ·and/or talkovers; that same is the proper method for a
13· ·transcription of proceedings, and that the double
14· ·dashes (--) do not indicate that words or phrases have
15· ·been left out of this transcript;
16· · · ·That any spelling of words and/or names which
17· ·could not be verified through reference material have
18· ·been denoted with the parenthetical "(phonetic)";
19· · · ·That the parenthetical "(sic)" is used to denote
20· ·when a witness stated a word or phrase that appears
21· ·odd or erroneous to show that it was quoted exactly as
22· ·it stands.
23
24· · · · · · · · · · · · · · · ·YOLANDA PENA, CCR, RPR
25


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·1· · · · · · · · · · REPORTER'S CERTIFICATE

·2· · · ·I, YOLANDA J. PENA, Certified Court Reporter in
· · ·and for the State of Louisiana, Registered
·3· ·Professional Reporter, and as the officer before whom
· · ·this testimony was taken, do hereby certify that
·4· ·SHERRI WHARTON HADSKEY, after having been duly sworn
· · ·by me upon authority of R.S. 37:2554, did testify as
·5· ·set forth in the foregoing 172 pages.
· · · · ·I further certify that said testimony was reported
·6· ·by me in the Stenotype reporting method, was prepared
· · ·and transcribed by me or under my direction and
·7· ·supervision, and is a true and correct transcript to
· · ·the best of my ability and understanding.
·8· · · ·I further certify that the transcript has been
· · ·prepared in compliance with transcript format
·9· ·guidelines required by statute or by rules of the
· · ·board and that I have been informed about the complete
10· ·arrangement, financial or otherwise, with the person
· · ·or entity making arrangements for deposition services.
11· · · ·I further certify that I have acted in compliance
· · ·with the prohibition on contractual relationships, as
12· ·defined by Louisiana Code of Civil Procedure Article
· · ·1434, and in rules and advisory opinions of the board.
13· · · ·I further certify that I am not an attorney or
· · ·counsel for any of the parties, that I am neither
14· ·related to nor employed by any attorney or counsel
· · ·connected with this action, and that I have no
15· ·financial interest in the outcome of this matter.
· · · · ·This certificate is valid only for this
16· ·transcript, accompanied by my original signature and
· · ·original raised seal on this page.
17
· · · · ·Prairieville, Louisiana, this 21st day of August,
18· ·2023.

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20

21

22· · · · · · · · · · · ____________________________
· · · · · · · · · · · · YOLANDA J. PENA, CCR, RPR
23· · · · · · · · · · · CCR NO. 2017002, RPR NO. 907346

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